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                        EXHIBIT B
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                              DEPOSITION OF GENE DEETZ


     1                    UNITED STATES DISTRICT COURT
     2                   CENTRAL DISTRICT OF CALIFORNIA
     3
     4
     5    GOLDEN BOY PROMOTIONS, LLC, )
          GOLDEN BOY PROMOTIONS, INC.,)
     6    AND BERNARD HOPKINS,        )
                                      )
     7                  PLAINTIFFS,   )
                                      )
     8        VS.                     ) CASE NO.
                                      ) 2:15-CV-03378
     9    ALAN HAYMON, ALAN HAYMON    ) JFW (MRWX)
          DEVELOPMENT, INC., HAYMON   )
    10    HOLDINGS, LLC, HAYMON       )
          SPORTS, LLC, HAYMON BOXING )
    11    MANAGEMENT, HAYMON BOXING, )
          LLC, AND RYAN CALDWELL,     )
    12                                )
                        DEFENDANTS.   )
    13    ____________________________)
    14
    15
    16
    17                 DEPOSITION OF GENE DEETZ, TAKEN ON
    18                 BEHALF OF THE DEFENDANTS, AT 865
    19                 SOUTH FIGUEROA STREET, TENTH FLOOR,
    20                 LOS ANGELES, CALIFORNIA, COMMENCING
    21                 AT 9:07 A.M., WEDNESDAY, OCTOBER 19,
    22                 2016, BEFORE TRACY M. FOX, CSR NUMBER
    23                 10449.
    24
    25
                                                                             2
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                                  DEPOSITION OF GENE DEETZ

09:21:43    1   SUGGESTING, IN -- IN THE POSSIBILITY.
09:21:45    2                    SO IT'S THE EFFECT THAT CONTINUES THAT
09:21:47    3   I'M -- I'M CAPTURING.
09:21:47    4   BY MR. WOLFSON:
09:21:47    5              Q.    AND HOW WOULD THE EFFECT CONTINUE
09:21:49    6   BASED -- DO YOU HAVE NO OPINION ON HOW THE EFFECTS
09:21:51    7   COULD CONTINUE?
09:21:52    8              A.    OTHER THAN THAT'S DESCRIBED IN
09:21:53    9   DR. KNEUPER'S REPORT, NO, I DON'T HAVE ANY OPINION.
09:21:56   10              Q.    SO THE DISTINCTION BETWEEN YOUR TWO
09:21:58   11   MODELS -- THE ONE WITH THE CONTINUING LOST PROFITS
09:22:00   12   AND THE MORE LIMITED LOST PROFITS -- ARE ENTIRELY
09:22:03   13   BASED ON DR. KNEUPER'S REPORT?
09:22:09   14              A.    WELL, THE LIABILITY ASSUMPTION IS
09:22:11   15   BASED ON DR. KNEUPER'S WORK, THAT THERE'S -- THERE'S
09:22:14   16   BEEN TYING TO AND A LOCKUP OF T.V. AND THE EFFECT OF
09:22:18   17   THAT ON GOLDEN BOY'S BUSINESS PLAN.
09:22:20   18                    THE -- THE TIME FRAME I'VE BROKEN DOWN
09:22:23   19   INTO FOUR DIFFERENT STAGES.       AND THE LAST STAGE --
09:22:26   20   THE LAST ONE ON EXHIBIT 5 THAT WE'RE TALKING ABOUT --
09:22:30   21              Q.    UH-HUH.
09:22:30   22              A.    -- THAT GOES ON INTO THE FUTURE, IS ON
09:22:33   23   THE ASSUMPTION THAT THAT EFFECT CONTINUES PAST 2017,
09:22:36   24   I BELIEVE.
09:22:54   25              Q.    OKAY.   LET ME BACKTRACK.
                                                                                18
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                                  DEPOSITION OF GENE DEETZ

09:22:56    1                    SO, MR. DEETZ, CAN YOU TURN TO
09:22:59    2   PARAGRAPH 9 OF YOUR REPORT.
09:23:06    3              A.    I HAVE IT IN FRONT OF ME.
09:23:21    4              Q.    NOW, SIR, IF YOU LOOK, THE SECOND
09:23:23    5   SENTENCE IN PARAGRAPH 9, STATES:
09:23:24    6                    "THE RELATIONSHIP BETWEEN
09:23:25    7              GOLDEN BOY AND THE BROADCAST
09:23:27    8              MEDIA," PAREN, (H.B.O.,
09:23:30    9              SHOWTIME, FOX, AMONG OTHERS),"
09:23:32   10              END PAREN, "AND GOLDEN BOY'S
09:23:33   11              ABILITY TO PROMOTE SUCCESSFUL
09:23:34   12              EVENTS REQUIRED, AMONG OTHER
09:23:37   13              THINGS, CHAMPIONSHIP-CALIBER
09:23:40   14              BOXERS AND NETWORK TIME-SLOT
09:23:44   15              AVAILABILITY."
09:23:44   16                    DO YOU SEE THAT?
09:23:46   17              A.    I DO.
09:23:47   18              Q.    SO IN YOUR OPINION HERE, YOU'RE
09:23:47   19   STATING THAT GOLDEN BOY'S ABILITY TO PROMOTE
09:23:50   20   SUCCESSFUL EVENTS REQUIRES BOTH CHAMPIONSHIP-CALIBER
09:23:57   21   BOXERS AND NETWORK TIME-SLOT AVAILABILITY; RIGHT?
09:23:59   22                    MR. CESTERO:     OBJECTION.     THE DOCUMENT
09:23:59   23   SPEAKS FOR ITSELF.
09:24:00   24                    THE DEPONENT:     YEAH.    THE -- THE
09:24:01   25   RELATIONSHIP -- THE SENTENCE SAYS WHAT IT SAYS.
                                                                                19
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                                  DEPOSITION OF GENE DEETZ

09:24:03    1                    THE RELATIONSHIP BETWEEN GOLDEN BOY
09:24:04    2   AND THE BROADCAST MEDIA AND GOLDEN BOY'S ABILITY TO
09:24:07    3   PROMOTE REQUIRES, AMONG OTHER THINGS, THOSE TWO
09:24:10    4   THINGS:    CHAMPIONSHIP-CALIBER BOXERS AND NETWORK
09:24:14    5   TIME-SLOT AVAILABILITY.
09:24:15    6   BY MR. WOLFSON:
09:24:15    7               Q.   REQUIRES CHAMPIONSHIP-CALIBER
09:24:17    8   BOXERS --
09:24:17    9               A.   RIGHT.
09:24:18   10               Q.   -- AS A NECESSARY INPUT FOR THEIR
09:24:20   11   SUCCESSFUL EVENTS?
09:24:21   12               A.   YES.
09:24:21   13               Q.   OKAY.    NOW, YOU CITE TO DR. KNEUPER --
09:24:26   14   KNEUPER'S REPORT?
09:24:27   15               A.   EXCUSE ME.
09:24:29   16                    YEAH, IT'S DR. KN- -- IT'S KNEUPER," I
09:24:30   17   BELIEVE.
09:24:38   18               Q.   OKAY.    AND YOU CITE TO DR. KNEUPER'S
09:24:41   19   REPORT FOR THE CRITERIA FOR CHAMPIONSHIP-CALIBER
09:24:43   20   BOXERS; IS THAT RIGHT?
09:24:44   21               A.   YES.
09:24:45   22               Q.   AND YOU CITE TO MR. SHAW -- GARY
09:24:49   23   SHAW'S REPORT HERE FOR THE PROPOSITION THAT GOLDEN
09:24:52   24   BOY HAS TO HAVE CHAMPIONSHIP-CALIBER BOXERS AND
09:24:56   25   NETWORK TIME-SLOT AVAILABILITY?
                                                                               20
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                                  DEPOSITION OF GENE DEETZ

09:24:59    1              A.    YES, I CITE -- I CITE TO DR. -- EXCUSE
09:25:00    2   ME TO -- GARY -- TO MR. SHAW --
09:25:01    3              Q.    UH-HUH.
09:25:02    4              A.    -- THAT CERTAINLY COULD BE
09:25:03    5   ALSO INCLUDED IN DR. KNEUPER'S REPORT.          BUT I CITE --
09:25:07    6   FOR THIS PARTICULAR REFERENCE, I CITE TO GARY SHAW.
09:25:10    7              Q.    OKAY.   BUT THE CRITERIA FOR
09:25:11    8   CHAMPIONSHIP-CALIBER BOXER COMES FROM DR. KNEUPER?
09:25:15    9              A.    THAT'S CORRECT, YES.
09:25:15   10              Q.    DID YOU SPEAK TO ANYONE AT GOLDEN BOY
09:25:18   11   ABOUT THE CRITERIA FOR CHAMPIONSHIP-CALIBER BOXERS?
09:25:21   12              A.    I DON'T BELIEVE I DID, NO.
09:25:22   13              Q.    AFTER SUBMITTING THIS REPORT, DID
09:25:26   14   ANYONE FROM GOLDEN BOY CONTACT YOU REGARDING THE
09:25:29   15   CRITERIA FOR CHAMPIONSHIP-CALIBER BOXERS?
09:25:31   16                    MR. CESTERO:     OBJECTION.     IT'S VAGUE
09:25:32   17   AND AMBIGUOUS.
09:25:32   18                    THE DEPONENT:     I HAVEN'T SPOKEN TO
09:25:33   19   ANYBODY AT GOLDEN BOY SINCE I'VE ISSUED MY REPORT.
09:25:36   20   BY MR. WOLFSON:
09:25:36   21              Q.    SINCE YOU ORIGINALLY ISSUED YOUR
09:25:38   22   REPORT ON SEPTEMBER 6TH TO YESTERDAY WHEN YOU CREATED
09:25:42   23   AN UPDATED EXHIBIT 3, DID YOU CHANGE THE CRITERIA YOU
09:25:46   24   USED TO DETERMINE WHAT IS A CHAMPIONSHIP-CALIBER
09:25:49   25   BOXER?
                                                                                21
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                                  DEPOSITION OF GENE DEETZ

09:30:34    1               A.   -- THEN AS PART OF REVIEWING THE SMITH
09:30:36    2   REPORT AND THEN PREPARING FOR MY DEPOSITION, I WENT
09:30:38    3   BACK TO THE WORK.
09:30:40    4                    AND WHEN I LOOKED AT -- YESTERDAY
09:30:43    5   MORNING, WHEN I WAS JUST LOOKING AT EXHIBIT 3 --
09:30:45    6               Q.   UH-HUH.
09:30:48    7               A.   -- THAT I NOTICED THAT THE COLUMN FOR
09:30:50    8   "NON-CHAMPIONSHIP-CALIBER" HAD A SIGNIFICANT AMOUNT
09:30:52    9   OF REVENUE IN IT, WHICH TOLD ME THAT I SHOULD RE-LOOK
09:30:55   10   AT MR. MAYWEATHER.     BECAUSE HE WOULD BE THE MAIN
09:30:58   11   DRIVER OF THE NON-GOLDEN BOY CONTRACT REVENUE.
09:31:01   12                    AND IT JUST LOOKED OUT OF SORTS TO ME.
09:31:03   13   SO THAT'S WHEN I DECIDED TO GET MY TEAM TOGETHER AND
09:31:05   14   GO BACK THROUGH THE WHOLE -- THE -- THE WHOLE
09:31:06   15   PROCESS.
09:31:07   16               Q.   OKAY.   AND IN THE FIRST INSTANCE,
09:31:11   17   HOW DID YOU DECIDE WHETHER OR NOT TO EXCLUDE OR
09:31:18   18   INCLUDE -- STRIKE THAT.
09:31:19   19                    IN THE FIRST INSTANCE, HOW DID YOU
09:31:21   20   DECIDE WHETHER OR NOT TO INCLUDE BOXERS AS
09:31:24   21   CHAMPIONSHIP-CALIBER BOXERS FOR THE PURPOSES OF YOUR
09:31:25   22   ANALYSIS?
09:31:26   23                    MR. CESTERO:     OBJECTION.     IT'S VAGUE
09:31:27   24   AND AMBIGUOUS, AND MISSTATES THE ANALYSIS, AND
09:31:29   25   MISSTATES --
                                                                               27
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                                  DEPOSITION OF GENE DEETZ

09:31:29    1                    THE DEPONENT:     WELL, IN --
09:31:29    2                    MR. CESTERO:     -- THE DOCUMENT.
09:31:30    3                    THE DEPONENT:     WELL, IN THE FIRST
09:31:31    4   INSTANCE AND IN THE SECOND INSTANCE, I APPLIED
09:31:34    5   DR. KNEUPER'S CRITERIA, WHICH GENERALLY WOULD BE A
09:31:41    6   RANKINGS CRITERIA, A TELEVISION-APPEARANCE CRITERIA,
09:31:44    7   AND A U.S.-BASED PROMOTER OR A MANAGEMENT CRITERIA.
09:31:48    8                    AND I APPLIED THOSE IN BOTH INSTANCES.
09:31:50    9                    THE -- THE -- PRIMARILY IN THE
09:31:52   10   NON-CONTRACT FIGHTERS -- BUT THERE WERE A COUPLE OF
09:31:55   11   CORRECTIONS IN THE GOLDEN BOY CONTRACT FIGHTERS.
09:31:57   12                    THEY WERE JUST -- THEY WERE JUST
09:31:58   13   MISCLASSIFICATIONS THAT I DIDN'T -- I DIDN'T CATCH
09:32:01   14   WHEN I FILED MY ORIGINAL REPORT.        BUT THE CRITERIA
09:32:03   15   WERE THE SAME.
09:32:04   16   BY MR. WOLFSON:
09:32:04   17              Q.    UH-HUH.    NOW, HAD YOU EVER, BEFORE
09:32:06   18   THIS CASE, HEARD THE TERM "CHAMPIONSHIP-CALIBER
09:32:09   19   BOXER"?
09:32:09   20              A.    TO THE BEST OF MY RECOLLECTION, I HAVE
09:32:11   21   NOT.
09:32:14   22              Q.    OKAY.   AND JUST TO BE CLEAR, YOU'RE
09:32:16   23   ACCEPTING DR. KNEUPER'S DEFINITION OF
09:32:19   24   "CHAMPIONSHIP-CALIBER BOXER" FOR THE PURPOSE OF YOUR
09:32:21   25   OWN REPORT?
                                                                               28
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                                  DEPOSITION OF GENE DEETZ

09:32:21    1                    MR. CESTERO:     OBJECTION; ASKED AND
09:32:22    2   ANSWERED.
09:32:23    3                    THE DEPONENT:     THAT'S CORRECT, YEAH.
09:32:24    4   BY MR. WOLFSON:
09:32:24    5               Q.   AND YOU HAVE NOT CONDUCTED ANY OF YOUR
09:32:26    6   OWN ANALYSIS TO DETERMINE IF THERE ARE -- ARE
09:32:28    7   ALTERNATIVE DEFINITIONS OF "CHAMPIONSHIP-CALIBER
09:32:31    8   BOXERS" USED IN THE INDUSTRY?
09:32:33    9               A.   I HAVE NOT.
09:32:37   10               Q.   AND YOU'VE NEVER INTERVIEWED ANYONE
09:32:39   11   AT GOLDEN BOY TO CONFIRM THE REASONABLENESS OF
09:32:41   12   DR. KNEUPER'S DEFINITION?
09:32:43   13               (SPEAKING SIMULTANEOUSLY.)
09:32:43   14                    MR. CESTERO:     OBJECTION; VAGUE
09:32:43   15   AND AMBIGUOUS, AND --
09:32:44   16                    THE DEPONENT:     NO, I HAVE --
09:32:45   17                    MR. CESTERO:     -- MISSTATES THE
09:32:48   18   WITNESS'S TESTIMONY.
09:32:48   19                    THE DEPONENT:     I HAVE NOT.
09:32:49   20                    EXCUSE ME.
09:32:50   21                    MR. CESTERO:     IT'S OKAY.
09:32:51   22                    MR. WOLFSON:     HERE YOU GO.
09:32:51   23   / / /
09:32:51   24   / / /
09:32:51   25   / / /
                                                                               29
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                                   DEPOSITION OF GENE DEETZ

09:34:34    1   DR. KNEUPER'S REPORT HERE.
09:34:35    2              A.    RIGHT.
09:34:36    3              Q.    THIS IS EXHIBIT 3:
09:34:37    4                    "U.S. MANAGED CHAMPIONSHIP-CALIBER
09:34:39    5              BOXERS."
09:34:41    6                    DO YOU SEE THAT?
09:34:41    7              A.    I DO.
09:34:41    8              Q.    AND THIS IS SORTED ALPHABETICALLY.
09:34:47    9              A.    I DO SEE THAT.
09:34:47   10              Q.    NOW, DO YOU SEE MR. ANGULO'S NAME IN
09:34:50   11   HERE?
09:34:51   12              A.    I DO NOT.
09:34:54   13              Q.    OKAY.    IF YOU COULD TURN TO EXHIBIT
09:34:56   14   70, WHICH IS EXHIBIT 4 OF DR. KNEUPER'S REPORT.
09:35:04   15              A.    I SEE THAT.
09:35:05   16              Q.    AND THIS IS EXHIBIT OF:
09:35:05   17                    "U.S. PROMOTED CHAMPIONSHIP-CALIBER
09:35:05   18              BOXERS."
09:35:05   19                    DO YOU SEE THAT?
09:35:07   20              A.    YES.
09:35:07   21              Q.    AND, AGAIN, THIS IS SORTED
09:35:08   22   ALPHABETICALLY?
09:35:10   23              A.    YES.
09:35:11   24              Q.    DO YOU SEE MR. ANGULO'S NAME IN THIS
09:35:14   25   LIST OF CHAMPIONSHIP-CALIBER BOXERS?
                                                                                32
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                                   DEPOSITION OF GENE DEETZ

09:35:16    1               A.   I DO NOT.
09:35:16    2               Q.   OKAY.    BUT YOU INCLUDED HIM IN YOUR
09:35:18    3   ANALYSIS AS A CHAMPIONSHIP-CALIBER BOXER?
09:35:21    4                    MR. CESTERO:      WELL, OBJECTION.      IT
09:35:21    5   MISSTATES THE WITNESS, MISSTATES THE DOCUMENT.            IT'S
09:35:23    6   VAGUE AS TO TIME.
09:35:25    7               (SPEAKING SIMULTANEOUSLY.)
09:35:25    8                    THE DEPONENT:      YEAH, IT'S -- THIS
09:35:28    9   IS --
09:35:28   10                    MR. CESTERO:      AND IT'S A MIS- --
09:35:29   11                    DEPOSITION OFFICER:       I CAN NOT HEAR
09:35:29   12   YOU, COUNSEL, WHEN --
09:35:29   13                    MR. CESTERO:      IT'S A --
09:35:29   14                    DEPOSITION OFFICER:       -- YOU'RE BOTH
09:35:29   15   SPEAKING AT ONCE.
09:35:29   16                    MR. CESTERO:      -- MISREPRESENTATION OF
09:35:30   17   THE DOCUMENT.
09:35:33   18                    GO AHEAD.
09:35:33   19                    THE DEPONENT:      THE -- THE POINT
09:35:34   20   THAT -- THAT I WOULD MAKE HERE IS THERE'S THREE
09:35:36   21   DIFFERENT PERIODS, AND THOSE CRITERIA APPLY PERIOD
09:35:39   22   SPECIFIC.
09:35:40   23   BY MR. WOLFSON:
09:35:40   24               Q.   UH-HUH.
09:35:41   25               A.   AND SO TO THE EXTENT THAT THIS
                                                                                 33
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                                   DEPOSITION OF GENE DEETZ

09:37:40    1   RIGHT, IT SAYS -- MINE SAYS "269,852," I THINK.
09:37:45    2                    MR. CESTERO:      YEAH.   AND JUST IDENTIFY
09:37:45    3   WHICH COLUMN --
09:37:48    4                    THE DEPONENT:      I'M --
09:37:48    5                    MR. CESTERO:      -- YOU'RE REFERRING TO,
09:37:48    6   SO WE --
09:37:48    7                    THE DEPONENT:      I'M SORRY.
09:37:48    8                    I'M IN THE "OPERATING INCOME COLUMN,
09:37:49    9   WHICH IS THE FAR-RIGHT COLUMN ON THE FIFTH LINE DOWN.
09:37:52   10   BY MR. WOLFSON:
09:37:52   11               Q.   UH-HUH.    SO FOR YOUR 2014 DETAIL,
09:37:54   12   MR. ANGULO CONTRIBUTED ALMOST 270,000 DOLLARS TO THE
09:38:01   13   OPERATING INCOME ATTRIBUTED TO CHAMPIONSHIP-CALIBER
09:38:06   14   BOXERS UNDER CONTRACT WITH GOLDEN BOY; RIGHT?
09:38:08   15               A.   THAT'S -- THAT'S WAS THIS APPEARS TO
09:38:10   16   SAY, YES.
09:38:15   17               Q.   AND DO YOU HAVE ANY IDEA --
09:38:17   18                    MR. CESTERO:      WELL, HANG ON.     HANG ON
09:38:17   19   A SECOND.
09:38:18   20                    YEAH.    OKAY.
09:38:18   21   BY MR. WOLFSON:
09:38:18   22               Q.   OKAY.    DO YOU HAVE IDEA WHY MR. ANGULO
09:38:20   23   WAS NOT INCLUDED AS A CHAMPIONSHIP-CALIBER BOXER IN
09:38:23   24   DR. KNEUPER'S REPORT?
09:38:24   25               A.   OTHER THAN THAT -- THAT IT COULD BE AT
                                                                                36
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                                   DEPOSITION OF GENE DEETZ

09:38:26    1   A DIFFERENT TIME PERIOD, I WOULDN'T HAVE ANY -- I
09:38:29    2   WOULDN'T HAVE ANY KNOWLEDGE OF WHY OR WHY IT WAS
09:38:31    3   NOT.
09:38:31    4              Q.    OKAY.    WHY DON'T WE GO DOWN A COUPLE
09:38:34    5   ROWS TO A BOXER NAMED DEVON ALEXANDER.
09:38:44    6                    MR. CESTERO:      A COUPLE -- DOWN A
09:38:44    7   COUPLE ROWS ON 74?
09:38:45    8                    MR. WOLFSON:      UH-HUH.    YES, ON THE
09:38:45    9   2014 DETAIL, EXHIBIT 3.
09:38:47   10   BY MR. WOLFSON:
09:38:47   11              Q.    DO YOU SEE THAT?
09:38:56   12              A.    GIVE ME A SECOND.       THIS IS REALLY A
09:39:00   13   TEST.
09:39:00   14              Q.    YEAH.    IT'S VERY SMALL TEXT.
09:39:02   15                    I APOLOGIZE.
09:39:03   16              A.    NO.
09:39:08   17                    ALL RIGHT I HAVE HIM.
09:39:08   18                    AND LET ME COUNT THE ROWS OUT FOR THE
09:39:09   19   RECORD:   ONE, TWO, THREE, FOUR, FIVE, SIX, SEVEN,
09:39:12   20   EIGHT, NINE, TEN, ELEVEN, TWELVE -- THIRTEEN ROWS
09:39:12   21   DOWN?
09:39:13   22              Q.    ABOUT THAT.
09:39:14   23              A.    OKAY.    I SEE THAT.
09:39:15   24              Q.    DO YOU SEE HIM?
09:39:16   25              A.    UH-HUH.
                                                                                37
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                                   DEPOSITION OF GENE DEETZ

09:40:01    1   MR. ALEXANDER WAS A CHAMPIONSHIP-CALIBER BOXER?
09:40:03    2               A.   AGAIN, I DON'T -- I DON'T KNOW IF --
09:40:05    3   IF HE DID OR DIDN'T OR AT WHAT PARTICULAR TIME HE
09:40:07    4   WOULD HAVE CONSIDERED HIM.
09:40:08    5               Q.   ARE YOU CONTENDING THAT MR. ALEXANDER
09:40:10    6   IS A CHAMPIONSHIP-CALIBER BOXER?
09:40:12    7                    MR. CESTERO:      PRESENTLY AS WE SIT HERE
09:40:13    8   TODAY?
09:40:13    9                    MR. WOLFSON:      IN THIS ANALYSIS.
09:40:15   10                    MR. CESTERO:      WELL, IN WHICH ANALYSIS?
09:40:15   11                    MR. WOLFSON:      THIS ANALYSIS, RIGHT IN
09:40:17   12   FRONT OF YOU.
09:40:18   13                    THE DEPONENT:      YEAH.   AND --
09:40:18   14                    MR. CESTERO:      IN 2014?
09:40:19   15                    MR. WOLFSON:      IN 2014.
09:40:19   16                    THE DEPONENT:      IN 2014, YES.
09:40:20   17   BY MR. WOLFSON:
09:40:20   18               Q.   HOW ARE YOU QUALIFIED TO PROVIDE THAT
09:40:24   19   SORT OF TESTIMONY, SIR?
09:40:26   20               A.   BECAUSE I'M APPLYING DR. KNEUPER'S
09:40:28   21   CRITERIA.
09:40:29   22               Q.   BUT IF DR. KNEUPER DID NOT ACTUALLY
09:40:32   23   PROVIDE THAT ANALYSIS, ARE YOU THEN USING HIS
09:40:36   24   ECONOMIC ANALYSIS TO DETERMINE WHO IS AND WHO IS NOT
09:40:39   25   A CHAMPIONSHIP-CALIBER BOXER?
                                                                                39
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                                   DEPOSITION OF GENE DEETZ

09:40:41    1                    MR. CESTERO:      OBJECTION.    IT MISSTATES
09:40:41    2   THE WITNESS'S TESTIMONY, AND IT MISSTATES THE
09:40:43    3   DOCUMENTS, AND IT'S --
09:40:44    4                    THE DEPONENT:      YEAH.    FOR --
09:40:45    5                    MR. CESTERO:      -- ARGUMENTATIVE.
09:40:45    6                    THE DEPONENT:      FOR --
09:40:45    7                    MR. CESTERO:      GO AHEAD.
09:40:45    8                    THE DEPONENT:      FOR ALL THREE
09:40:46    9   PERIODS -- FOR '14, '15, AND '16 -- I APPLIED THE
09:40:49   10   CHAMPIONSHIP-CALIBER CRITERIA AS -- AS STATED IN
09:40:52   11   DR. KNEUPER'S REPORT IN DETERMINING THE
09:40:55   12   CLASSIFICATION BETWEEN CHAMPIONSHIP-CALIBER AND
09:40:56   13   NON-CHAMPIONSHIP-CALIBER.
09:40:59   14                    SO I'M APPLYING HIS CRITERIA.
09:41:01   15   BY MR. WOLFSON:
09:41:01   16              Q.    DID DR. KNEUPER PROVIDE AN OPINION ON
09:41:04   17   WHO WAS AND WAS NOT A CHAMPIONSHIP-CALIBER BOXER IN
09:41:06   18   2014?
09:41:07   19              A.    I -- I DON'T BELIEVE HE DID.
09:41:08   20              Q.    OKAY.    AND HOW ARE YOU QUALIFIED TO
09:41:12   21   PROVIDE AN -- AN OPINION WHO WAS AND WAS NOT A
09:41:15   22   CHAMPIONSHIP-CALIBER BOXER IN 2014?
09:41:17   23                    MR. CESTERO:      OBJECTION.    IT MISSTATES
09:41:18   24   THE WITNESS'S TESTIMONY.
09:41:21   25                    THE DEPONENT:      YEAH.    BE- -- BECAUSE I
                                                                                40
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                                   DEPOSITION OF GENE DEETZ

09:41:22    1   AM USING HIS CRITERIA AND I'M APPLYING IT
09:41:26    2   CONSISTENTLY IN '16, '15, AND '14.
09:41:29    3   BY MR. HEINLEIN:
09:41:29    4              Q.    YOU UNDERSTAND THAT DR.
09:41:29    5   KNEUPER ACTUALLY --
09:41:29    6                    MR. CESTERO:      HANG ON.    HANG ON A
09:41:29    7   SECOND.
09:41:29    8                    MR. WOLFSON:      GO AHEAD.
09:41:29    9                    MR. CESTERO:      DON'T INTERRUPT THE
09:41:30   10   WITNESSES.    LET HIM FINISH HIS ANSWER.
09:41:33   11   BY MR. WOLFSON:
09:41:33   12              Q.    GO AHEAD.
09:41:33   13              A.    WELL, I THINK I WAS FINISHED.
09:41:35   14                    I'M JUST -- I JUST -- I APPLIED HIS
09:41:36   15   CRITERIA CONSISTENTLY IN '16, '15, AND '14, AND
09:41:38   16   THAT'S THE BASIS FOR THE OPINION IN EACH OF THE
09:41:40   17   YEARS.
09:41:40   18              Q.    NOW, YOU UNDERSTAND THAT DR. KNEUPER
09:41:42   19   ACTUALLY SPOKE WITH GOLDEN BOY EMPLOYEES ABOUT WHAT
09:41:45   20   DOES AND DOES NOT CONSTITUTE A CHAMPIONSHIP-CALIBER
09:41:48   21   BOXER?
09:41:49   22              A.    I'D HAVE TO REFRESH MY RECOLLECTION.
09:41:51   23   I -- I KNOW HE CITED CONVERSATIONS WITH GOLDEN BOY
09:41:54   24   ABOUT -- ABOUT THAT.
09:41:55   25              Q.    YOU UNDERSTAND THAT DR. KNEUPER IS A
                                                                                41
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                                   DEPOSITION OF GENE DEETZ

09:41:58    1   PH.D IN ECONOMICS?
09:41:59    2              A.    YES.
09:41:59    3              Q.    YOU UNDERSTAND THAT DR. KNEUPER
09:42:01    4   CONDUCTED A -- A REVIEW OF DOCUMENTS THAT, IN HIS
09:42:04    5   ECONOMIC ESTIMATION, ALLOWED HIM TO OPINE ON WHAT IS
09:42:08    6   AND IS NOT A CHAMPIONSHIP-CALIBER BOXER?
09:42:10    7                    MR. CESTERO:      OBJECTION; VAGUE AS TO
09:42:11    8   TIME.
09:42:13    9                    THE DEPONENT:      I DO UNDERSTAND THAT,
09:42:13   10   AND I DO UNDERSTAND THAT -- THAT THAT DETERMINATION
09:42:16   11   WAS DRIVEN BY THE CRITERIA THAT I APPLIED
09:42:19   12   CONSISTENTLY --
09:42:19   13   BY MR. WOLFSON:
09:42:19   14              Q.    UH-HUH.
09:42:21   15              A.    -- ACROSS THREE DIFFERENT TIME
09:42:23   16   PERIODS.
09:42:23   17              Q.    AND WHY WAS THERE A CHANGE WITH
09:42:25   18   RESPECT TO MR. ALEXANDER?
09:42:26   19              A.    WHEN THE ORIGINAL DOCUMENT WAS DONE --
09:42:31   20   THEN -- WHEN THE ORIGINAL DOCUMENT WAS DONE, I HAD --
09:42:34   21   I HAD NOT -- I HAD MISSED SEVERAL OF THESE, IN TERMS
09:42:37   22   OF LOOKING AT THOSE THREE CRITERIA.         AND WHEN I WENT
09:42:42   23   BACK AND RE-REVIEWED THAT IN DETAIL, THAT'S WHAT
09:42:46   24   DROVE THE CHANGE.
09:42:48   25                    THE CRIT- -- CRITERIA WAS THE SAME,
                                                                                42
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                                   DEPOSITION OF GENE DEETZ

09:43:59    1   BY MR. WOLFSON:
09:43:59    2               Q.   SIR, YOU'RE NOT OFFERING AN OPINION
09:44:01    3   WHAT CONSTITUTES A CHAMPIONSHIP-CALIBER BOXER, ARE
09:44:04    4   YOU?
09:44:04    5                    MR. CESTERO:      OBJECTION; ASKED AND
09:44:05    6   ANSWERED.
09:44:06    7                    THE DEPONENT:      NO, I'M APPLYING
09:44:08    8   DR. KNEUPER'S CRITERIA --
09:44:10    9   BY MR. WOLFSON:
09:44:10   10               Q.   OKAY.
09:44:10   11               A.   -- OF WHAT CONSTITUTES A
09:44:12   12   CHAMPIONSHIP-CALIBER BOXER.
09:44:12   13               Q.   AND IN THIS INSTANCE, DR. KNEUPER HAS
09:44:15   14   NOT CONCLUDED THAT DE- -- THAT DEVON ALEXANDER IS A
09:44:18   15   CHAMPIONSHIP-CALIBER BOXER, HAS --
09:44:19   16               (SPEAKING SIMULTANEOUSLY.)
09:44:19   17                    MR. CESTERO:      OBJECTION.
09:44:20   18   BY MR. WOLFSON:
09:44:20   19               Q.   -- HAS HE?
09:44:21   20                    MR. CESTERO:      OBJECTION; VAGUE AS TO
09:44:22   21   TIME.
09:44:23   22                    THE DEPONENT:      I DON'T KNOW IF HE'S --
09:44:24   23                    MR. CESTERO:      MISSTATES THE WITNESS'S
09:44:26   24   TESTIMONY.
09:44:26   25                    THE DEPONENT:      YEAH.
                                                                                44
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                                   DEPOSITION OF GENE DEETZ

09:45:18    1              Q.    AND DO YOU HAVE ANY IDEA WHY
09:45:21    2   MR. ALEXANDER IS NOT INCLUDED IN THE LIST OF
09:45:24    3   DR. KNEUPER'S CHAMPIONSHIP-CALIBER BOXERS?
09:45:29    4                    MR. CESTERO:      OBJECTION; ASKED AND
09:45:30    5   ANSWERED, MISSTATES THE WITNESS'S TESTIMONY.
09:45:33    6                    THE DEPONENT:      I -- I DON'T KNOW.
09:45:33    7   BY MR. WOLFSON:
09:45:33    8              Q.    YOU HAVE NO IDEA; RIGHT?
09:45:35    9              A.    RIGHT.
09:45:35   10              Q.    AND YOU HAVE NO ABILITY TO OPINE ON
09:45:37   11   WHETHER IT WAS APPROPRIATE OR INAPPROPRIATE FOR
09:45:40   12   DR. KNEUPER TO EXCLUDE DEVON ALEXANDER FROM HIS LIST
09:45:45   13   OF CHAMPIONSHIP-CALIBER BOXERS; RIGHT?
09:45:47   14              A.    I --
09:45:47   15                    MR. CESTERO:      OBJECTION.    OBJECTION.
09:45:48   16   IT'S ARGUMENTATIVE, MISSTATES THE WITNESS'S
09:45:51   17   TESTIMONY.
09:45:51   18                    THE DEPONENT:      YEAH.   I DON'T -- I
09:45:52   19   DON'T KNOW FOR -- AND WHATEVER PARTICULAR TIME HE'S
09:45:54   20   MAKING THAT DETERMINATION, WHAT -- WHO WOULD BE OR
09:45:58   21   WOULD NOT BE CHAMPIONSHIP-CALIBER.
09:46:00   22                    AND AGAIN, I'VE SAID -- I KNOW I'M
09:46:02   23   REPEATING MYSELF --
09:46:03   24   BY MR. WOLFSON:
09:46:03   25              Q.    UH-HUH.
                                                                                46
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                                   DEPOSITION OF GENE DEETZ

09:47:11    1   ARGUMENTATIVE, AND IT'S VAGUE AND AMBIGUOUS.
09:47:13    2                    THE DEPONENT:      WELL, IF HE -- IF HE --
09:47:15    3   IF HE FOUGHT DURING THAT TIME PERIOD AND WAS IN
09:47:18    4   GOLDEN BOY'S P & L, THEN HE'S -- HE'S -- HE'S CAPTURED
09:47:21    5   IN MY ANALYSIS.
09:47:22    6   BY MR. WOLFSON:
09:47:22    7              Q.    OKAY.    COULD YOU LOOK AT PAGE 66 OF
09:47:24    8   DR. KNEUPER'S REPORT.
09:47:29    9              A.    I'M THERE.
09:47:30   10              Q.    DO YOU SEE MR. BIKA'S NAME IN THE LIST
09:47:33   11   OF U.S.-MANAGED CHAMPIONSHIP-CALIBER BOXERS?
09:47:35   12              A.    AGAIN, I -- I DON'T SEE HIM.         I DON'T
09:47:40   13   SEE HIM ON PAGE 66 FOR EXHIBIT 3, AND I DON'T SEE HIM
09:47:49   14   ON PAGE 70 FOR EXHIBIT 4.
09:47:51   15              Q.    OKAY.    SO TO YOUR UNDERSTANDING, THEN,
09:47:52   16   DR. KNEUPER HAS NOT CONCLUDED THAT MR. BIKA IS A
09:47:58   17   CHAMPIONSHIP-CALIBER BOXER?
09:47:59   18                    MR. CESTERO:      VAGUE AS TO TIME.
09:48:00   19                    THE DEPONENT:      WELL, YEAH.     AGAIN, FOR
09:48:01   20   WHATEVER PARTICULAR POINT IN TIME HE'S MAKING THAT
09:48:03   21   DETERMINATION, IT DOESN'T APPEAR TO BE ON EITHER
09:48:06   22   EXHIBIT -- EXHIBIT 3 OR EXHIBIT 4 TO DR. KNEUPER'S
09:48:10   23   REPORT.
09:48:10   24   BY MR. WOLFSON:
09:48:10   25              Q.    BUT YOU, SIR, DO CONCLUDE THAT
                                                                                48
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                                   DEPOSITION OF GENE DEETZ

09:59:25    1   "UNDER CONTRACT - CHAMPIONSHIP-CALIBER BOXERS" IS
09:59:26    2   5,324,589 DOLLARS; RIGHT?
09:59:31    3              A.    THAT'S CORRECT.
09:59:31    4              Q.    SO FROM 2014 TO 2015, THIS ROW HAS
09:59:36    5   GONE UP IN TERMS OF DOLLARS; RIGHT?
09:59:39    6              A.    THAT PARTICULAR CATEGORY HAS, YES.
09:59:41    7              Q.    AND THAT'S GONE UP BY APPROXIMATELY,
09:59:44    8   WELL, OVER 600,000 DOLLARS?
09:59:46    9              A.    THAT'S FAIR, YES.
09:59:50   10              Q.    NOW, THE 2016 METRICS, QUICK
09:59:54   11   CLARIFICATION QUESTION.
09:59:55   12                    THESE NUMBERS ARE HALF-YEAR METRICS;
09:59:58   13   RIGHT?
09:59:58   14              A.    THEY'RE -- THEY'RE THROUGH JUNE
09:59:59   15   30TH.
10:00:00   16              Q.    OKAY.    SO ALL OF THE NUMBERS HERE ARE
10:00:01   17   FROM JANUARY 1ST, 2016, THROUGH JUNE 30TH, 2016?
10:00:04   18              A.    THAT'S CORRECT.
10:00:05   19              Q.    AND IN YOUR REPORT, YOU ANNUALIZE 2016
10:00:09   20   BY MULTIPLYING THESE NUMBERS BY TWO; RIGHT?
10:00:12   21              A.    YES, I THINK THAT'S FAIR.
10:00:13   22              Q.    SO -- SO ESSENTIALLY DOUBLING THEM?
10:00:17   23              A.    THAT'S CORRECT.
10:00:17   24              Q.    OKAY.    SO FOR 2016, YOU GO DOWN TO THE
10:00:19   25   "UNDER CONTRACT - CHAMPIONSHIP-CALIBER" ROW, YOU HAVE
                                                                                62
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                                   DEPOSITION OF GENE DEETZ

10:03:00    1   ME.
10:03:02    2                    I WAS JUST MAKING THAT POINT.
10:03:03    3              Q.    OKAY.    ARE YOU AWARE OF OTHER FIGHTS
10:03:04    4   THAT GOLDEN BOY IS -- IS GOING TO PROMOTE THROUGH THE
10:03:06    5   END OF THE YEAR?
10:03:08    6              A.    I'M NOT SPECIFICALLY AWARE, NO.
10:03:10    7              Q.    HAVE YOU SEEN ANY UN -- OTHER UPDATED
10:03:12    8   P & L'S FOR THE COMPANY, BESIDES FOR THE ALVAREZ-SMITH
10:03:15    9   FIGHT?
10:03:16   10              A.    I HAVE NOT.
10:03:19   11              Q.    DO YOU PLAN TO INCORPORATE THE
10:03:20   12   COMPANY-WIDE UPDATED P & L INTO YOUR ANALYSIS?
10:03:24   13              A.    AS I SIT HERE TODAY, I DO NOT PLAN TO
10:03:26   14   DO THAT.
10:03:27   15              Q.    AND AS OF TODAY, YOU'VE NOT SEEN A
10:03:30   16   COMP- -- UPDATED COMPANY-WIDE P & L?
10:03:31   17              A.    I HAVE NOT.
10:03:39   18              Q.    SO THE -- FROM 2015 TO 2016,
10:03:44   19   YEAR-OVER-YEAR, UNDER YOUR ANALYSIS, THERE IS ANOTHER
10:03:49   20   INCREASE IN REVENUES GENERATED -- OR I'M SORRY --
10:03:52   21   INCOME FROM BOXING OPERATIONS GENERATED FROM
10:03:56   22   CHAMPIONSHIP-CALIBER BOXERS UNDER CONTRACT TO GOLDEN
10:03:57   23   BOY?
10:03:58   24              A.    THAT'S CORRECT.
10:04:02   25              Q.    NOW, IS IT YOUR UNDERSTANDING THAT THE
                                                                                66
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                                   DEPOSITION OF GENE DEETZ

10:04:04    1   LIABILITY THEORY IN THIS CASE IS THAT GOLDEN BOY HAS
10:04:07    2   BEEN PRECLUDED FROM PROMOTING BOXERS THAT ARE NOT
10:04:11    3   UNDER CONTRACT WITH GOLDEN BOY?
10:04:14    4                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
10:04:16    5   AND AMBIGUOUS.
10:04:17    6                    THE DEPONENT:      MY UNDERSTANDING IS
10:04:18    7   THAT, AS A PART OF THE TYING OF THE MANAGEMENT --
10:04:22    8   MANAGEMENT AND PROMOTION --
10:04:24    9   BY MR. WOLFSON:
10:04:24   10              Q.    UH-HUH.
10:04:25   11              A.    -- AND THE LOCKING UP OF THE T.V.
10:04:28   12   RIGHTS, THEY -- THEY HAVE NOT BEEN ABLE TO ATTRACT
10:04:30   13   AND DEVELOP NON-CHAMPIONSHIP-CALIBER BOXERS INTO
10:04:38   14   CHAMPIONSHIP-CALIBER BOXERS.
10:04:38   15              Q.    AND WHY IS THAT YOUR UNDERSTANDING?
10:04:40   16              A.    BECAUSE I BELIEVE THAT THAT IS
10:04:41   17   MENTIONED IN DR. KNEUPER'S REPORT.
10:04:47   18              Q.    THAT THEY HAVE NOT BEEN ABLE TO
10:04:48   19   DEVELOP NON-CHAMPIONSHIP-CALIBER BOXERS INTO
10:04:52   20   CHAMPIONSHIP-CALIBER BOXERS?
10:04:53   21              A.    I BELIEVE SO, YES.
10:04:54   22              Q.    WHICH WOULD CONTRIBUTE TO THEIR BOTTOM
10:04:56   23   LINE BY CONTRIBUTING TO THEIR INCOME FROM BOXING
10:05:00   24   OPERATIONS TO UNDER-CONTRACT CHAMPIONSHIP-CALIBER
10:05:05   25   BOXERS?
                                                                                67
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                                   DEPOSITION OF GENE DEETZ

10:05:05    1                    MR. CESTERO:      I'M SORRY.
10:05:06    2                    CAN YOU READ THAT QUESTION BACK,
10:05:06    3   PLEASE.
10:05:20    4                    THE DEPONENT:      YEAH.   THANK YOU.
10:04:54    5              (THE RECORD WAS READ AS FOLLOWS:
10:04:54    6              Q.    WHICH WOULD CONTRIBUTE TO
10:04:56    7              THEIR BOTTOM LINE BY CONTRIBUTING
10:04:57    8              TO THEIR INCOME FROM BOXING
10:05:01    9              OPERATIONS TO UNDER CONTRACT
10:05:05   10              CHAMPIONSHIP-CALIBER BOXERS?)
10:05:16   11                    MR. WOLFSON:      THAT'S -- I'LL --
10:05:18   12   I'LL -- I'LL REPHRASE THE QUESTION.
10:05:21   13   BY MR. WOLFSON:
10:05:21   14              Q.    IF -- WITH YOUR UNDERSTANDING, IF
10:05:25   15   GOLDEN BOY HAD BEEN ABLE TO DEVELOP
10:05:29   16   NON-CHAMPIONSHIP-CALIBER BOXERS INTO
10:05:33   17   CHAMPIONSHIP-CALIBER BOXERS, HOW WOULD THAT HAVE
10:05:36   18   CONTRIBUTED TO THE COMPANY'S BOTTOM LINE?
10:05:38   19              A.    IT WOULD -- IT WOULD INCREASE THE --
10:05:40   20   THE BOTTOM LINE.     BECAUSE THE CHAMPIONSHIP-CALIBER
10:05:42   21   BOXERS ARE THE -- THE KIND OF ECONOMIC OUTCOME OF
10:05:49   22   THE -- OF THE BUSINESS PLAN.
10:05:50   23              Q.    UH-HUH.
10:05:51   24              A.    SO TO THE EXTENT THAT -- THAT YOU HAVE
10:05:52   25   A YOUNG FIGHTER THAT GETS DEVELOPED AND PROMOTED AND
                                                                                68
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                                   DEPOSITION OF GENE DEETZ

10:05:57    1   BECOMES A CHAMPIONSHIP-CALIBER BOXER, THEN THEY'RE --
10:05:59    2   THEY'RE IN A POSITION TO MAKE -- MAKE MONEY FOR THE
10:06:03    3   PROMOTION -- FOR THE PROMOTER.
10:06:04    4               Q.   SO IN -- IN YOUR EXHIBIT 3, THAT WOULD
10:06:07    5   CONTRIBUTE TO THE INCOME FROM BOXING OPERATIONS IN
10:06:10    6   THE ROW FOR "UNDER CONTRACT - CHAMPIONSHIP-CALIBER";
10:06:13    7   RIGHT?
10:06:22    8               A.   IT WOULD CONTRIBUTE -- IT WOULD
10:06:23    9   CONTRIBUTE TO -- IT WOULD CONTRIBUTE TO ALL -- IT
10:06:23   10   WOULD BE A PART OF AND CONTRIBUTE TO ALL OF THE
10:06:25   11   ROWS.
10:06:28   12               Q.   WHY IS THAT?
10:06:29   13               A.   WELL, BECAUSE THEY ARE PROMOTING --
10:06:31   14   THESE FIGHTS ARE ALL FIGHTS THAT GOLDEN BOY PROMOTED
10:06:34   15   OR SOMEHOW HAS IN THEIR P & L.        AND SO THAT WOULD --
10:06:38   16   THAT WOULD BE A PART OF -- THEIR OVERALL BUSINESS IS
10:06:43   17   TO -- TO DEVELOP AND PROMOTE FIGHTERS.
10:06:46   18               Q.   AND THOSE WOULD BE FIGHTERS THAT ARE
10:06:48   19   UNDER CONTRACT TO THEM?
10:06:50   20                    MR. CESTERO:      OBJECTION; MISSTATES THE
10:06:51   21   WITNESS'S TESTIMONY, AND --
10:06:52   22                    THE DEPONENT:      YEAH.   I DON'T --
10:06:52   23                    MR. CESTERO:      -- IT MISSTATES THE
10:06:54   24   DOCUMENT.
10:06:55   25                    GO AHEAD.
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                                   DEPOSITION OF GENE DEETZ

10:08:39    1                    MR. CESTERO:      OBJECTION.    THAT'S VAGUE
10:08:41    2   AND AMBIGUOUS.
10:08:41    3   BY MR. WOLFSON:
10:08:41    4              Q.    -- IN 2015 AND 2016?
10:08:43    5                    MR. CESTERO:      IT'S STILL VAGUE AND
10:08:44    6   AMBIGUOUS.
10:08:48    7                    THE DEPONENT:      I DON'T KNOW THAT I
10:08:49    8   HAVE A SPECIFIC UNDERSTANDING AS TO ANY PARTICULAR
10:08:50    9   FIGHT CARD, AND WHO THE FIGHTERS WOULD BE ON THAT.
10:08:53   10                    BUT AS A DERIVATIVE OF DOCTORS
10:08:57   11   KNEUPER'S -- DR. KNEUPER'S OPINION ON THE
10:08:59   12   ANTICOMPETITIVE BEHAVIOR, THEY'RE UNABLE TO -- TO
10:09:01   13   ATTRACT CHAMPIONSHIP-CALIBER FIGHTERS, EITHER UNDER
10:09:04   14   CONTRACT OR OTHERWISE.
10:09:07   15                    AND ALSO -- AND ALSO HAVE BEEN IMPEDED
10:09:11   16   FROM THEIR BUSINESS PLAN, WHICH IS TO DEVELOP
10:09:13   17   FIGHTERS FROM NON-CHAMPIONSHIP CALIBER TO
10:09:16   18   CHAMPIONSHIP-CALIBER.
10:09:21   19   BY MR. WOLFSON:
10:09:21   20              Q.    IS IT YOUR OPINION IN THIS CASE THAT
10:09:22   21   GOLDEN BOY HAS BEEN DAMAGED FROM ITS INABILITY TO
10:09:28   22   OBTAIN INCOME FROM CHAMPIONSHIP-CALIBER BOXERS THAT
10:09:30   23   ARE NOT UNDER CONTRACT FROM -- WITH GOLDEN BOY?
10:09:33   24                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
10:09:34   25   AND AMBIGUOUS.
                                                                                72
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                                   DEPOSITION OF GENE DEETZ

10:09:35    1                    IF YOU UNDERSTAND IT, YOU CAN ANSWER
10:09:36    2   IT.
10:09:36    3                    THE DEPONENT:      YEAH.   IT IS.
10:09:37    4   BY MR. WOLFSON:
10:09:37    5              Q.    OKAY.    AND WHAT IS YOUR BASIS FOR
10:09:43    6   CLAIMING THOSE ARE DAMAGES TO GOLDEN BOY UNDER WHAT
10:09:45    7   YOU UNDERSTAND IS THEIR LIABILITY THEORY?
10:09:47    8                    MR. CESTERO:      I'M SORRY.    CAN YOU READ
10:09:48    9   THAT QUESTION BACK, PLEASE.
10:09:37   10              (THE RECORD WAS READ AS FOLLOWS:
10:09:37   11              Q.    OKAY.    AND WHAT IS YOUR
10:09:41   12              BASIS FOR CLAIMING THOSE ARE
10:09:44   13              DAMAGES TO GOLDEN BOY UNDER WHAT
10:09:45   14              YOU UNDERSTAND IS THEIR LIABILITY
10:09:47   15              THEORY?)
10:09:58   16                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
10:10:00   17   AND AMBIGUOUS.
10:10:01   18                    IF YOU UNDERSTAND IT, YOU CAN ANSWER
10:10:02   19   IT.
10:10:02   20                    THE DEPONENT:      WELL, MY -- MY
10:10:03   21   CALCULATION AND MY BASIS FOR DAMAGES INCLUDES ALL
10:10:05   22   CHAMPIONSHIP-CALIBER, REGARDLESS OF CONTRACT OR NO
10:10:08   23   CONTRACT, AS WELL AS THE COST OF THE LOSSES ON THE
10:10:12   24   NON-CHAMPIONSHIP-CALIBER BOXERS.
10:10:19   25                    AND THE -- AND THE BASIS FOR THAT IS
                                                                                73
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                                   DEPOSITION OF GENE DEETZ

10:13:15    1                    MR. CESTERO:      WELL, OBJECTION.      IT'S
10:13:16    2   VAGUE AND AMBIGUOUS.
10:13:19    3                    THE DEPONENT:      YEAH.    I DON'T -- I
10:13:20    4   DON'T RECALL THE SPECIFIC DOCUMENTATION UNDERNEATH
10:13:22    5   THE -- ANY PARTICULAR FIGHT THAT WAS A
10:13:25    6   NON-GOLDEN-BOY-CONTRACT FIGHTER.
10:13:28    7   BY MR. WOLFSON:
10:13:28    8               Q.   UH-HUH.
10:13:29    9               A.   BUT I -- BUT WHAT DROVE THE ANALYSIS
10:13:31   10   IS THE -- THE FACT THAT THAT NON-CONTRACT FIGHTER --
10:13:35   11   NON-GOLDEN-BOY-CONTRACT FIGHTER SHOWS UP IN THE
10:13:38   12   GOLDEN BOY P & L.
10:13:41   13               Q.   SO, FOR EXAMPLE, IN YOUR 2014 DETAIL,
10:13:47   14   YOU HAVE FLOYD MAYWEATHER CONTRIBUTING 2.2 MILLION TO
10:13:55   15   GOLDEN BOY'S OPERATING INCOME FOR THE YEAR?
10:13:58   16                    MR. CESTERO:      OH, IS THAT REALLY WHAT
10:13:58   17   THAT SAYS?
10:14:00   18                    THE DEPONENT:      IT IS.
10:14:01   19                    MR. CESTERO:      DOES IT SAY "2.2
10:14:02   20   MILLION"?
10:14:03   21                    THE DEPONENT:      IT'S THE -- IT'S THE
10:14:03   22   SECOND LINE, AND IT'S 2.216, I BELIEVE.          AND --
10:14:05   23                    MR. CESTERO:      OKAY.
10:14:06   24                    THE DEPONENT:      AND SO THE WAY -- WELL,
10:14:07   25   I'M SURE YOU KNOW THIS --
                                                                                77
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                                   DEPOSITION OF GENE DEETZ

10:14:10    1   BY MR. WOLFSON:
10:14:10    2              Q.    YEAH.
10:14:10    3              A.    -- BUT THE WAY TO THINK ABOUT THAT
10:14:11    4   IS -- YEAH, THAT IS INCLUDED IN THE 5,518,765 ON PAGE
10:14:16    5   1.
10:14:16    6              Q.    OKAY.    SO YOU TAKE AWAY FLOYD
10:14:18    7   MAYWEATHER FROM THAT ROW, AND THE 5.5 NUMBER GOES
10:14:23    8   DOWN TO -- GOES DOWN BY 2.2 MILLION?
10:14:26    9              A.    RIGHT.    IT BECOMES 3.3 MILLION.
10:14:29   10              Q.    OKAY.
10:14:30   11              A.    THAT'S CORRECT.
10:14:34   12              Q.    AND A -- MARCOS MAIDANA,
10:14:37   13   HE CONTRIBUTED 646,525 DOLLARS TO GOLDEN BOY'S 2014
10:14:45   14   OPERATING INCOME?
10:14:46   15              A.    THAT'S CORRECT.
10:14:51   16              Q.    AND SO YOU WOULD -- IF YOU TOOK OUT
10:14:53   17   MR. MAIDANA'S CONTRIBUTION FROM 2014, YOU WOULD
10:14:57   18   SUBTRACT 646,000 FROM THE 5.5 MILLION; RIGHT?
10:15:01   19              A.    THAT'S RIGHT.      AND YOU COULD LITERALLY
10:15:03   20   SORT THIS WORKBOOK TO SEE LITERALLY EACH -- EACH AND
10:15:06   21   EVERY FIGHTER --
10:15:07   22              Q.    UH-HUH.
10:15:07   23              A.    -- THAT MADE THAT 5.5 MILLION.
10:15:09   24              Q.    NOW, IS IT YOUR OPINION THAT GOLDEN
10:15:17   25   BOY HAS BEEN PRECLUDED FROM DERIVING INCOME FROM THE
                                                                                78
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                                   DEPOSITION OF GENE DEETZ

10:16:26    1              A.    THAT'S CORRECT.
10:16:27    2              Q.    AND THEN IN 2015, MR. MAYWEATHER HAD
10:16:31    3   HIS RETIREMENT FIGHT AGAINST MANNY PACQUIAO; RIGHT?
10:16:36    4                    MR. CESTERO:      OBJECTION.    THAT ASSUMES
10:16:37    5   FACTS, AND MISSTATES --
10:16:37    6                    THE DEPONENT:      THE ONLY REASON --
10:16:38    7                    MR. CESTERO:      -- THE EVIDENCE.
10:16:38    8                    THE DEPONENT:      THE ONLY REASON I'M
10:16:39    9   GOING TO SAY HE FOUGHT HIM -- I KNOW HE FOUGHT HIM IN
10:16:42   10   '15.   I DON'T KNOWN IF IT WAS HIS RETIREMENT OR NOT,
10:16:45   11   BUT I KNOW HE FOUGHT MR. PACQUIAO IN '15.
10:16:49   12   BY MR. WOLFSON:
10:16:49   13              Q.    OKAY.    IS -- HAVE YOU SEEN ANYTHING IN
10:16:50   14   DR. KNEUPER'S REPORT SUGGESTING THAT FLOYD MAYWEATHER
10:16:54   15   CHOSE A DIFFERENT PROMOTER FOR THAT FIGHT DUE TO
10:16:59   16   ANTICOMPETITIVE ACTIVITIES HERE?
10:17:01   17              A.    I DON'T RECALL SPECIFICALLY WHETHER HE
10:17:01   18   MENTIONS THAT OR NOT.      I DON'T HAVE A SPECIFIC
10:17:04   19   RECOLLECTION THAT HE DOES.
10:17:06   20              Q.    ARE YOU AWARE THAT THE FLOYD
10:17:08   21   MAYWEATHER AND MANNY PACQUIAO FIGHT IN 2015 WAS
10:17:13   22   PROMOTED BY A COMPANY CALLED TOP RANK?
10:17:16   23                    MR. CESTERO:       OBJECTION.     THAT
10:17:16   24   MISSTATES --
10:17:16   25                    THE DEPONENT:      I -- I --
                                                                                80
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                                   DEPOSITION OF GENE DEETZ

10:17:17    1                    MR. CESTERO:      ASSUMES FACTS, AND
10:17:18    2   MISSTATES THE RECORD.
10:17:20    3                    THE DEPONENT:      IT -- IT -- I'M AWARE
10:17:21    4   THAT THAT FIGHT IS NOT IN THE GOLDEN BOY P & L FOR
10:17:24    5   2015.   SO I WOULD ASSUME IT WAS PROMOTED BY SOMEBODY,
10:17:26    6   ELSE BECAUSE IT'S NOT IN GOLDEN BOY'S P & L.
10:17:29    7   BY MR. WOLFSON:
10:17:29    8              Q.    OKAY.    AND IF TOP RANK PROMOTED OR
10:17:30    9   CO-PROMOTED THAT FIGHT, YOU HAVE NO OPINION WHETHER
10:17:33   10   THAT WAS ANTICOMPETITIVE OR NOT, DO YOU?
10:17:40   11                    MR. CESTERO:      OBJECTION.    THAT'S VAGUE
10:17:41   12   AND AMBIGUOUS.
10:17:41   13                    THE DEPONENT:      YEAH.   AGAIN, MY -- MY
10:17:41   14   OPINION FLOWS FROM MR. KNEUPER, AND THAT'S MY
10:17:43   15   ASSUMPTION.
10:17:44   16   BY MR. WOLFSON:
10:17:44   17              Q.    OKAY.    ARE YOU -- HAVE YOU SEEN ANY
10:17:46   18   DISCUSSION OF WHAT IS A, QUOTE, "LEGITIMATE PROMOTER"
10:17:49   19   IN THE BOXING INDUSTRY IN THIS CASE?
10:17:51   20                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
10:17:57   21   AND AMBIGUOUS.
10:17:58   22                    THE DEPONENT:      I -- I DON'T RECALL, AS
10:17:58   23   YOU SAID, QUOTE, "LEGITIMATE PROMOTER."
10:18:02   24                    I DO RECALL VERY VAGUELY AND GENERALLY
10:18:04   25   THAT THAT'S DISCUSSED -- OR SOMETHING SIMILAR TO THAT
                                                                                81
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                                   DEPOSITION OF GENE DEETZ

10:18:07    1   MIGHT BE DISCUSSED -- IN THE -- DR. KNEUPER'S REPORT
10:18:09    2   AND MR. SHAW'S REPORT.
10:18:11    3   BY MR. WOLFSON:
10:18:11    4              Q.    AND IF TOP RANK EARNED THE MONEY OFF
10:18:18    5   OF PROMOTING OR CO-PROMOTING THE MAYWEATHER-PACQUIAO
10:18:25    6   FIGHT, IS IT YOUR OPINION THAT THAT DAMAGED GOLDEN
10:18:27    7   BOY, SUCH THAT HAYMON DEFENDANTS SHOULD PAY GOLDEN
10:18:30    8   BOY DAMAGES?
10:18:32    9                    MR. CESTERO:      OBJECTION.    THAT'S VAGUE
10:18:34   10   AND AMBIGUOUS, MISSTATES THE WITNESS'S TESTIMONY.
10:18:38   11                    THE DEPONENT:      LET ME MAKE SURE I
10:18:39   12   UNDERSTAND THE QUESTION.       I THINK THE ANSWER TO THAT
10:18:41   13   IS NO, BUT LET ME GIVE YOU WHAT I DID IN FRAMING
10:18:45   14   THAT.
10:18:46   15                    SO MY DAMAGES CALCULATION LOOKS AT
10:18:48   16   ONLY THOSE ITEMS THAT ARE IN THE GOLDEN BOY P & L AND
10:18:53   17   COMPARES THOSE YEAR-OVER-YEAR.
10:18:55   18                    SO IT DOESN'T INCLUDE ANOTHER FIGHT
10:18:56   19   THAT DIDN'T HAPPEN IN THE GOLDEN BOY P & L.
10:18:59   20                    SO I THINK THE ANSWER TO YOUR QUESTION
10:19:00   21   WAS NO, IF I UNDERSTOOD IT CORRECTLY.
10:19:02   22   BY MR. WOLFSON:
10:19:02   23              Q.    OKAY.    SO HAVE -- DID YOU ANALYZE AT
10:19:03   24   ALL IN YOUR DAMAGES ANALYSIS WHAT IMPACT FLOYD
10:19:08   25   MAYWEATHER'S CHOICE TO GO WITH A DIFFERENT BOXING
                                                                                82
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                                   DEPOSITION OF GENE DEETZ

10:19:11    1   PROMOTER HAD ON THE GOLDEN BOY'S P & L?
10:19:14    2                    MR. CESTERO:      OBJECTION.    THAT ASSUMES
10:19:17    3   FACTS, MISSTATES THE RECORD.
10:19:18    4                    THE DEPONENT:      WELL, MY ANALYSIS -- MY
10:19:20    5   ANALYSIS INCORPORATES THE 2000 -- JUST STICKING WITH
10:19:22    6   MR. MAYWEATHER, MY ANALYSIS INCORPORATES IN 2014, THE
10:19:27    7   OPERATING AND ALL OF THE COMPONENTS OF P & L, BUT THEN
10:19:30    8   FOR PURPOSES OF DISCUSSING THE OPERATING INCOME,
10:19:34    9   INCLUDES THE OPERATING INCOME FORM THE 2014
10:19:37   10   MAYWEATHER FIGHTS THAT WERE IN THE -- THE GOLDEN BOY
10:19:40   11   P & L.
10:19:41   12                    SO IT -- IT -- IT INCORPORATES THAT
10:19:43   13   AND IT LEAVES THAT -- THAT OPERATING INCOME IN MY
10:19:45   14   COMPARISON.
10:19:46   15   BY MR. WOLFSON:
10:19:46   16              Q.    OKAY.    AND DID YOU TRY TO CONTROL FOR
10:19:49   17   MR. MAYWEATHER'S DECISION TO GO WITH A DIFFERENT
10:19:52   18   BOXING PROMOTER AS TO WHAT EFFECT THAT WOULD HAVE ON
10:19:55   19   GOLDEN BOY'S FINANCES?
10:19:56   20              A.    WELL --
10:19:56   21                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
10:19:58   22   AND AMBIGUOUS.
10:19:58   23                    THE DEPONENT:      WELL, I DID -- I DID
10:19:59   24   CONSIDER IT.    AND A COUPLE OF THINGS ON THAT.
10:20:05   25                    ONE, IN MY REPORT I POINT OUT IN 2013,
                                                                                83
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                                   DEPOSITION OF GENE DEETZ

10:24:26    1   FROM, AGAIN, DR. KNEUPER'S LIABILITY THEORY, THAT
10:24:29    2   WE'VE GOT TYING OF THE PROMOTION AND MANAGEMENT AND
10:24:32    3   THE LOCKUP OF THE T.V. THAT'S IMPACTED THEIR BUSINESS
10:24:35    4   PLAN.
10:24:36    5                    AND THAT'S THE BASIS FOR THAT
10:24:37    6   ASSUMPTION.
10:24:38    7              Q.    DID YOU ANALYZE WHETHER FIGHTERS THAT
10:24:39    8   YOU HAVE NOW CHARACTERIZED AS CHAMPIONSHIP-CALIBER
10:24:44    9   BOXERS IN YOUR UPDATED EXHIBIT 3 UNDER DR. KNEUPER'S
10:24:48   10   CRITERIA SUDDENLY TURNED INTO
10:24:50   11   NON-CHAMPIONSHIP-CALIBER BOXERS IN 2015?
10:24:53   12                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
10:24:55   13   AND AMBIGUOUS.
10:24:55   14                    THE DEPONENT:      AND, I'M SORRY.      COULD
10:24:55   15   I HAVE THE QUESTION BACK, PLEASE?
10:24:58   16   BY MR. WOLFSON:
10:24:58   17              Q.    I'LL ASK IT IN PARTS.
10:25:00   18                    YOU SAID THAT YOU APPLIED
10:25:01   19   DR. KNEUPER'S CRITERIA TO RUN YOUR ANALYSIS TO
10:25:04   20   DETERMINE WHO WAS CHAMPIONSHIP-CALIBER BOXERS IN
10:25:08   21   2014; RIGHT?
10:25:09   22              A.    THAT'S A --
10:25:10   23                    MR. CESTERO:      WELL, I THINK THAT
10:25:10   24   MISSTATES HIS TESTIMONY, AND MISSTATES --
10:25:12   25                    THE DEPONENT:      I APPLIED HIS --
                                                                                 88
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                                  DEPOSITION OF GENE DEETZ

10:25:13    1                   MR. CESTERO:     -- THE DOCUMENT.
10:25:15    2                   THE DEPONENT:     I'M -- I'M SORRY.
10:25:16    3                   MR. CESTERO:     GO AHEAD.
10:25:16    4                   THE DEPONENT:     I APPLIED DR. KNEUPER'S
10:25:18    5   CRITERIA TO THE FIGHTERS IN 2014 TO MAKE THE
10:25:20    6   DETERMINATION OF WHO WAS CHAMPIONSHIP-CALIBER AND NOT
10:25:22    7   CHAMPIONSHIP-CALIBER.
10:25:24    8   BY MR. WOLFSON:
10:25:24    9             Q.    DID YOU THEN RUN THAT SAME ANALYSIS ON
10:25:27   10   THOSE SAME FIGHTERS FOR 2015 TO DETERMINE WHETHER
10:25:30   11   THEY WERE STILL CONSIDERED CHAMPIONSHIP-CALIBER
10:25:32   12   BOXERS?
10:25:34   13                   MR. CESTERO:     RE- -- REGARDLESS OF
10:25:34   14   WHETHER THEY APPEARED ON GOLDEN BOY'S P & L; IS THAT --
10:25:37   15                   MR. WOLFSON:     YES.
10:25:38   16                   MR. CESTERO:     -- YOUR QUESTION?
10:25:38   17                   OKAY.
10:25:39   18                   THE DEPONENT:     TO THE EXTENT THEY'RE
10:25:40   19   IN GOLDEN BOY'S P & L, I DID.       TO THE EXTENT THAT
10:25:42   20   THEY'RE NOT IN GOLDEN BOY'S P & L, I DID NOT.
10:25:45   21   BY MR. WOLFSON:
10:25:45   22             Q.    SO YOU DON'T KNOW WHETHER THOSE BOXERS
10:25:49   23   FOUGHT FOR OTHER PROMOTERS IN 2015 OR 2016?
10:25:55   24                   MR. CESTERO:     WELL, OBJECTION.      I
10:25:55   25   THINK THAT MISSTATES THE WITNESS'S TESTIMONY.
                                                                               89
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                                   DEPOSITION OF GENE DEETZ

10:25:57    1                    THE DEPONENT:      I -- I MAY HAVE SOME
10:25:58    2   INFORMATION ABOUT THAT.
10:25:59    3                    BUT AS I SIT HERE TODAY, I DID NOT DO
10:26:01    4   AN ANALYSIS OF THE FIGHTERS THAT -- THAT HAD LEFT THE
10:26:06    5   P & L, SO TO SPEAK, AND WHETHER THEY WERE CHAMPIONSHIP
10:26:09    6   OR NON-CHAMPIONSHIP CALIBER AFTER THEY -- AFTER THEY
10:26:11    7   WERE NO LONGER IN GOLDEN BOY'S P & L.
10:26:13    8   BY MR. WOLFSON:
10:26:13    9              Q.    NOW, YOU'VE SAID "FIGHTERS HAVE LEFT
10:26:16   10   THE P & L."     YOU MENTION THERE WERE 400-SOME-ODD
10:26:19   11   FIGHTERS ON THE '14 P & L?
10:26:22   12              A.    YEAH.    UNIQUELY, IT'S EXACTLY 400.
10:26:24   13              Q.    OKAY.    AND THEN THERE WERE LESS
10:26:25   14   FIGHTERS ON THE 2015 P & L?
10:26:27   15              A.    243.
10:26:28   16              Q.    AND LESS FIGHTERS ON THE 2016 P & L?
10:26:31   17              A.    AT JUNE 30TH, 155.
10:26:34   18              Q.    HAVE YOU ANALYZED HOW MANY FIGHTERS
10:26:37   19   WERE UNDER CONTRACT TO GOLDEN BOY AS WE'VE DEFINED
10:26:38   20   "CONTRACT" HERE TODAY?
10:26:39   21              A.    YES.
10:26:40   22                    MR. CESTERO:      IN EACH -- IN EACH OF
10:26:40   23   THOSE YEARS?
10:26:41   24                    MR. WOLFSON:      IN EACH OF THOSE YEARS,
10:26:41   25   YES.
                                                                                90
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                                   DEPOSITION OF GENE DEETZ

10:45:36    1                    THE DEPONENT:      YEAH.   AGAIN, AND I'M
10:45:37    2   SORRY.   I KNOW I'M REPEATING MYSELF ON ALL THESE
10:45:39    3   QUESTIONS.
10:45:40    4                    AGAIN, IT FLOWS FROM DR. KNEUPER'S
10:45:43    5   LIABILITY THEORY.
10:45:45    6                    IT DOES CONTAIN -- IT DOES CONTAIN A
10:45:45    7   FIGHTER-BY-FIGHTER, FIGHT-BY-FIGHT ANALYSIS FOR EVERY
10:45:49    8   FIGHT FROM '15 -- '14, '15, AND '16, BUT IT FLOWS IN
10:45:53    9   TOTAL FROM HIS LIABILITY THEORY.
10:45:54   10   BY MR. WOLFSON:
10:45:54   11              Q.    DOES YOUR DAMAGES ANALYSIS, THOUGH,
10:45:56   12   PICK OUT SPECIFIC BOXERS THAT GOLDEN BOY CLAIMS IT
10:46:01   13   WAS TIED OUT OR PREVENTED FROM PROMOTING?
10:46:04   14                    MR. CESTERO:      OBJECTION.    THE -- THE
10:46:05   15   REPORT SPEAKS FOR ITSELF.       IT'S VAGUE AND
10:46:07   16   AMBIGUOUS.
10:46:11   17                    THE DEPONENT:      IT -- IT -- IT SHOWS
10:46:11   18   ALL.   I THINK THE ANSWER IS IT DOESN'T, BUT LET ME
10:46:15   19   JUST SAY WHAT IT DOES SHOW TO -- TO MAKE SURE.
10:46:18   20                    I HAVE EVERY FIGHTER THAT'S IN GOLDEN
10:46:20   21   BOY'S P & L FOR ALL THREE PERIODS AND THE REVENUE,
10:46:24   22   WHERE LOST, GENERATED ON A FIGHT-BY-FIGHT,
10:46:25   23   FIGHTER-BY-FIGHTER BASIS.
10:46:26   24                    SO THOSE WOULD BE THE FIGHTS THAT THEY
10:46:26   25   DID FIGHT IN, AND IT DOESN'T CONTAIN ANY OTHER
                                                                               103
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                                   DEPOSITION OF GENE DEETZ

10:46:30    1   ANALYSIS BUT THAT.
10:46:31    2   BY MR. WOLFSON:
10:46:31    3               Q.   DOES YOUR ANALYSIS HAVE ANY ABILITY TO
10:46:34    4   ANALYZE THE PROFITS LOST FROM NOT BEING ABLE TO
10:46:38    5   PROMOTE SEAN PORTER?
10:46:40    6                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
10:46:54    7   AND AMBIGUOUS.
10:46:54    8                    THE DEPONENT:      I'M GOING TO GIVE YOU
10:46:55    9   A -- A -- A -- A GENERAL ANSWER, AGAIN, WHAT IT DOES.
10:46:57   10                    I DON'T KNOW ANY SPECIFIC FIGHT THAT
10:46:58   11   MR. PORTER WAS IN OR WASN'T IN, BUT LET ME GIVE YOU A
10:47:02   12   MORE GENERAL -- GENERAL ANSWER.
10:47:04   13                    TO THE EXTENT THERE'S A FIGHTER IN ANY
10:47:05   14   CATEGORY IN 2014 THAT EITHER FIGHTS OR DOESN'T FIGHT
10:47:10   15   IN 2015 --
10:47:11   16   BY MR. WOLFSON:
10:47:11   17               Q.   UH-HUH.
10:47:12   18               A.   -- THAT COMPARISON EITHER TO AN
10:47:15   19   OPERATING PROFIT BY FIGHTER IN '14 TO EITHER ZERO OR
10:47:19   20   SOME OTHER NUMBER IN '15 IS EMBEDDED IN THAT
10:47:21   21   ANALYSIS.
10:47:22   22                    SO YOU COULD LITERALLY LOOK AND SEE
10:47:25   23   AS A SUBSET OF MY DAMAGES CALCULATION ON A
10:47:29   24   FIGHTER-BY-FIGHTER BASIS WHAT THEY CONTRIBUTED OR --
10:47:32   25   OR DIDN'T CONTRIBUTE TO THE DAMAGE CALCULATION.
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                                   DEPOSITION OF GENE DEETZ

10:48:33    1   PAPER AND LAY ALL OF THIS OUT FIGHTER-BY-FIGHTER," IT
10:48:36    2   COULD STILL ADD UP TO THESE SAME TOTALS.
10:48:40    3                    BUT FOR PURPOSES OF THE ARITHMETIC,
10:48:42    4   I'VE -- I'VE DONE OFF THE TOTALS FOR EACH PERIOD.
10:48:46    5               Q.   OKAY.    AND IF GOLDEN BOY, THE
10:48:47    6   PLAINTIFFS IN THIS CASE, CLAIMS THAT THEY HAVE ONLY
10:48:50    7   BEEN TIED OUT FROM FIVE BOXERS, WOULD YOUR DAMAGES
10:48:54    8   ANALYSIS THEN HAVE TO BE REDUCED TO JUST THOSE FIVE
10:48:58    9   BOXERS FOR THE LOST PROFITS ON THOSE?
10:49:00   10                    MR. CESTERO:      OBJECTION.    IT'S AN
10:49:04   11   INCOMPLETE HYPOTHETICAL.       IT ASSUMES FACTS NOT IN
10:49:05   12   EVIDENCE.   IT'S VAGUE AND AMBIGUOUS, AND IT'S CALLS
10:49:06   13   FOR A LEGAL CONCLUSION.
10:49:08   14                    THE DEPONENT:      YEAH.   I'VE -- I'VE --
10:49:09   15   I HAVE -- MY REPORT FLOWS TOTALLY FROM DR. KNEUPER,
10:49:13   16   AND I HAVEN'T CONSIDERED ANY OTHER -- ANY OTHER
10:49:16   17   ANALYSIS.
10:49:17   18   BY MR. WOLFSON:
10:49:17   19               Q.   HAVE YOU REVIEWED ANY DISCOVERY
10:49:19   20   RESPONSES FROM THE PLAINTIFFS IN THIS CASE?
10:49:24   21               A.   I HAVE PROBABLY LOOKED AT THEM.          BUT
10:49:26   22   AS I SIT HERE TODAY, I DON'T HAVE ANY SPECIFIC
10:49:29   23   RECOLLECTION OF ANY PARTICULAR RESPONSE.
10:49:33   24                    BUT I -- IF THEY'RE LISTED IN MY
10:49:37   25   "MATERIALS RELIED UPON," I CERTAIN REVIEWED THEM AT
                                                                                106
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                                   DEPOSITION OF GENE DEETZ

10:49:39    1   SOME POINT, BUT I DON'T RECALL ANY PARTICULAR
10:49:41    2   RESPONSE.
10:49:42    3               Q.   OKAY.    AND IF THEY'RE NOT LISTED IN
10:49:44    4   THERE, YOU DID NOT LOOK AT THEM?
10:49:47    5               A.   THAT'S CORRECT.
10:50:09    6               Q.   OKAY.    BUT IF THEY ARE LISTED, THEN
10:50:10    7   YOU DID REVIEW THEM?
10:50:11    8               A.   THAT'S CORRECT.
10:50:11    9               Q.   AND IF YOU HAD SEEN IN THERE
10:50:12   10   INFORMATION THAT PLAINTIFFS WERE ONLY CLAIMING THAT
10:50:14   11   THEY HAD BEEN TIED OUT FROM ACTUALLY FOUR PARTICULAR
10:50:17   12   BOXERS, HOW WOULD THAT HAVE AFFECTED THE WAY THAT YOU
10:50:20   13   CONDUCTED YOUR DAMAGES ANALYSIS?
10:50:22   14               A.   IT --
10:50:23   15                    MR. CESTERO:      OBJECTION.    IT'S AN
10:50:24   16   INCOMPLETE HYPOTHETICAL.       IT MISSTATES THE RECORD.
10:50:26   17   IT ASSUMES FACTS NOT IN EVIDENCE, AND IT'S VAGUE AND
10:50:28   18   AMBIGUOUS.
10:50:28   19                    THE DEPONENT:      OKAY.   IT -- IT -- IT
10:50:29   20   WOULDN'T.    MY ANALYSIS FLOWS FROM DR. KNEUPER'S
10:50:33   21   OPINION.
10:50:34   22   BY MR. WOLFSON:
10:50:34   23               Q.   OKAY.    SO IF YOU LOOK AT PAGE -- IF GO
10:50:35   24   TO YOUR REPORT, IT'S GOING TO BE THE -- AND THIS IS,
10:50:42   25   WHAT, EXHIBIT 73? -- IT'S GOING TO BE THE BOLDED PAGE
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                                   DEPOSITION OF GENE DEETZ

10:50:45    1   120 ON THE BOTTOM RIGHT THERE.
10:50:57    2               A.   I SEE THAT.
10:50:57    3               Q.   OKAY.    DO YOU SEE WHERE IT SAYS
10:50:58    4   "PLAINTIFFS' SUPPLEMENTAL RESPONSES TO DEFENDANTS,
10:50:59    5   HAYMON SPORTS, L.L.C., FIRST SET OF INTERROGATORIES?
10:51:00    6                    AND THIS WOULD BE THE LAST ONE OF
10:51:03    7   THE -- OF THE BIG THICK ENTRIES FOR -- DATED AUGUST
10:51:05    8   25TH, 2016.
10:51:07    9               A.   I SEE THAT.
10:51:07   10               Q.   SO YOU DID REVIEW THAT --
10:51:08   11               A.   I DID --
10:51:08   12               Q.   -- FOR YOUR REPORT?
10:51:09   13               A.   I WOULD HAVE LOOKED AT THAT, YES.
10:51:11   14               Q.   OKAY.    AND IF THERE WAS A STATEMENT IN
10:51:13   15   THERE THAT THE PLAINTIFFS' CONTEND THEY'VE ONLY BEEN
10:51:21   16   PRECLUDED FROM ENTERING PROMOTIONAL CONTRACTS WITH
10:51:24   17   FOUR BOXERS, HOW DOES THAT AFFECT YOUR DAMAGES
10:51:27   18   ANALYSIS AT ALL, OR IF --
10:51:28   19                    MR. CESTERO:      IT'S IN --
10:51:28   20   BY MR. WOLFSON:
10:51:28   21               Q.   -- AT ALL?
10:51:30   22                    MR. CESTERO:      INCOMPLETE HYPOTHETICAL,
10:51:30   23   MISSTATES THE DOCUMENT.       IT ASSUMES FACTS NOT IN
10:51:31   24   EVIDENCE.   IT'S A MISREPRESENTATION OF THE RECORD.
10:51:35   25                    THE DEPONENT:      IT -- IT -- IT DOESN'T
                                                                               108
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                                   DEPOSITION OF GENE DEETZ

10:51:36    1   IMPACT IT.
10:51:38    2   BY MR. WOLFSON:
10:51:38    3               Q.   NOT AT ALL?
10:51:38    4               A.   NOT AT ALL.
10:51:39    5               Q.   OKAY.    AND IF THE EVIDENCE SHOWS THAT
10:51:52    6   THE PLAINTIFFS WERE OFFERED A TIME BUY ON FOX
10:51:57    7   DEPORTES IN 2015 BUT TURNED THAT DOWN, HOW DOES THAT
10:52:01    8   AFFECT YOUR DAMAGES ANALYSIS?
10:52:02    9                    MR. CESTERO:      OBJECTION; ASSUMES FACTS
10:52:03   10   NOT IN EVIDENCE, MISSTATES THE RECORD.          IT'S AN
10:52:08   11   INCOMPLETE HYPOTHETICAL.
10:52:09   12                    YOU CAN ANSWER.
10:52:10   13                    THE DEPONENT:      OKAY.   AND IT -- IT
10:52:11   14   WOULDN'T.    MY -- MY -- MY DAMAGE OPINIONS FLOWS FROM
10:52:15   15   DR. KNEUPER'S LIABILITY --
10:52:17   16   BY MR. WOLFSON:
10:52:17   17               Q.   OKAY.
10:52:17   18               A.   -- OPINION.
10:52:18   19               Q.   AND -- AND PART OF YOUR OPINION IS
10:52:20   20   THAT THE -- WELL -- IS THAT DEFENDANTS HAVE BEEN --
10:52:24   21   OR, I'M SORRY -- PLAINTIFFS HAVE BEEN PRECLUDED FROM
10:52:29   22   PROMOTING SHOWS ON, FOR EXAMPLE, FOX NETWORKS; RIGHT?
10:52:31   23                    MR. CESTERO:      I'M SORRY.
10:52:32   24                    CAN YOU REPEAT THE QUESTION?         READ THE
10:52:33   25   QUESTION BACK.
                                                                               109
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                                   DEPOSITION OF GENE DEETZ

10:52:33    1                    THANK YOU.
10:52:18    2              (THE RECORD WAS READ AS FOLLOWS:
10:52:18    3              Q.    AND PART OF YOUR OPINION
10:52:19    4              IS THAT THE DEFENDANTS -- SORRY --
10:52:24    5              PLAINTIFFS HAVE BEEN PRECLUDED
10:52:28    6              FROM PROMOTING SHOWS ON, FOR
10:52:30    7              EXAMPLE, FOX NETWORKS?)
10:52:46    8                    MR. CESTERO:      YOU CAN ANSWER.
10:52:47    9                    THE DEPONENT:      YEAH.   I DON'T THINK
10:52:47   10   THAT'S PART OF MY OPINION, BUT I THINK THAT FLOWS
10:52:49   11   FROM DR. KNEUPER'S OPINION TO MY DAMAGE
10:52:52   12   CALCULATION.
10:52:52   13   BY MR. WOLFSON:
10:52:52   14              Q.    AND PART OF YOUR DAMAGE CALCULATION IS
10:52:54   15   THEIR INABILITY UNDER WHAT DR. KNEUPER'S ASSUMES
10:52:57   16   THEIR INABILITY TO PROMOTE SHOWS ON FOX NETWORKS?
10:53:05   17              A.    THE ONLY REASON I'M GOING TO UNPACK
10:53:07   18   THAT A LITTLE BIT IS IT'S -- MY DAMAGE -- MY DAMAGE
10:53:09   19   OPINION IS -- IS IT'S A CAL- -- IT'S A CALCULATION,
10:53:10   20   AND IT'S A CALCULATION BASED ON THE DIFFERENCES IN
10:53:14   21   OPERATING INCOME YEAR-OVER-YEAR.
10:53:17   22              Q.    UH-HUH.
10:53:17   23              A.    AND SO -- SO THAT -- THAT CALCULATION
10:53:21   24   INCORPORATES DR. KNEUPER'S LIABILITY THEORY IN THAT.
10:53:23   25   SO THAT -- THAT WAS THE ONLY REASON FOR THE
                                                                                110
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                                   DEPOSITION OF GENE DEETZ

10:53:25    1   CLARIFICATION.
10:53:27    2              Q.    OKAY.    YOU HAVE NO OPINION ON WHETHER
10:53:28    3   OR NOT THE PLAINTIFFS COULD HAVE PROFITABLY PUT A
10:53:33    4   SHOW ON FOX DEPORTES IN 2015 OR 2016, DO YOU?
10:53:36    5              A.    I DON'T HAVE ANY -- ANY OPINION
10:53:40    6   INDEPENDENT OF WHAT I'VE ALREADY STATED.
10:53:43    7              Q.    AND YOUR DAMAGES MODEL IS INCAPABLE OF
10:53:46    8   ADDRESSING THAT FACT BECAUSE IT'S ASSUMPTION IS THAT
10:53:49    9   THEY WERE INCAPABLE OF PROMOTING T.V. OR BOXING BOUTS
10:53:53   10   ON ANY FOX NETWORK --
10:53:55   11                    MR. CESTERO:      OBJECTION.
10:53:56   12   BY MR. WOLFSON:
10:53:56   13              Q.    -- IN THAT TIME FRAME?
10:53:57   14                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
10:53:57   15   AND AMBIGUOUS.     IT MISSTATES THE REPORT.        IT
10:53:59   16   MISSTATES THE WITNESS'S TESTIMONY.
10:54:03   17                    THE DEPONENT:      YEAH.   I -- I --
10:54:03   18   AGAIN, I HAVE A DAMAGE CALCULATION THAT FLOWS FROM
10:54:07   19   DR. KNEUPER.
10:54:09   20                    I DON'T -- I DON'T RECALL HOW HE
10:54:10   21   CHARACTERIZES THE -- THE HARM AND THE -- FOR THE T.V.
10:54:13   22   COMPONENT, BUT IT FLOWS FROM THAT.
10:54:15   23   BY MR. WOLFSON:
10:54:15   24              Q.    OKAY.    BUT ONE OF THE COMPONENTS OF
10:54:16   25   YOUR DAMAGES ANALYSIS IS THAT IN 2014 AND THE FIRST
                                                                                111
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                                   DEPOSITION OF GENE DEETZ

10:54:23    1   HALF OF 2015, THERE WERE SHOWS ON FOX DEPORTES THAT
10:54:28    2   THE PLAINTIFFS PROMOTED, AND THEN THE FOX DEPORTES
10:54:31    3   SHOWS WENT AWAY?
10:54:38    4                    MR. CESTERO:      OBJECTION.    I THINK THAT
10:54:38    5   MISSTATES THE REPORT, BUT GO --
10:54:38    6                    THE DEPONENT:      NO, I --
10:54:38    7                    MR. CESTERO:      -- AHEAD AND CLARIFY.
10:54:40    8                    THE DEPONENT:      WELL, I THINK IT'S -- I
10:54:40    9   THINK IT'S A -- ACTUALLY, I THINK IT IS A YES.            THE
10:54:41   10   ONLY REASON I WANT TO CLARIFY IS I DON'T RECALL THE
10:54:44   11   SPECIFICS.
10:54:44   12                    BUT TO THE EXTENT THERE'S FOX DEPORTES
10:54:45   13   REVENUE IN ONE PERIOD AND THEN THERE'S NO FOX
10:54:50   14   DEPORTES REVENUE IN ANOTHER, THEN THAT -- I WOULD
10:54:50   15   CAPTURE THAT DIFFERENCE.
10:54:51   16   BY MR. WOLFSON:
10:54:51   17              Q.    AND THE ASSUMPTION IS THAT THAT'S
10:54:53   18   DAMAGE TO GOLDEN BOY BECAUSE, WHATEVER IT WAS, DUE TO
10:54:55   19   THE DEFENDANTS' ACTIVITIES?
10:55:00   20              A.    YES.    AGAIN, FLOWING FROM DR.
10:55:02   21   KNEUPER'S LIABILITY OPINION.
10:55:03   22              Q.    OKAY.    AND IF THE EVIDENCE IS THAT
10:55:06   23   PLAINTIFFS TURNED DOWN THE OPPORTUNITY TO CONTINUE
10:55:09   24   PROMOTING ON FOX DEPORTES FOR 2015 AND 2016, HOW DOES
10:55:16   25   THAT AFFECT YOUR DAMAGES ANALYSIS?
                                                                                112
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                                   DEPOSITION OF GENE DEETZ

10:55:18    1                    MR. CESTERO:      OBJECTION.    IT'S AN
10:55:19    2   INCOMPLETE HYPOTHETICAL.       IT ASSUMES FACTS NOT IN
10:55:22    3   EVIDENCE, AND IT MISSTATES THE RECORD.
10:55:24    4                    GO AHEAD.
10:55:24    5                    THE DEPONENT:      AND, AGAIN, IT WOULD --
10:55:25    6   IT WOULDN'T.     BECAUSE I -- MY OPINION FLOWS DIRECTLY
10:55:27    7   FROM DR. KNEUPER'S LIABILITY OPINION.
10:55:32    8   BY MR. WOLFSON:
10:55:32    9               Q.   OKAY.    NOW, WE'VE PREVIOUSLY TALKED
10:55:33   10   ABOUT HOW YOU RELY EXCLUSIVELY ON DR. KNEUPER'S
10:55:37   11   CRITERIA FOR CHAMPIONSHIP-CALIBER BOXERS; RIGHT?
10:55:40   12               A.   THAT'S CORRECT.
10:55:40   13               Q.   AND THAT YOU APPLIED THOSE CRITERIA
10:55:46   14   WHEN ESTABLISHING WHICH BOXERS YOU DID AND DID NOT
10:55:49   15   INCLUDE AS CHAMPIONSHIP-CALIBER BOXERS IN YOUR
10:55:52   16   ANALYSIS?
10:55:52   17               A.   I BELIEVE THAT'S CORRECT, YES.
10:55:59   18               Q.   OKAY.    IF THE EVIDENCE SHOWS THAT
10:56:00   19   GOLDEN BOY'S CRITERIA FOR CHAMPIONSHIP-CALIBER BOXERS
10:56:05   20   ARE NARROWER THAN THE ONES THAT DR. KNEUPER APPLIED,
10:56:09   21   HOW DOES THAT AFFECT YOUR DAMAGES ANALYSIS?
10:56:13   22                    MR. CESTERO:      OBJECT.    IT VAGUE AND
10:56:14   23   AMBIGUOUS.    IT'S AN INCOMPLETE HYPOTHETICAL.          IT
10:56:18   24   ASSUMES FACTS NOT IN EVIDENCE.
10:56:20   25                    THE DEPONENT:      AGAIN, I -- I DON'T
                                                                                113
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                                   DEPOSITION OF GENE DEETZ

10:56:21    1   THINK IT WOULD.
10:56:22    2   BY MR. WOLFSON:
10:56:22    3              Q.    NOT AT ALL?
10:56:23    4              A.    AT ALL.    NOT AT ALL.
10:56:23    5              Q.    WHY NOT?
10:56:24    6              A.    IT FLOWS FROM DR. KNEUPER'S OPINION.
10:56:26    7              Q.    SO IF DR. KNEUPER'S OPINION ON
10:56:30    8   CHAMPIONSHIP-CALIBER BOXERS WAS REFUTED BY THE
10:56:36    9   EVIDENCE, IS YOUR DAMAGES MODEL CAPABLE OF ADJUSTING
10:56:40   10   TO WHAT THE EVIDENCE SHOWS ARE CHAMPIONSHIP-CALIBER
10:56:42   11   BOXERS?
10:56:43   12                    MR. CESTERO:      WELL, I'LL OBJECT.      THE
10:56:44   13   QUESTION IS AN INCOMPLETE HYPOTHETICAL.          IT ASSUMES
10:56:46   14   FACTS NOT IN EVIDENCE.      IT'S ARGUMENTATIVE, AND IT'S
10:56:51   15   VAGUE AND AMBIGUOUS.
10:56:51   16                    THE DEPONENT:      THE -- IF YOU'D TURN
10:57:00   17   TO -- IF WE COULD GO BACK TO THE AMENDED OR REVISED
10:57:03   18   EXHIBIT 3 FOR A SECOND --
10:57:04   19   BY MR. WOLFSON:
10:57:04   20              Q.    UH-HUH.
10:57:05   21              A.    -- AND LOOK AT THE SECOND PAGE.
10:57:11   22                    SO THIS IS LINKED TO THE FIRST PAGE.
10:57:11   23   AND TO THE EXTENT -- TO THE EXTENT -- AND I -- I'M --
10:57:15   24   I'M NOT SUGGESTING THAT -- THAT -- THAT THIS IS MY
10:57:18   25   OPINION OR THAT ANY OTHER TESTIMONY THEN -- THEN
                                                                                 114
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                                   DEPOSITION OF GENE DEETZ

10:57:20    1   WHAT -- WHAT I'VE GOT FLOWS FROM DR. KNEUPER'S
10:57:25    2   LIABILITY OPINION.
10:57:27    3                    BUT THE POINT IS, THAT TO THE EXTENT
10:57:29    4   YOU WERE TO CHANGE -- FOR WHATEVER REASON -- THE --
10:57:32    5   THE X'S IN THE "RELATIVE CRITERIA" BOXES, THEN WHAT
10:57:37    6   WOULD HAPPENED --
10:57:37    7              Q.    UH-HUH.
10:57:38    8              A.    -- IS THAT THE INTER-RELATIONSHIP OF
10:57:41    9   CHAMPIONSHIP-CALIBER AND NON-CHAMPIONSHIP-CALIBER
10:57:45   10   AMOUNTS WOULD CHANGE, BUT THE TOTAL AMOUNT THAT I USE
10:57:48   11   FOR DAMAGES WOULD STAY THE SAME.
10:57:51   12              Q.    UH-HUH.    AND ONE OF THE -- ONE OF THE
10:57:52   13   FUNDAMENTAL BASES FOR YOUR DAMAGES ANALYSIS IS THAT
10:58:01   14   INCOME WENT DOWN FROM 2014 TO 2015 AND 2016; RIGHT?
10:58:05   15                    MR. CESTERO:      IT'S VAGUE AND
10:58:06   16   AMBIGUOUS.
10:58:06   17                    THE DEPONENT:      YEAH.   AND I'M JUST --
10:58:07   18   I -- THE INCOME FROM BOXING OPERATIONS WENT DOWN FROM
10:58:09   19   '14 TO '15 AND '15 TO '16.
10:58:12   20   BY MR. WOLFSON:
10:58:12   21              Q.    OKAY.    NOW, IF THE EVIDENCE SHOWED,
10:58:17   22   HOWEVER, THAT, FOR EXAMPLE, INCOME FROM
10:58:19   23   NON-CHAMPIONSHIP-CALIBER BOXERS IN 2014 WAS MUCH
10:58:25   24   HIGHER THAN WHAT YOU HAVE HERE AND WAS MUCH HIGHER IN
10:58:31   25   2015 AND 2016, WHAT DOES THAT DO TO YOUR CONCLUSIONS
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                                   DEPOSITION OF GENE DEETZ

10:58:35    1   ABOUT GOLDEN BOY'S DAMAGES?
10:58:38    2                    MR. CESTERO:      I'M SORRY.    CAN YOU
10:58:39    3   REPEAT THAT QUESTION FOR ME, PLEASE.
10:58:12    4              (THE RECORD WAS READ AS FOLLOWS:
10:58:12    5              Q.    OKAY.    NOW, IF THE EVIDENCE
10:58:16    6              SHOWED, HOWEVER, THAT, FOR EXAMPLE,
10:58:18    7              INCOME FROM NON-CHAMPIONSHIP-CALIBER
10:58:23    8              BOXERS IN 2014 WAS MUCH HIGHER
10:58:26    9              THAN WHAT YOU HAVE HERE AND WAS
10:58:29   10              MUCH HIGHER IN 2015 AND 2016, WHAT
10:58:33   11              DOES THAT DO TO YOUR CONCLUSIONS
10:58:35   12              ABOUT GOLDEN BOY'S DAMAGES?)
10:58:59   13                    MR. CESTERO:      OBJECT.    IT AN
10:58:59   14   INCOMPLETE HYPOTHETICAL.       IT ASSUMES FACTS NOT IN
10:59:02   15   EVIDENCE, AND IT'S VAGUE AND AMBIGUOUS.
10:59:04   16                    THE DEPONENT:      I -- I -- I THINK IT'S
10:59:05   17   A TWO-PART ANSWER.
10:59:07   18                    ONE, I HAVEN'T CONSIDERED ANY OTHER
10:59:09   19   ANALYSIS OTHER THAN THE ONE THAT -- THAT'S BASED ON
10:59:12   20   DR. KNEUPER'S CRITERIA.
10:59:14   21   BY MR. WOLFSON:
10:59:14   22              Q.    OKAY.
10:59:15   23              A.    SO I -- I WOULDN'T HAVE -- I HAVEN'T
10:59:16   24   DONE ANOTHER ANALYSIS TO HAVE ANOTHER -- ANOTHER
10:59:19   25   OPINION, OTHER THAN THE ONE I PRESENTED.
                                                                                116
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                                   DEPOSITION OF GENE DEETZ

10:59:21    1              Q.    OKAY.    AND -- AND TWO?
10:59:23    2              A.    TWO, IS THAT THE DAMAGE AMOUNTS ARE
10:59:28    3   BASED ON THE TOTAL INCOME FROM BOXING OPERATIONS --
10:59:32    4              Q.    AND --
10:59:33    5              A.    -- WHICH IS NOT GOING TO CHANGE.
10:59:34    6              Q.    AND THEY'RE NOT BASED ON ANY
10:59:37    7   DIVISIONS BETWEEN CHAMPIONSHIP-CALIBER BOXERS AND
10:59:39    8   NON-CHAMPIONSHIP-CALIBER BOXERS?
10:59:42    9                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
10:59:44   10   AND AMBIGUOUS.
10:59:45   11                    THE DEPONENT:      IT'S CONTAINS THOSE
10:59:45   12   DIFFERENCES, BUT THOSE ARE ALL SUBPARTS OF THE
10:59:48   13   TOTAL.
10:59:51   14   BY MR. WOLFSON:
10:59:51   15              Q.    AND YOUR UNDERSTANDING IS THAT --
10:59:56   16   OKAY.    STRIKE THAT.
11:00:00   17                    SO NO MATTER HOW BOXERS ARE DEFINED --
11:00:04   18   CHAMPIONSHIP-CALIBER BOXERS VERSUS
11:00:05   19   NON-CHAMPIONSHIP-CALIBER BOXERS -- YOUR DAMAGES
11:00:06   20   NUMBERS REMAIN THE SAME?
11:00:08   21                    MR. CESTERO:      OBJECTION.    THAT'S VAGUE
11:00:08   22   AND AMBIGUOUS AND AN INCOMPLETE HYPOTHETICAL.
11:00:10   23                    THE DEPONENT:      YEAH.   I HAVEN'T
11:00:11   24   CONSIDERED ANY OTHER ANALYSIS THAN THE ONE THAT I
11:00:15   25   PRESENTED YOU THAT FLOWS FROM DR. KNEUPER'S.            AND SO
                                                                                 117
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                                   DEPOSITION OF GENE DEETZ

11:00:19    1   I DON'T HAVE ANY OTHER OPINION THAN THIS ONE.
11:00:20    2   BY MR. WOLFSON:
11:00:20    3               Q.   SO IN EXHIBIT 3 HERE, THE UPDATED
11:00:24    4   EXHIBIT 3, NO MATTER HOW THE ROW NUMBERS CHANGE --
11:00:28    5   CHANGE, YOUR FINAL DAMAGES CONCLUSIONS WILL REMAIN
11:00:36    6   THE SAME?
11:00:37    7                    MR. CESTERO:      OBJECTION.    THAT'S VAGUE
11:00:38    8   AND AMBIGUOUS.
11:00:43    9                    THE DEPONENT:      I HAVEN'T CONSIDERED
11:00:44   10   ANY OTHER -- ANY OTHER ALTERNATIVE BUT THE ONE THAT'S
11:00:49   11   DRIVEN BY DR. KNEUPER'S ASSUMPTION, SO I WOULDN'T
11:00:51   12   HAVE ANY OTHER OPINION THAN THE ONE I'VE GOT BASED ON
11:00:54   13   THIS REPORT.
11:00:54   14   BY MR. WOLFSON:
11:00:54   15               Q.   OKAY.    AND WOULD -- I'M --
11:00:56   16   SPECIFICALLY, THOUGH, MY QUESTION HERE IS:           NO MATTER
11:00:59   17   HOW THE NUMBERS IN THESE ROWS AS YOU'VE DEFINED THEM
11:01:01   18   CHANGE, IT IS YOUR OPINION THAT THE ULTIMATE DAMAGES
11:01:03   19   NUMBERS -- THE 7 TO 8.4 MILLION OR THE 20 MILLION --
11:01:09   20   THEY REMAIN THE SAME?
11:01:10   21               A.   NO.   MY TESTIMONY IS THAT THAT
11:01:12   22   ANALYSIS THAT I'VE DONE IS THE ONE I'VE PRESENTED,
11:01:14   23   AND THAT'S WHAT MY OPINION IS BASED ON.          I HAVEN'T
11:01:17   24   CONSIDERED ANY OTHER -- ANY OTHER ANALYSIS OR
11:01:20   25   ALTERNATIVE DAMAGES CALCULATION.
                                                                                118
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                                   DEPOSITION OF GENE DEETZ

11:04:38    1              Q.    GOT IT.
11:04:38    2              A.    THAT WAS THE REASON FOR THE
11:04:40    3   CONFUSION.
11:04:40    4              Q.    GOT IT.    OKAY.
11:04:47    5                    AND IF YOU FLIP TO THE SECOND PAGE --
11:04:48    6   JUST WE'RE GOING TO GO THROUGH THIS 2014 DETAIL ONE
11:04:52    7   MORE TIME.
11:04:54    8              A.    OKAY.
11:04:54    9              Q.    WE'VE ALREADY TALKED ABOUT ALFREDO
11:04:57   10   ANGULO, DEVON ALEXANDER, SAKIO BIKA.
11:05:00   11                    IF YOU GO DOWN, DO YOU SEE "DIERRY
11:05:02   12   JEAN?   IT'S WITH A J-E-N [SIC].
11:05:06   13              A.    "DIERRY" WITH A "D"?
11:05:09   14              Q.    UH-HUH.
11:05:11   15              A.    J-E-A-N.     I DO SEE THAT.
11:05:11   16              Q.    UH-HUH.    AND SINCE THERE'S AN "X"
11:05:13   17   IN THE COLUMN "INCREMENTAL CHAMPIONSHIP-CALIBER,"
11:05:17   18   THAT MEANS THAT HE IS NOW BEING CONSIDERED A
11:05:15   19   CHAMPIONSHIP-CALIBER BOXER FOR YOUR ANALYSIS, BUT
11:05:20   20   PREVIOUSLY WAS NOT?
11:05:21   21              A.    THAT'S CORRECT.
11:05:22   22              Q.    AND INCLUDING MR. DIERRY JEAN IN
11:05:28   23   YOUR -- IN YOUR DAMAGES ANALYSIS DID NOT CHANGE YOUR
11:05:29   24   ULTIMATE CONCLUSIONS ABOUT GOLDEN BOY'S DAMAGES?
11:05:33   25              A.    IT DID NOT.
                                                                               123
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                                   DEPOSITION OF GENE DEETZ

11:05:35    1              Q.    OKAY.    AND WOULD IT SURPRISE YOU
11:05:36    2   TO UNDER- -- TO LEARN THAT MR. JEAN IS NOT INCLUDED
11:05:40    3   IN MR. KNEUPER'S LIST OF CHAMPIONSHIP-CALIBER
11:05:42    4   BOXERS?
11:05:43    5                    MR. CESTERO:      VAGUE AS TO TIME.
11:05:44    6                    THE DEPONENT:      AGAIN, THIS IS -- THIS
11:05:45    7   IS -- IT -- IT WOULDN'T SURPRISE ME BECAUSE THIS IS
11:05:47    8   AN ANALYSIS AS OF 2014.       AND I'M NOT SURE WHAT PERIOD
11:05:50    9   DR. KNEUPER'S ANALYZING.
11:05:57   10   BY MR. WOLFSON:
11:05:57   11              Q.    OKAY.    EZEKIEL BROOK -- IF YOU GO
11:06:00   12   DOWN.
11:06:00   13              A.    I'M GONNA -- I'VE GOT -- I'VE GOT IT.
11:06:01   14              Q.    OKAY.    IN THE COLUMN FOR "INCREMENTAL
11:06:02   15   CHAMPIONSHIP-CALIBER BOXERS," HE IS NOW INCLUDED.
11:06:04   16              A.    I SEE THAT.
11:06:05   17              Q.    WOULD IT SURPRISE YOU TO UNDERSTAND
11:06:07   18   THAT MR. BROOK WAS NOT INCLUDED DR. KNEUPER'S LIST OF
11:06:11   19   CHAMPIONSHIP-CALIBER BOXERS?
11:06:13   20              A.    AGAIN -- AGAIN, IT'S GOING TO HAVE
11:06:14   21   THE -- THIS -- THIS -- NO, IT -- IT WOULDN'T, FOR THE
11:06:16   22   REASONS I'VE TESTIFIED ALREADY.
11:06:18   23              Q.    OKAY.    AND INCLUDING MR. BROOK IN YOUR
11:06:21   24   CHAMPIONSHIP-CALIBER NUMBERS DID NOT AFFECT YOUR
11:06:24   25   ULTIMATE CONCLUSIONS ABOUT GOLDEN BOY'S DAMAGES;
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                                   DEPOSITION OF GENE DEETZ

11:06:27    1   RIGHT?
11:06:28    2              A.    THAT'S CORRECT.
11:06:32    3              Q.    IF YOU DO DOWN -- IT'S A LITTLE OVER
11:06:33    4   HALFWAY DOWN TO SOMEONE NAMED NIHITO ARAKAWA.            I KNOW
11:06:37    5   IT'S SMALL -- SMALL TEXT.
11:06:47    6              A.    ABOVE OR BELOW RICARDO ALVAREZ?
11:06:53    7                    MR. CESTERO:      BELOW.     ABOUT TEN BELOW
11:06:56    8   HIM.
11:07:14    9              (DOCUMENT REVIEWED BY THE DEPONENT.)
11:07:14   10                    THE DEPONENT:      I'M SORRY.     I'M JUST
11:07:15   11   NOT PICKING IT UP.      GIVE ME A SECOND.
11:07:17   12   BY MR. WOLFSON:
11:07:17   13              Q.    UH-HUH.
11:07:18   14              A.    "ARAKAWA"?
11:07:19   15              Q.    YES.
11:07:19   16              A.    I HAVE IT.
11:07:20   17              Q.    OKAY.    SO IN THE COLUMN FOR
11:07:22   18   "INCREMENTAL CHAMPIONSHIP-CALIBER," THIS MEANS --
11:07:23   19   THERE'S AN "X" THERE, MEANING HE'S, FOR THIS
11:07:27   20   ANALYSIS, BEING INCLUDED AS CHAMPIONSHIP-CALIBER BUT
11:07:29   21   PREVIOUSLY WAS NOT?
11:07:30   22              A.    THAT'S CORRECT.
11:07:31   23              Q.    OKAY.    AND WOULD IT SURPRISE YOU
11:07:32   24   TO LEARN THAT MR. ARAKAWA IS NOT INCLUDED IN MR. --
11:07:37   25   DR. KNEUPER'S LIST OF CHAMPIONSHIP-CALIBER BOXERS?
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                                   DEPOSITION OF GENE DEETZ

11:07:39    1              A.    AGAIN, NO, IT WOULDN'T, FOR THE
11:07:41    2   REASONS WE'VE -- WE'VE -- OR I'VE TESTIFIED TO
11:07:44    3   PREVIOUSLY.
11:07:45    4              Q.    OKAY.    AND THE INCLUSION NOW OF
11:07:46    5   MR. ARAKAWA DOES NOT CHANGE YOUR CONCLUSIONS ABOUT
11:07:50    6   THE DAMAGES TO GOLDEN BOY?
11:07:51    7              A.    THAT'S CORRECT.
11:07:52    8              Q.    IF YOU GO DOWN TO THE VERY --
11:07:56    9   THIRD-TO-LAST BOXER NAMED MARCO PERIBAN?
11:08:01   10              A.    I SEE THAT.
11:08:02   11              Q.    OR PERIBAN.
11:08:04   12                    THIS IS ALSO BECAUSE HE'S MARKED IN
11:08:07   13   THE "INCREMENTAL CHAMPIONSHIP-CALIBER" COLUMN, A
11:08:09   14   NEW -- A BOXER THAT IS NOW BEING CONSIDERED A
11:08:12   15   CHAMPIONSHIP-CALIBER, WHEREAS PREVIOUSLY HE WAS NOT.
11:08:14   16              A.    I SEE THAT.
11:08:15   17              Q.    AND WOULD IT SURPRISE YOU THAT
11:08:17   18   MR. PERIBAN WAS NOT INCLUDED IN DR. KNEUPER'S LIST OF
11:08:21   19   CHAMPIONSHIP-CALIBER BOXERS?
11:08:22   20              A.    NO, IT WOULD NOT.       AGAIN, FOR THE SAME
11:08:23   21   REASON I'VE TESTIFIED TO.
11:08:24   22              Q.    AND CAN I -- AM I RIGHT TO ASSUME THAT
11:08:27   23   HIS INCLUSION NOW AS A CHAMPIONSHIP-CALIBER BOXER
11:08:30   24   DOES NOT CHANGE YOUR ULTIMATE DAMAGES CONCLUSIONS
11:08:33   25   EITHER?
                                                                               126
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                                   DEPOSITION OF GENE DEETZ

11:08:33    1              A.    IT DOES NOT.
11:09:18    2              Q.    ACTUALLY, IF YOU COULD KEEP THAT IN
11:09:20    3   FRONT OF YOU AND TURN TO THE 2015 DETAIL.
11:09:22    4              A.    SURE.
11:09:23    5              Q.    IT'LL WOULD BE PAGE 8 OF YOUR NEW
11:09:25    6   EXHIBIT 3.
11:09:26    7              A.    8 OF 11?
11:09:28    8              Q.    UH-HUH.
11:09:34    9              A.    I HAVE THAT.
11:09:35   10              Q.    OKAY.    THIS -- THE EASIER WAY ANA- --
11:09:38   11   WAY TO FIND THIS WILL BE BY LOOKING AT THE FIRST "X"
11:09:41   12   IN THE "INCREMENTAL CHAMPIONSHIP-CALIBER" ROW?
11:09:45   13              A.    I HAVE THAT.
11:09:46   14              Q.    THAT'S FOR A BOXER NAMED ALFONSO
11:09:48   15   GOMEZ?
11:09:49   16              A.    I SEE THAT.
11:09:50   17                    MR. CESTERO:      I'M SORRY.    I'M SORRY.
11:09:50   18                    WHICH ROW ARE YOU TALKING ABOUT?
11:09:53   19                    MR. WOLFSON:      WELL, I'M TALKING ABOUT
11:09:53   20   THE COLUMN.
11:09:55   21                    MR. CESTERO:      OH.
11:09:56   22                    MR. WOLFSON:      BASICALLY, IF YOU GO
11:09:56   23   DOWN TO THE FIRST BOXER THAT THIS TIME IS BEING
11:09:59   24   INCLUDED AS A -- AS A CHAMPIONSHIP-CALIBER.
11:10:06   25                    MR. CESTERO:      IN THE "INCREMENTAL"
                                                                               127
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                                   DEPOSITION OF GENE DEETZ

11:10:10    1   COLUMN?
11:10:10    2                    MR. WOLFSON:      YES.    IT'S A BOXER NAMED
11:10:12    3   ALFONZO GOMEZ.
11:10:14    4                    MR. CESTERO:      THAT'S NOT WHAT MINE'S
11:10:14    5   SHOWING IN 2015.
11:10:16    6                    MR. WOLFSON:      2015?
11:10:16    7                    THE DEPONENT:      YEAH, PAGE 8.
11:10:16    8                    MR. WOLFSON:      OR PAGE 8, THAT'S WHAT
11:10:18    9   IT IS.
11:10:18   10                    THE DEPONENT:      PAGE 8 OF 11, IF YOU
11:10:18   11   LOOK AT THE --
11:10:18   12                    MR. CESTERO:      OH, I'M SORRY.
11:10:19   13                    SO IT'S THE SECOND PAGE OF PAGE 8.
11:10:21   14   OKAY.
11:10:21   15                    MR. WOLFSON:      UH-HUH.
11:10:21   16                    MR. CESTERO:      OKAY.   FINE.    I
11:10:22   17   UNDERSTAND.     I WAS ON THE FIRST PAGE.       SORRY.
11:10:34   18                    I STILL DON'T THINK THAT'S THE RIGHT
11:10:34   19   GUY.    OH, MAYBE IT IS.
11:10:34   20                    I'M LOOKING UNDER THE WRONG COLUMN --
11:10:34   21   COLUMN.
11:10:34   22                    OH, YEAH.     THERE YOU GO.     GOT IT.
11:10:34   23   OKAY.
11:10:35   24   BY MR. WOLFSON:
11:10:35   25              Q.    SO MR. -- THIS IS AN ANALYSIS THAT YOU
                                                                               128
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                                   DEPOSITION OF GENE DEETZ

11:10:37    1   UPDATED BASED ON THE CRITERIA FROM DR. KNEUPER;
11:10:39    2   RIGHT?
11:10:40    3              A.    THAT'S CORRECT.
11:10:40    4              Q.    FOR 2015?
11:10:42    5              A.    THAT'S CORRECT.
11:10:42    6              Q.    AND WOULD IT SURPRISE YOU TO KNOW
11:10:44    7   THAT -- AND FEEL FREE TO LOOK -- THAT MR. GOMEZ IS
11:10:48    8   NOT INCLUDED AS A CHAMPIONSHIP-CALIBER BOXER IN
11:10:50    9   DR. KNEUPER'S LIST OF CHAMPIONSHIP-CALIBER BOXERS?
11:10:54   10              A.    IT -- IT WOULD NOT, FOR THE REASONS
11:10:56   11   WE'VE ALL -- I'VE PREVIOUSLY TESTIFIED TO.
11:10:58   12              Q.    WHY WOULD THAT NOT SURPRISE YOU?
11:11:01   13              A.    THERE'S TWO REASONS.
11:11:02   14                    ONE IS THAT -- THAT THERE -- I DON'T
11:11:05   15   KNOW OF ANY OTHER -- I DON'T KNOW THE EXACT TIME
11:11:08   16   FRAME THAT DR. KNEUPER'S OPINING ON --
11:11:11   17              Q.    UH-HUH.
11:11:12   18              A.    -- IS ONE.
11:11:15   19                    AND THAT EVEN IF WE WERE IN THE
11:11:18   20   SAME -- HYPOTHETICALLY LINING UP IN SAME TIME PERIOD
11:11:24   21   WHEN YOU'RE LOOKING AT -- OH -- WHEN YOU'RE LOOKING
11:11:26   22   AT SEVERAL HUNDRED FIGHTERS IN MAKING THAT
11:11:29   23   DETERMINATION, IT WOULDN'T SURPRISE ME IF THERE WAS
11:11:31   24   ONE OR TWO DIFFERENCES IN INTERPRETING THE DATA THAT
11:11:35   25   WOULD -- THAT WOULD RESULT IN THAT DETERMINATION.
                                                                               129
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                                   DEPOSITION OF GENE DEETZ

11:11:38    1   BECAUSE I DID THIS COMPLETELY INDEPENDENTLY.
11:11:42    2               Q.   WELL, WHAT GIVES YOU THE QUALIFICATION
11:11:44    3   TO DO THIS INDEPENDENTLY IF --
11:11:45    4               A.   WELL, BECAUSE --
11:11:47    5               Q.   -- IF IT'S DR. KNEUPER'S CRITERIA AND
11:11:49    6   ANALYSIS?
11:11:50    7               A.   WELL, I'M --
11:11:50    8                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
11:11:51    9   AND AMBIGUOUS.
11:11:52   10                    GO AHEAD.
11:11:52   11                    THE DEPONENT:      THE CRITERIA ARE CLEAR,
11:11:53   12   AND IT'S -- IT'S -- IT IS A DEFINITION OF A
11:11:57   13   U.S.-BASED MANAGER OR PROMOTER, IT'S A RANKING
11:12:01   14   CRITERIA, AND A TELEVISION CRITERIA, OR A
11:12:07   15   WORLD-CHAMPION CRITERIA, IF I REMEMBER ALL OF THEM
11:12:10   16   CORRECTLY.
11:12:10   17                    AND I'M APPLYING THOSE CRITERIA AND --
11:12:12   18   AND CREATING THAT LIST BASED ON THOSE CRITERIA.
11:12:15   19   BY MR. WOLFSON:
11:12:15   20               Q.   BUT YOU ARE SAYING THEY'RE
11:12:16   21   CHAMPIONSHIP-CALIBER BOXERS FOR YOUR ANALYSIS;
11:12:18   22   RIGHT?
11:12:18   23               A.   THAT'S CORRECT.
11:12:19   24               Q.   AND THAT IS THE TERMINOLOGY THAT
11:12:20   25   DR. KNEUPER IS USING?
                                                                               130
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                                   DEPOSITION OF GENE DEETZ

11:12:22    1              A.    AND I'M ADOPT -- I'M ADOPTING THAT
11:12:23    2   TERMINOLOGY AND HIS CRITERIA BASED ON HIS REPORT.
11:12:27    3              Q.    HIS CRITERIA AND HIS METHODOLOGY FOR
11:12:28    4   DETERMINING WHAT IS A CHAMIPONSHIP-CALIBER BOXER?
11:12:30    5                    MR. CESTERO:      OBJECTION.    THAT'S VAGUE
11:12:31    6   AND AMBIGUOUS.
11:12:34    7                    THE DEPONENT:      WELL, THE CRITERIA --
11:12:35    8   I -- I THINK THE ANSWER IS YES.
11:12:38    9                    THE CRITERIA DETERMINED THE OUTCOME.
11:12:39   10   SO WHEN I APPLY THE CRITERIA, I EITHER HAVE OR DON'T
11:12:40   11   HAVE A CHAMPIONSHIP-CALIBER BOXER.
11:12:43   12   BY MR. WOLFSON:
11:12:43   13              Q.    AND HE -- BUT THERE ARE INSTANCES
11:12:45   14   WHERE YOU'RE SAYING THAT, BASED ON HIS CRITERIA, YOU
11:12:48   15   AND HE ARE DISAGREEING AS TO WHICH BOXERS ARE AND ARE
11:12:53   16   NOT CHAMPIONSHIP-CALIBER BOXERS.
11:12:53   17              A.    AND THAT WASN'T MY --
11:12:55   18              (SPEAKING SIMULTANEOUSLY.)
11:12:55   19                    MR. CESTERO:      OBJECTION.    THAT
11:12:55   20   MISSTATES THE WITNESS'S --
11:12:55   21                    THE DEPONENT:      -- MY TESTIMONY.
11:12:56   22                    MR. CESTERO:      -- TESTIMONY.
11:12:56   23                    THE DEPONENT:      NO.
11:12:56   24   BY MR. WOLFSON:
11:12:56   25              Q.    BUT ISN'T -- ISN'T THAT RIGHT ON THE
                                                                                131
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                                   DEPOSITION OF GENE DEETZ

11:12:57    1   PAGE?
11:12:58    2              A.    NO, NOT AT ALL.
11:13:01    3                    MR. CESTERO:      NO.
11:13:02    4   BY MR. WOLFSON:
11:13:02    5              Q.    OKAY.    SO LET'S GO TO -- LET'S GO BACK
11:13:03    6   A PAGE THEN.    PAGE 7 OF EXHIBIT 3.
11:13:06    7              A.    RIGHT.
11:13:06    8              Q.    DO YOU UNDERSTAND THAT DR. KNEUPER'S
11:13:09    9   ANALYSIS IS FROM JANUARY 1ST, 2015, THROUGH THE
11:13:12   10   PRESENT?
11:13:13   11                    MR. CESTERO:      WELL, OBJECTION.      THE
11:13:13   12   DOCUMENT SPEAKS FOR ITSELF.
11:13:15   13                    THE DEPONENT:      YEAH.   I DON'T HAVE A
11:13:16   14   SPECIFIC UNDERSTANDING OF -- OF HIS ANALYSIS OR AS OF
11:13:20   15   WHAT DATES HE'S MAKING ANY PARTICULAR DETERMINATION
11:13:22   16   OF A CHAMPIONSHIP-CALIBER BOXER.
11:13:24   17   BY MR. WOLFSON:
11:13:24   18              Q.    IF HE IS MAKING AN ASSUMPTION OR
11:13:27   19   MAKING AN ANALYSIS OF WHO IS A CHAMPIONSHIP-CALIBER
11:13:31   20   BOXER FROM JANUARY 1ST, 2015, THROUGH THE PRESENT,
11:13:34   21   THEN SHOULDN'T YOUR DETERMINATION OF THAT -- OF WHO
11:13:39   22   IS A CHAMPIONSHIP-CALIBER BOXER LINE UP WITH HIS?
11:13:43   23                    MR. CESTERO:      WELL, OBJECTION.      THAT'S
11:13:44   24   VAGUE AND AMBIGUOUS, AND IT MISSTATES THE WITNESS'S
11:13:47   25   TESTIMONY.
                                                                               132
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                                   DEPOSITION OF GENE DEETZ

11:13:48    1                    I THINK -- IS YOUR QUESTION ABOUT
11:13:49    2   EXHIBIT -- THE EXHIBITS 3 AND 4 IN DR. KNEUPER'S
11:13:51    3   REPORT?
11:13:52    4                    MR. WOLFSON:      UH-HUH.
11:13:53    5                    MR. CESTERO:      SPECIFICALLY ABOUT THOSE
11:13:54    6   TWO LISTS?
11:13:55    7                    MR. WOLFSON:      YEAH.
11:13:56    8                    MR. CESTERO:      AND YOU'RE ASSUMING THAT
11:13:56    9   THOSE TWO LISTS INCLUDE EVERYBODY FROM JANUARY 1,
11:14:00   10   2015, THROUGH THE PRESENT WHO HAS QUALIFIED AS A
11:14:05   11   CHAMPIONSHIP BOXER AT ANY TIME DURING THAT TIME?
11:14:07   12                    THAT'S YOUR ASSUMPTION OF WHAT
11:14:08   13   EXHIBITS 3 AND 4 ARE REFLECTING?
11:14:10   14   BY MR. WOLFSON:
11:14:10   15               Q.   WHAT IS YOUR UNDERSTANDING --
11:14:11   16               A.   OKAY.
11:14:11   17               Q.   -- OF DR. KNEUPER'S CRITERIA FOR HOW
11:14:14   18   HE DETERMINES CHAMPIONSHIP-CALIBER BOXERS?
11:14:15   19                    MR. CESTERO:      OBJECTION; ASKED AND
11:14:16   20   ANSWERED.
11:14:18   21                    THE DEPONENT:      YEAH.    I -- I -- HE --
11:14:19   22   IT -- IT HAS TO HAVE A RANKING WITHIN A PARTICULAR
11:14:22   23   TIME PERIOD; IT HAS TO BE ON TELEVISION; AND IT HAS
11:14:25   24   TO HAVE U.S.-BASED MANAGER OR PROMOTER.
11:14:28   25                    AND I APPLIED THOSE CRITERIA IN THOSE
                                                                               133
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                                  DEPOSITION OF GENE DEETZ

11:14:30    1   TIME PERIODS, TO THE -- THE -- THE FIGHTERS THAT WERE
11:14:33    2   IN THE P & L AT THAT PARTICULAR POINT IN TIME.
11:14:38    3   BY MR. WOLFSON:
11:14:38    4             Q.    OKAY.    SO APPLYING DR. -- AND ARE YOU
11:14:43    5   AWARE THAT DR. KNEUPER'S LOOKED AT THE BOXERS IN
11:14:48    6   GOLDEN BOY'S P & L, AS WELL?      OR DO YOU KNOW WHETHER HE
11:14:50    7   DID OR NOT?
11:14:51    8                   MR. CESTERO:     OBJECTION.     IT CALLS FOR
11:14:53    9   SPECULATION.
11:14:54   10                   THE DEPONENT:     YEAH.    I DON'T KNOW HOW
11:14:55   11   HE DETERMINED HIS LIST OF -- OF BOXERS.
11:14:58   12   BY MR. WOLFSON:
11:14:58   13             Q.    UH-HUH.
11:14:58   14             A.    BUT I APPLIED HIS CRITERIA TO THE LIST
11:15:02   15   OF BOXERS THAT WERE IN GOLDEN BOY'S P & L.
11:15:04   16                   SO I DON'T KNOW HOW HE DETERMINED THE
11:15:06   17   LIST THAT HE WAS ANALYZING.      BUT MY LIST IS DRIVEN BY
11:15:10   18   WHO -- WHO'S RESIDENT IN GOLDEN BOY'S P & L.
11:15:24   19             Q.    OKAY.    SO LET'S LOOK AT THE FIRST PAGE
11:15:26   20   OF THE 2015 DETAIL, WHICH IS PAGE 7 OF EXHIBIT 3 --
11:15:30   21   THE UPDATED EXHIBIT 3.
11:15:33   22             A.    OKAY.
11:15:37   23             Q.    THERE IS A BOXER TOWARDS THE TOP HERE
11:15:38   24   NAMED JAMES KIRKLAND.
11:15:40   25                   DO YOU SEE HIM?
                                                                              134
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                                   DEPOSITION OF GENE DEETZ

11:15:44    1               A.   I SEE THAT.
11:15:45    2               Q.   AND IN THE "INCREMENTAL
11:15:50    3   CHAMPIONSHIP-CALIBER" COLUMN, THERE'S AN "X"; RIGHT?
11:15:52    4               A.   I SEE THAT.
11:15:53    5               Q.   AND MR. KIRKLAND THEN, FOR THE
11:15:53    6   PURPOSES OF YOUR DAMAGES ANALYSIS, IS CONSIDERED A
11:15:56    7   CHAMPIONSHIP-CALIBER BOXER; RIGHT?
11:15:59    8                    MR. CESTERO:      IN 2015?
11:16:02    9   BY MR. WOLFSON:
11:16:02   10               Q.   IN 2015.
11:16:02   11               A.   THAT'S CORRECT.
11:16:02   12               Q.   AND THIS IS BASED ON DR. KNEUPER'S
11:16:05   13   CRITERIA?
11:16:05   14               A.   THAT'S CORRECT.
11:16:05   15               Q.   THE CRITERIA THAT YOU JUST SAID TO ME
11:16:08   16   ON THE RECORD A COUPLE MINUTES AGO?
11:16:10   17               A.   MY -- FROM MY RECOLLECTION, YES.
11:16:12   18               Q.   OKAY.    WOULD IT SURPRISE YOU TO KNOW
11:16:13   19   THAT DR. KNEUPER DOES NOT LIST JAMES KIRKLAND AS A
11:16:19   20   CHAMPIONSHIP-CALIBER BOXER IN EITHER OF HIS EXHIBIT 3
11:16:21   21   OR EXHIBIT 4, WHICH WERE HIS LISTS OF
11:16:28   22   CHAMPIONSHIP-CALIBER BOXERS?
11:16:28   23               A.   NO, IT DOESN'T.
11:16:30   24               Q.   OKAY.    NOW, AS -- AS WE LOOK AT THE
11:16:32   25   OPERATING INCOME THAT MR. KIRKLAND CONTRIBUTED TO
                                                                               135
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                                   DEPOSITION OF GENE DEETZ

11:16:36    1   GOLDEN BOY, IT APPEARS TO BE 213,352 DOLLARS FOR
11:16:46    2   2015; RIGHT?
11:16:47    3              A.    THAT'S CORRECT.
11:16:51    4              Q.    SO IN EXHIBIT 3 ITSELF, SINCE
11:16:55    5   MR. KIRKLAND IS NOT LISTED AS UNDER CONTRACT WITH
11:17:02    6   GOLDEN BOY, THAT 213,352 WENT IN THE FIRST ROW OF THE
11:17:14    7   2015 METRICS; RIGHT?
11:17:15    8              A.    IT WOULD BE PART OF THE 573,830 --
11:17:19    9   -883 DOLLARS, YES.
11:17:20   10              Q.    NOW, IF INSTEAD MR. KIRKLAND WAS --
11:17:24   11   WAS LISTED AS A NON-CHAMPIONSHIP-CALIBER BOXER, THEN
11:17:33   12   YOU WOULD TAKE THAT 213,000 OUT OF THE FIRST ROW IN
11:17:37   13   THE 2015 METRIC AND PUT IT -- AND ADD IT INTO THE
11:17:40   14   SECOND ROW; RIGHT?
11:17:41   15              A.    THAT'S CORRECT.      YOUR 573- INCOME
11:17:43   16   WOULD BE REDUCED AND YOUR LOSS OF 730,070 WOULD BE
11:17:48   17   REDUCED AS WELL.
11:17:49   18              Q.    OKAY.    TO THE BEST OF YOUR KNOWLEDGE,
11:17:52   19   WHY IS THERE A DIFFERENCE HERE IN HOW YOU ARE
11:17:59   20   CHARACTERIZING MR. KIRKLAND IN TERMS OF
11:18:04   21   CHAMPIONSHIP-CALIBER AND DR. KNEUPER IS
11:18:07   22   CHARACTERIZING HIM AS -- WELL -- OR HE'S NOT
11:18:08   23   CHARACTERIZING HIM AT ALL?
11:18:09   24              A.    WELL --
11:18:10   25                    MR. CESTERO:      OBJECTION; VAGUE AND
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                                   DEPOSITION OF GENE DEETZ

11:18:11    1   AMBIGUOUS.
11:18:11    2                    THE DEPONENT:      IT WOULD --
11:18:13    3                    MR. CESTERO:      IT MISSTATES THE
11:18:14    4   DEPONENT'S TESTIMONY.
11:18:16    5                    THE DEPONENT:      YEAH.   SO I APPLIED --
11:18:17    6   I APPLIED DR. KNEUPER'S CRITERIA TO THE DATA THAT WAS
11:18:20    7   IN GOLDEN BOY'S P & L AT A PARTICULAR POINT IN TIME.
11:18:23    8   BY MR. WOLFSON:
11:18:23    9              Q.    UH-HUH.
11:18:24   10              A.    AND TO THE EXTENT THAT THAT DOESN'T
11:18:25   11   SHOW UP -- AND I FORGET IF IT'S EXHIBIT 3 OR EXHIBIT
11:18:28   12   4 IN HIS REPORT -- I DON'T HAVE ANY SPECIFIC
11:18:31   13   EXPLANATION, OTHER THAN TO SAY THAT HE -- HE -- HE --
11:18:36   14   THERE MAY BE OTHER REASONS THAT HE HAS THAT IT'S NOT
11:18:39   15   THERE BASED ON THE TIME OF HIS ANALYSIS.
11:18:42   16                    AND OTHER THAN THAT, I WOULDN'T KNOW.
11:18:44   17   I DIDN'T -- I DIDN'T CROSS-CHECK THOSE.
11:18:46   18   BY MR. WOLFSON:
11:18:46   19              Q.    BECAUSE YOU DID IT YOURSELF?
11:18:47   20              A.    I DID IT MYSELF.
11:19:12   21              Q.    SO JUST TO BE CLEAR -- PERFECTLY CLEAR
11:19:14   22   HERE:   YOU HAVE NOT CROSS-CHECKED YOUR DETERMINATIONS
11:19:15   23   OF WHICH BOXERS ARE CHAMPIONSHIP-CALIBER AGAINST
11:19:17   24   DR. KNEUPER'S DETERMINES OF WHICH BOXERS ARE
11:19:19   25   CHAMPIONSHIP -- CHAMPIONSHIP-CALIBER?
                                                                               137
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                                   DEPOSITION OF GENE DEETZ

11:31:46    1   BY MR. WOLFSON:
11:31:46    2               Q.   DOES YOUR DAMAGES MODEL ASSUME
11:31:50    3   THAT GOLDEN BOY --
11:31:51    4               (THE DEPONENT COUGHED.)
11:31:51    5                    THE DEPONENT:      EXCUSE ME.     I'M
11:31:52    6   SORRY.
11:31:52    7   BY MR. WOLFSON:
11:31:52    8               Q.   IT'S OKAY.
11:31:53    9                    DOES YOUR DAMAGES MODEL ASSUME THAT
11:31:55   10   GOLDEN BOY WAS DAMAGED BY THE HAY- -- HAYMON SPORTS
11:32:02   11   CONTRACT WITH A.B.C. TO SHOW BOXING PROGRAMMING ON
11:32:08   12   A.B.C.?
11:32:08   13                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
11:32:09   14   AND AMBIGUOUS.     IT'S AN INCOMPLETE HYPOTHETICAL.
11:32:11   15                    THE DEPONENT:      AGAIN, IT'S NOT
11:32:12   16   SPECIFIC TO ANY -- IT COVERS ALL THE NETWORKS THAT
11:32:15   17   THEY HAD AND REVENUE FROM ALL THE -- AND I'M SAYING
11:32:18   18   NETWORK, CABLE, AND ALL SOURCES.
11:32:19   19   BY MR. WOLFSON:
11:32:19   20               Q.   UN-HUH.
11:32:20   21               A.   AND THEN THAT DECLINE.
11:32:28   22                    SO -- SO TO THE EXTENT THAT -- THAT
11:32:28   23   THERE'S ANY PARTICULAR REVENUE OR LACK OF REVENUE
11:32:30   24   FROM ANY PARTICULAR NETWORK, IT'S CAPTURED IN MY
11:32:33   25   ANALYSIS.
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                                   DEPOSITION OF GENE DEETZ

11:32:34    1              Q.    NOW, IF DATA, THOUGH, SHOWED THAT --
11:32:37    2   WELL -- SO YOU'RE NOT PROVIDING ANY OPINION ABOUT
11:32:39    3   WHICH NETWORKS GOLDEN BOY SHOULD HAVE HAD ACCESS
11:32:42    4   TO?
11:32:44    5                    MR. CESTERO:      OBJECTION.    THAT'S VAGUE
11:32:45    6   AND AMBIGUOUS.
11:32:46    7                    THE DEPONENT:      NO, I'M -- I'M NOT.
11:32:48    8   IT'S FLOWING FROM DR. KNEUPER'S LIABILITY OPINION.
11:32:52    9   BY MR. WOLFSON:
11:32:52   10              Q.    IT'S ENTIRELY DEPENDANT UPON
11:32:53   11   DR. KNEUPER; RIGHT?
11:32:55   12              A.    YES.
11:32:56   13              Q.    AND DOES YOUR ANALYSIS -- WELL, STRIKE
11:33:05   14   THAT.
11:33:06   15                    IF THE DATA SHOWED THAT GOLDEN BOY
11:33:11   16   PROMOTED PROFITABLE FIGHTS THAT WERE NOT ON BROADCAST
11:33:14   17   NETWORKS, WOULDN'T THAT IMPLY THAT NETWORK TIME-SLOT
11:33:19   18   AVAILABILITY IS NOT REQUIRED TO PROMOTE SUCCESSFUL
11:33:22   19   EVENTS?
11:33:22   20                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
11:33:26   21   AND AMBIGUOUS, AND IT'S AN INCOMPLETE HYPOTHETICAL,
11:33:31   22   AND IT MISSTATES THE DOCUMENT.
11:33:34   23                    BUT GO AHEAD.
11:33:35   24                    THE DEPONENT:      OKAY.   AGAIN, I -- I
11:33:36   25   MY -- MY DAMAGES ANALYSIS FLOWS FROM DR. KNEUPER'S
                                                                                151
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                                   DEPOSITION OF GENE DEETZ

12:13:03    1   AND AMBIGUOUS, LACKS --
12:13:05    2                    THE DEPONENT:      AND EXCLUDING THE --
12:13:05    3                    MR. CESTERO:      -- LACKS FOUNDATION.
12:13:07    4                    GO AHEAD.
12:13:07    5                    DEPOSITION OFFICER:        PLEASE HOLD ON.
12:13:07    6                    THE DEPONENT:      YEAH.   NO.    ALL I
12:13:07    7   CAN -- I EXCLUDED THE INTERNATIONAL REVENUE EXPENSES
12:13:10    8   AND OPERATING PROFIT OR LOSS.
12:13:12    9   BY MR. WOLFSON:
12:13:12   10              Q.    DOES THIS INCLUDE FIGHTS THAT WERE
12:13:14   11   PROMOTED IN MEXICO?
12:13:15   12                    MR. CESTERO:      OBJECTION.     IT'S VAGUE
12:13:16   13   AND AMBIGUOUS.
12:13:16   14                    THE DEPONENT:      YEAH.   I DON'T -- I
12:13:17   15   DON'T HAVE -- I DON'T HAVE ANY SPECIFIC RECOLLECTION
12:13:18   16   OF ANY OF THE COUNTRIES OR ANY OF THE FIGHTERS.
12:13:32   17   BY MR. WOLFSON:
12:13:32   18              Q.    SO GOING BACK TO WHAT "INCOME FROM
12:13:35   19   BOXING OPERATIONS IS," IT DOES NOT INCLUDE
12:13:36   20   INTERNATIONAL FIGHTS AND IT DOES NOT INCLUDE
12:13:37   21   CORPORATE OVERHEAD?
12:13:37   22                    IS THAT WHAT YOU SAID?
12:13:38   23              A.    THAT'S HOW I GENERALLY DESCRIBE IT,
12:13:41   24   YES.
12:13:41   25              Q.    WHY WAS CORPORATE OVERHEAD EXCLUDED?
                                                                               186
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                                  DEPOSITION OF GENE DEETZ

12:13:43    1             A.     BECAUSE ALL OF THE -- ALL OF THE
12:13:45    2   DIRECT EXPENSES OF THE FIGHT ARE INCLUDED IN THE
12:13:49    3   FIGHTER -- IN THE FIGHT P & L, THE EVENT P & L, AND THE
12:13:50    4   FIGHTER-BY-FIGHTER P & L.
12:13:52    5                    AND IT'S A VERY DETAILED CALCULATION.
12:13:57    6   SO TO THE EXTENT THERE WOULD BE A PARTICULAR PIECE OF
12:14:00    7   CORPORATE OVERHEAD, I EXCLUDED THAT IN ALL PERIODS.
12:14:05    8   SO I'M DEALING WITH THE ACTUAL FIGHTER OPERATIONS OF
12:14:08    9   GOLDEN BOY -- DOMESTIC FIGHTER OPERATIONS OF GOLDEN
12:14:11   10   BOY.
12:14:11   11             Q.     SO "INCOME FROM BOXING OPERATIONS"
12:14:13   12   ISN'T THE ACTUAL PROFIT THAT GOLDEN BOY RECEIVED IN
12:14:18   13   EACH OF THESE YEARS, IS IT?
12:14:19   14                    MR. CESTERO:    OBJECTION.     THAT'S VAGUE
12:14:22   15   AND AMBIGUOUS.
12:14:22   16                    THE DEPONENT:    THEY HAVE -- IF YOU
12:14:23   17   LOOK AT THEIR FINANCIAL STATEMENTS OR IF YOU LOOK AT
12:14:25   18   THE DETAILED WORKBOOKS, THERE IS CORPORATE OVERHEAD
12:14:32   19   THAT IS -- THAT IS -- THAT WOULD REDUCE THESE NUMBERS
12:14:36   20   THAT I HAVE EXCLUDED, AND I'M FOCUSING JUST ON THE
12:14:40   21   FIGHTING OPERATIONS.
12:14:41   22   BY MR. WOLFSON:
12:14:41   23             Q.     SO INCOME FROM BOXING OPERATIONS IS
12:14:42   24   NOT NET INCOME, IS IT?
12:14:45   25                    MR. CESTERO:    OBJECTION.     IT'S VAGUE
                                                                              187
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                                   DEPOSITION OF GENE DEETZ

12:14:46    1   AND AMBIGUOUS.
12:14:49    2                    THE DEPONENT:      IT'S -- IT'S -- IT'S
12:14:50    3   THE -- IT'S THE NET INCOME -- IT'S THE NET FROM
12:14:52    4   BOXING OPERATIONS, BUT IT WOULD NOT BE NET INCOME IF
12:14:54    5   YOU'RE REFERRING TO A -- A MEASURE THAT WOULD -- THAT
12:14:57    6   WOULD -- FROM THAT THAT WOULD DEDUCT CORPORATE
12:14:59    7   OVERHEAD.
12:14:59    8   BY MR. WOLFSON:
12:14:59    9               Q.   SO -- AND WHEN I'M REFERRING TO "NET
12:15:02   10   INCOME," I'M REFERRING TO IT IN THE STATE -- IN THE
12:15:05   11   CONTEXT OF A -- OF A FINANCIAL STATEMENT WHERE THE
12:15:10   12   COMPANY'S NET INCOME IS DEFINED AS THAT.
12:15:16   13                    INCOME FROM BOXING OPERATIONS IS NOT
12:15:19   14   NET INCOME AS IT IS DESCRIBED IN GOLDEN BOY'S OWN
12:15:21   15   FINANCIAL STATEMENTS, IS IT?
12:15:23   16                    MR. CESTERO:      WELL, OBJECTION.      THAT'S
12:15:24   17   VAGUE AND AMBIGUOUS.
12:15:31   18                    THE DEPONENT:      I'D -- I'D HAVE TO
12:15:31   19   LOOK, BUT I BELIEVE YOU'RE CORRECT.
12:15:33   20                    I THINK THERE IS A -- THE "NET INCOME"
12:15:35   21   LINE IN THEIR -- CERTAINLY IN THEIR AUDITED FINANCIAL
12:15:37   22   STATEMENTS, THE "NET INCOME" LINE WOULD BE AFTER
12:15:39   23   REDUCING IT FOR CORPORATE OVERHEAD.
12:15:59   24   BY MR. WOLFSON:
12:15:59   25               Q.   AND IF GOLDEN BOY'S NET INCOME FOR
                                                                               188
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                                   DEPOSITION OF GENE DEETZ

12:16:03    1   2015 INCLUDED THE 14 MILLION DOLLARS IN PAYMENTS IT
12:16:08    2   RECEIVED FROM THE HAYMON ENTITIES, IS THERE ANY
12:16:13    3   REASON THAT YOU DID NOT INCLUDE THAT IN YOUR
12:16:16    4   ANALYSIS?
12:16:16    5                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
12:16:17    6   AND AMBIGUOUS, LACKS FOUNDATION, CALLS FOR
12:16:22    7   SPECULATION, MISSTATES THE RECORD, AND ASSUMES FACTS
12:16:24    8   NOT IN EVIDENCE.
12:16:31    9                    THE DEPONENT:      SO THE -- THE REASON --
12:16:32   10   AND I PUT IN PARAGRAPH 49 THE REASONS WHY I DIDN'T
12:16:35   11   INCLUDE THE 14 MILLION THAT GOLDEN BOY RECEIVED IN MY
12:16:38   12   ANALYSIS.
12:16:39   13   BY MR. WOLFSON:
12:16:39   14               Q.   UH-HUH.    AND IS IT CORRECT, THEN, THAT
12:16:43   15   YOUR DAMAGES ANALYSIS DOES NOT REDUCE YOUR DAMAGES
12:16:48   16   CONCLUSIONS IN ANY WAY BY THE 14 MILLION DOLLARS THAT
12:16:52   17   GOLDEN BOY RECEIVED IN JANUARY AND MARCH 2015 FOR THE
12:17:02   18   TERMINATION OF CERTAIN EXCLUSIVE PROMOTIONAL RIGHTS
12:17:05   19   TO THOSE 22 TO 23 HAYMON BOXERS?
12:17:10   20                    MR. CESTERO:      OBJECTION.    IT MISSTATES
12:17:15   21   THE WITNESS'S TESTIMONY.       IT MISSTATES THE DOCUMENT.
12:17:15   22   IT MISSTATES THE RECORD.
12:17:17   23                    GO AHEAD.
12:17:17   24                    THE DEPONENT:      IT DOESN'T INCLUDE THE
12:17:18   25   14 MILLION.
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                                   DEPOSITION OF GENE DEETZ

12:17:20    1   BY MR. WOLFSON:
12:17:20    2              Q.    IT DOESN'T REDUCE IT IN ANY WAY BASED
12:17:22    3   ON THE 14 MILLION?
12:17:24    4              A.    IT DOES NOT.
12:17:25    5              Q.    AND YOUR INCOME FROM BOXING OPERATIONS
12:17:27    6   DOES NOT IN ANY WAY REFLECT A REDUCTION BASED ON THE
12:17:31    7   14-MILLION-DOLLAR PAYMENTS; RIGHT?
12:17:32    8                    MR. CESTERO:      WELL, OBJECT.
12:17:33    9                    CAN YOU READ THAT --
12:17:33   10                    MR. WOLFSON:      ACTUALLY, LET ME STRIKE
12:17:35   11   THAT.
12:17:35   12                    MR. CESTERO:      OKAY.
12:17:36   13   BY MR. WOLFSON:
12:17:36   14              Q.    YOUR -- YOUR 2015 INCOME FROM BOXING
12:17:39   15   OPERATIONS DOES NOT REFLECT ANY INCREASES BASED ON
12:17:42   16   THE 14 MILLION DOLLARS THAT THEY RECEIVED FROM THE
12:17:47   17   HAYMON SPORTS ENTITY; RIGHT?
12:17:48   18                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
12:17:49   19   AND AMBIGUOUS.     IT MISSTATES THE WITNESS'S TESTIMONY,
12:17:51   20   MISSTATES THE DOCUMENTS.
12:17:53   21                    GO AHEAD.
12:17:53   22                    THE DEPONENT:      YEAH.   THE -- THE --
12:17:55   23   IT'S NOT CONSIDERED AND IT'S NOT INCLUDED IN THE
12:17:57   24   CALCULATION.
12:18:06   25   / / /
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                                   DEPOSITION OF GENE DEETZ

14:39:14    1   DAMAGES THAT GOLDEN BOY HAS ALREADY INCURRED?
14:39:16    2               A.   THAT'S CORRECT.
14:39:19    3               Q.   AND THEN IF YOU GO TO THE NEXT COLUMN,
14:39:20    4   IT SAYS "DECEMBER 31ST, 2016"?
14:39:22    5               A.   THAT'S CORRECT.
14:39:23    6               Q.   AND SO THOSE ARE THE DAMAGES FROM
14:39:25    7   JUNE 30TH THROUGH -- OR JUNE -- JULY 1ST -- STRIKE
14:39:29    8   THAT QUESTION.
14:39:30    9                    SO THOSE DAMAGES ARE YOUR ESTIMATES
14:39:31   10   FOR JULY 1ST THROUGH DECEMBER 31ST, 2016?
14:39:35   11               A.   THAT'S CORRECT.
14:39:37   12               Q.   AND THEN THE NEXT COLUMN IS 2017?
14:39:40   13               A.   THAT'S CORRECT.
14:39:40   14               Q.   AND SO THOSE ARE YOUR ESTIMATES FOR
14:39:43   15   DAMAGES IN 2017?
14:39:44   16               A.   THAT'S CORRECT.
14:39:44   17               Q.   AND THEN THE NEXT COLUMN IS 2018?
14:39:48   18               A.   THAT'S CORRECT.
14:39:49   19               Q.   AND THAT IS YOUR DAMAGE ESTIMATES FOR
14:39:50   20   THE YEAR 2018?
14:39:52   21               A.   THAT'S CORRECT.
14:39:52   22               Q.   AND THEN THE FINAL IS "FUTURE
14:39:54   23   PERIODS"?
14:39:55   24               A.   THAT'S CORRECT.
14:39:55   25               Q.   AND YOUR DAMAGES ESTIMATE THERE IS FOR
                                                                               233
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                                   DEPOSITION OF GENE DEETZ

14:39:58    1   FUTURE PERIODS OF UNSPECIFIED YEARS?
14:40:01    2              A.    RIGHT.
14:40:05    3              Q.    OKAY.    THE NEXT COLUMN, THEN, IS THE
14:40:07    4   RAW NUMBERS AS YOU ADD UP EACH OF THE PRECEDING
14:40:11    5   COLUMNS; IS THAT RIGHT?
14:40:12    6              A.    THAT'S RIGHT.      IN -- IN ASCENDING
14:40:13    7   ORDER FROM -- FROM THE -- THE 2016 PERIOD, THEN 2017
14:40:19    8   PERIOD ADDED, THEN THE 2018 PERIOD, AND THEN THE
14:40:24    9   EXTENDED PERIOD.
14:40:26   10              Q.    OKAY.    GOT IT.
14:40:27   11                    AND THEN THE NEXT COLUMN IS:
14:40:29   12                    "DAMAGES ADJUSTED FOR DISCOUNTING
14:40:30   13              AND FORECAST INDUSTRY GROWTH"?
14:40:33   14              A.    THAT'S CORRECT.
14:40:33   15              Q.    SO WHAT -- WHAT IS THAT COLUMN
14:40:35   16   SHOWING?
14:40:35   17              A.    WELL, THAT TAKES INTO ACCOUNT THAT
14:40:42   18   EVEN THOUGH MY REPORTS AT SEPTEMBER 16TH, IT TAKES
14:40:45   19   INTO ACCOUNT AS IF JUNE 30TH.
14:40:47   20                    SO THERE'S TWO THINGS THAT HAPPENED
14:40:47   21   THERE.   ONE IS THAT I'M CONVERTING THOSE TO A
14:40:51   22   JUNE 30TH DATE.
14:40:52   23              Q.    UH-HUH.
14:40:52   24              A.    AND THEN I'M ALSO ADJUSTING THEM FOR
14:40:54   25   INDUSTRY GROWTH OR INDUSTRY DECLINE FROM THE
                                                                               234
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                                   DEPOSITION OF GENE DEETZ

15:44:43    1   UNDERSTANDING ONE WAY OR ANOTHER, OTHER THAN WHAT'S
15:44:45    2   LISTED HERE.
15:44:46    3   BY MR. WOLFSON:
15:44:46    4              Q.    OKAY.    AND IN APPENDIX 4, WHEN YOU
15:44:47    5   REFER TO "BROADCASTING NETWORKS" AS "FOX" --
15:44:49    6                    DO YOU SEE THAT?
15:44:49    7              A.    YES.
15:44:50    8              Q.    -- THAT WOULD BE YOUR UNDERSTANDING OF
15:44:51    9   WHICH ENTITY THAT HAYMON BROAD -- OR HAYMON HAD A
15:44:55   10   CONTRACT WITH?
15:44:56   11                    MR. CESTERO:      OBJECTION.    THAT'S VAGUE
15:44:57   12   AND AMBIGUOUS.
15:44:58   13                    THE DEPONENT:      YEAH.   WITHIN THE --
15:44:59   14   WITHIN WHAT MAY BE THE GLOBAL FOX ENTITIES, I DON'T
15:45:03   15   HAVE ANY SPECIFIC UNDERSTANDING.
15:45:04   16   BY MR. WOLFSON:
15:45:04   17              Q.    OKAY.    DO YOU KNOW WHETHER THE
15:45:06   18   CONTRACT THAT HAYMON HAD WITH A FOX ENTITY WAS
15:45:11   19   WITH -- WELL, STRIKE THAT.
15:45:12   20                    DO YOU KNOW WHETHER HAYMON HAD A
15:45:13   21   CONTRACT WITH A DIFFERENT FOX ENTITY THAN GOLDEN BOY
15:45:17   22   DID?
15:45:18   23              A.    I -- I DON'T KNOW.
15:45:26   24              Q.    OKAY.    DO YOU KNOW WHETHER HAYMON'S
15:45:27   25   CONTRACT WITH FOX PRECLUDED GOLDEN BOY FROM
                                                                               296
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                                   DEPOSITION OF GENE DEETZ

15:45:32    1   CONTINUING ITS CONTRACTS WITH FOX SPORTS EN
15:45:34    2   ESPANOL?
15:45:41    3                    MR. CESTERO:      OBJECTION.    IT CALLS FOR
15:45:42    4   A LEGAL CONCLUSION.
15:45:42    5                    THE DEPONENT:      YEAH.   I -- I --
15:45:42    6                    MR. CESTERO:      GO AHEAD.
15:45:42    7                    THE DEPONENT:      I DON'T -- I DON'T
15:45:44    8   KNOW.
15:45:46    9   BY MR. WOLFSON:
15:45:46   10              Q.    OKAY.
15:45:46   11              A.    I DON'T KNOW IF IT EXCLUDES THAT OR
15:45:46   12   NOT.
15:45:46   13              Q.    DID YOU ASK ANYONE AT GOLDEN BOY THEIR
15:45:48   14   UNDERSTANDING OF THAT ISSUE?
15:45:50   15              A.    I DON'T RECALL DOING THAT, NO.
15:46:06   16              Q.    NOW, IS YOUR DAMAGES MODEL ABLE TO
15:46:09   17   ASSESS WHETHER GOLDEN BOY WAS PRECLUDED FROM
15:46:15   18   PROMOTING SPECIFIC FIGHTS ON ANY OF THE NETWORKS
15:46:19   19   LISTED IN PARAGRAPH 33?
15:46:21   20                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
15:46:22   21   AND AMBIGUOUS.
15:46:30   22                    THE DEPONENT:      THE DAMAGES MODEL DEALS
15:46:32   23   WITH THE RECORDS THAT ARE IN THE GOLDEN BOY FINANCIAL
15:46:37   24   INFORMATION FOR BOXING OPERATIONS, THE L.L.C. OR THE
15:46:40   25   INC., THAT WE'VE -- WE'VE DISCUSSED ABOUT.
                                                                               297
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                                   DEPOSITION OF GENE DEETZ

15:46:42    1                    SO THE MODEL DEALS WITH WHAT'S THERE
15:46:44    2   AND WHAT'S BEEN RECORDED FOR REVENUE AND INCOME FROM
15:46:49    3   BOXING OPERATIONS.
15:46:50    4                    AND SO THAT WOULD BE THE BASIS ON THE
15:46:51    5   DAMAGE CALCULATIONS, ON WHAT'S IN THERE.
15:46:54    6                    SO I THINK THE QUESTION INCLUDED THE
15:46:55    7   WORD "PRECLUDED."     AND SO IT DOESN'T -- IT DOESN'T --
15:47:00    8   IT DOESN'T CALCULATE -- MAKE THE CALCULATION BASED ON
15:47:04    9   ANYTHING OTHER THAN WHAT'S ACTUALLY IN THE RECORDS OF
15:47:06   10   THE COMPANY.
15:47:15   11   BY MR. WOLFSON:
15:47:15   12               Q.   ARE YOU AWARE -- YOU SAID THAT YOU'VE
15:47:16   13   REVIEWED THE TOP RANK SETTLEMENT WITH THE HAYMON
15:47:19   14   ENTITIES?
15:47:19   15               A.   I'VE READ IT, YES.
15:47:19   16               Q.   AND YOU'VE READ THE -- THE CLAUSE IN
15:47:22   17   THAT SETTLEMENT THAT SAYS HAYMON WILL REMOVE ITS
15:47:24   18   EXCLUSIVITY PROVISIONS WITH -- IN ITS NETWORK
15:47:27   19   CONTRACTS?
15:47:27   20                    MR. CESTERO:      I'LL OBJECT.     THE
15:47:28   21   DOCUMENT SPEAKS FOR ITSELF, AND THAT MISSTATES THE
15:47:31   22   RECORD.
15:47:32   23                    GO AHEAD.
15:47:33   24                    THE DEPONENT:      I -- I -- I -- I'VE
15:47:35   25   READ THE DOCUMENT, AND I HAVE A GENERAL RECOLLECTION
                                                                               298
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                                   DEPOSITION OF GENE DEETZ

15:50:26    1   SIR?
15:50:28    2                    THE DEPONENT:      CAN I HAVE IT BACK,
15:50:30    3   PLEASE, RICHARD?
15:50:30    4                    MR. CESTERO:      YES.
15:50:31    5              (DOCUMENT HANDED TO THE DEPONENT.)
15:50:31    6                    THE DEPONENT:      EXCUSE ME.
15:50:31    7                    THE DIFFERENCE BETWEEN SCENARIO 3 AND
15:50:34    8   SCENARIO 4 IS THAT THE DAMAGES EXTEND BEYOND 2018.
15:50:38    9   BY MR. KUMAR:
15:50:38   10              Q.    AND WHAT IS THE BASIS FOR YOUR
15:50:40   11   ASSUMPTION THAT THE DAMAGES CAN EXTEND PAST 2018 IN
15:50:43   12   SCENARIO 4?
15:50:45   13                    MR. CESTERO:      OBJECTION.    THE DOCUMENT
15:50:46   14   SPEAKS FOR ITSELF.
15:50:46   15                    MR. WOLFSON:      IT DOESN'T.
15:50:47   16   BY MR. WOLFSON:
15:50:47   17              Q.    GO AHEAD.
15:50:48   18              A.    OKAY.    GIVE ME JUST A SECOND,
15:50:49   19   PLEASE.
15:50:49   20              Q.    UH-HUH.
15:50:49   21                    MR. CESTERO:      IT DOES.
15:50:50   22                    MR. WOLFSON:      WELL, HE'S CONTRADICTING
15:50:52   23   WHAT IT SAYS, SO LET'S GO.
15:50:54   24                    MR. CESTERO:      THAT'S OKAY.
15:51:06   25                    THE DEPONENT:      SO IN -- AND I'M JUST
                                                                               302
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                                   DEPOSITION OF GENE DEETZ

15:51:07    1   GOING TO READ THIS, AND THEN I'LL -- I THINK THAT'S
15:51:08    2   THE ANSWER, BUT:
15:51:11    3                    "SCENARIO 4 COMBINES ALL
15:51:11    4              OF THE EFFECTS SUMMARIZED IN
15:51:14    5              SCENARIOS 2 AND 3, BUT ALSO
15:51:16    6              CONSIDERS THE POSSIBILITY THAT
15:51:18    7              EITHER HAYMON DOES NOT CEASE
15:51:19    8              HIS ANTICOMPETITIVE CONDUCT, OR
15:51:21    9              THERE IS A PERMANENT CHANGE IN
15:51:23   10              GOLDEN BOY'S RELATIONSHIP WITH
15:51:27   11              THE MAJOR T.V. NETWORKS; ALL
15:51:31   12              BUT H.B.O. CONTINUE NOT TO PAY
15:51:33   13              LICENSING FEES; AND THAT THE
15:51:34   14              COST STRUCTURE IN THE AMOUNTS
15:51:35   15              PAID TO BOXERS REMAINS AT AN
15:51:38   16              INCREMENTAL LEVEL, AN INCREASED
15:51:40   17              LEVEL; AND EVEN WITH GOLDEN
15:51:42   18              BOY'S BEST EFFORTS IN OTHER
15:51:44   19              AVAILABLE AREAS TO MAKE
15:51:46   20              ADDITIONAL PROFIT, THEY DO NOT
15:51:48   21              RETURN TO A NORMAL LEVEL OF
15:51:50   22              PROFITABILITY."
15:51:53   23                    "THIS DAMAGE CALCULATION
15:51:56   24              CONSIDERS THE DAMAGE TO GOLDEN
15:51:57   25              BOY TO BE PERMANENT IN NATURE."
                                                                               303
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                                   DEPOSITION OF GENE DEETZ

15:52:00    1   BY MR. WOLFSON:
15:52:00    2              Q.    DO YOU KNOW THAT SPIKE IS CURRENTLY
15:52:02    3   PAYING LICENSE FEES?
15:52:07    4                    DO YOU KNOW THAT?
15:52:07    5              A.    I DON'T HAVE A SPECIFIC RECOLLECTION
15:52:09    6   ONE WAY OR THE OTHER.
15:52:10    7              Q.    DO YOU KNOW THAT SHOWTIME CURRENTLY
15:52:12    8   PAYS LICENSE FEES?
15:52:14    9              A.    I -- I -- I DON'T HAVE A SPECIFIC
15:52:17   10   RECOLLECTION ONE WAY OR THE OTHER.
15:52:18   11              Q.    OKAY.    WOULD THOSE FACTS CHANGE YOUR
15:52:20   12   DAMAGES NUMBERS HERE?
15:52:23   13              A.    THEY WOULDN'T.
15:52:23   14              Q.    NOT AT ALL?
15:52:23   15              A.    NOT AT ALL.
15:52:24   16              Q.    OKAY.    SO YOU'RE SAYING -- OKAY.
15:52:31   17                    EVEN THOUGH ONE OF THE ASSUMPTIONS
15:52:31   18   HERE FOR THIS PERMANENT CHANGE IS THAT ALL NETWORKS
15:52:35   19   BUT H.B.O. CONTINUE NOT TO PAY LICENSING FEES?
15:52:39   20              A.    THE -- THE REASON I SAY THAT -- AND I
15:52:41   21   TIE IT BACK TO -- TO THE DR. KNEUPER -- IS THAT THIS
15:52:47   22   SAYS THAT IF THERE IS A PERMANENT CHANGE IN THE
15:52:50   23   STRUCTURE THAT GOLDEN BOY HAS TO OPERATE IN -- A
15:52:53   24   PERMANENT CHANGE, WHICH MAY OR MAY NOT BE THE CASE.
15:52:55   25                    BUT IF -- IF THERE IS A PERMANENT
                                                                               304
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                                   DEPOSITION OF GENE DEETZ

16:09:14    1   MAYBE NONE OF THEM -- CHANGE THEIR RELATIONSHIP;
16:09:18    2   DON'T CHANGE THEIR RELATIONSHIP.
16:09:21    3                    ALL THAT'S GOING TO HAVE AN IMPACT,
16:09:21    4   BOTH ECONOMICALLY AND UNDER THE LAW -- WHICH I'M
16:09:23    5   DEFINITELY NOT OPINING ON.
16:09:26    6                    BUT AT THE END OF THE DAY -- AND YOU
16:09:26    7   MIGHT HAVE A DIFFERENT PERMANENT RELATIONSHIP WITH
16:09:28    8   HOW YOU HAVE TO CONTRACT WITH YOUR BOXERS -- ALL OF
16:09:32    9   THAT GOES INTO THE FACT THAT THERE COULD BE ONE OR
16:09:37   10   ALL OF THOSE COMPONENTS THAT RESIDES PERMANENTLY AS A
16:09:40   11   RESULT OF HAYMON'S ACTION.
16:09:49   12                    AND MAYBE -- MAYBE IT GOES AWAY
16:09:49   13   QUICKLY, LIKE I HAVE IN SCENARIO 1 AND SCENARIO 2.
16:09:50   14   AND MAYBE THERE'S A RESIDUE THAT THAT'S EMBEDDED
16:09:50   15   IN -- IN GOLDEN BOY FOR A LONGER PERIOD OF TIME.
16:09:52   16                    SO IT'S -- IT'S -- IT'S ALL OF THOSE
16:09:53   17   TOGETHER.
16:09:54   18               Q.   AND YOUR DAMAGES ANALYSIS DOES NOT
16:09:56   19   BREAK OUT THE COMPONENTS THAT ARE ATTRIBUTABLE TO
16:10:00   20   EACH OF THOSE ASPECTS OF THIS ALTERNATIVE?
16:10:05   21                    MR. CESTERO:      OBJECTION; VAGUE AND
16:10:06   22   AMBIGUOUS.
16:10:06   23                    THE DEPONENT:      YEAH.   IT SAYS THAT IT
16:10:07   24   COULD COME FROM ALL OF THOSE OR SOME SUBSET OF
16:10:11   25   THOSE.
                                                                               312
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                                   DEPOSITION OF GENE DEETZ

16:10:12    1   BY MR. WOLFSON:
16:10:12    2              Q.    HOW DOES IT BREAK OUT?
16:10:15    3                    SO WHAT IF T.V. NETWORKS GO BACK TO
16:10:18    4   PAYING LICENSING FEES, DOES YOUR DAMAGES ANALYSIS IN
16:10:21    5   SCENARIO 4 TAKE INTO ACCOUNT THAT?
16:10:23    6                    MR. CESTERO:      OBJECTION; VAGUE AND
16:10:24    7   AMBIGUOUS, INCOMPLETE HYPOTHETICAL.
16:10:25    8                    THE DEPONENT:      THE ASSUMPTION IN THIS
16:10:30    9   ANALYSIS IS DRIVEN FROM THE DAMAGES THAT ARE -- THAT
16:10:31   10   ARE IN THE YEARS THAT WE HAVE AND CARRIES US INTO THE
16:10:34   11   FUTURE.
16:10:35   12                    AND THE ASSUMPTION IS THAT THE -- THE
16:10:39   13   TOTAL MIX OF -- OF -- OF THESE PARTICULAR FACTORS
16:10:41   14   RESULT IN THESE DAMAGES.
16:10:45   15              Q.    AND ONE OF THOSE FACTORS IS THAT ALL
16:10:47   16   BUT H.B.O. CONTINUE TO NOT PAY LICENSE FEES; RIGHT?
16:10:54   17              A.    I -- THAT'S WHAT IT SAYS HERE, YES.
16:10:55   18              Q.    OKAY.    AND DOES YOUR DAMAGES ANALYSIS
16:10:58   19   BREAK OUT OR ACCOUNT FOR WHAT HAPPENS IF SOME
16:11:00   20   NETWORKS DO START GOING BACK TO PAYING LICENSING
16:11:03   21   FEES?
16:11:03   22              A.    IT -- IT -- AND THAT ASSUMPTION IS
16:11:04   23   THAT THE COUNTER-BALANCING EFFECT OF ALL THESE
16:11:07   24   RESULTS IN THE DAMAGES THAT I'VE -- I'VE LISTED
16:11:08   25   HERE.
                                                                               313
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                                   DEPOSITION OF GENE DEETZ

16:11:09    1              Q.    OKAY.    SO ALL OF THESE ARE NECESSARY
16:11:10    2   FACTORS IN ORDER TO GET TO THE NUMBERS LISTED AT THE
16:11:15    3   END OF SCENARIO 4?
16:11:16    4                    MR. CESTERO:      OBJECTION; VAGUE AND
16:11:16    5   AMBIGUOUS, MISSTATES THE WITNESS'S TESTIMONY.
16:11:19    6                    THE DEPONENT:      NO, I -- NO.     THE --
16:11:20    7   THE -- THAT INTERACTION OF ALL THEM, IT RESULTS IN
16:11:23    8   THESE AMOUNTS.
16:11:23    9   BY MR. WOLFSON:
16:11:23   10              Q.    SO IF -- IF SHOWTIME, FOX, AND N.B.C.
16:11:30   11   ARE WILLING TO PAY A LICENSING FEES FOR GOLDEN
16:11:35   12   BOY-PROMOTED FIGHTS, BUT GOLDEN BOY HAS TO PAY
16:11:40   13   INCREASED AMOUNTS TO BOXERS DUE TO THE HAYMON
16:11:46   14   DEFENDANTS' ACTIVITIES, HOW DOES THIS DAMAGES
16:11:48   15   ANALYSIS ACCOUNT FOR THAT SITUATION?
16:11:51   16                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
16:11:52   17   AND AMBIGUOUS, AND IT'S --
16:11:52   18                    THE DEPONENT:      IN -- IN --
16:11:54   19                    MR. CESTERO:      -- AN INCOMPLETE
16:11:54   20   HYPOTHETICAL.
16:11:54   21                    GO AHEAD.
16:11:55   22                    THE DEPONENT:      ALL RIGHT.     IN THIS
16:11:56   23   ANALYSIS, IT ASSUMED THAT THE NET RESULT OF THAT IS
16:11:59   24   THESE DAMAGES.
16:12:00   25   / / /
                                                                               314
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                                   DEPOSITION OF GENE DEETZ

16:12:00    1   BY MR. WOLFSON:
16:12:00    2              Q.    NO MATTER WHAT THE ACTUAL FACTS END UP
16:12:03    3   BEING WITHIN THESE VARIOUS DIFFERENT FACTORS?
16:12:05    4                    MR. CESTERO:      OBJECTION; VAGUE AND
16:12:06    5   AMBIGUOUS.
16:12:06    6                    THE DEPONENT:      THAT'S CORRECT.      IT --
16:12:07    7   IT -- IT IMPLIES -- IT -- THE -- THE ASSUMPTION IS
16:12:09    8   THAT THE END RESULT OF A PERMANENT CHANGE IS MEASURED
16:12:13    9   BY THIS -- THESE AMOUNTS.
16:12:18   10   BY MR. WOLFSON:
16:12:18   11              Q.    ARE YOU OPINING THAT THERE HAS BEEN
16:12:19   12   ANY PERMANENT CHANGE?
16:12:26   13              A.    NO.
16:12:27   14                    I'M OPINING THAT I DON'T KNOW IF THERE
16:12:29   15   HAS BEEN OR HASN'T.      AND I PROVIDED A RANGE OF
16:12:32   16   DAMAGES STARTING WITH JUNE 30TH OF '16 -- WHICH IS IN
16:12:35   17   OUR REAR-VIEW MIRROR -- THROUGH ONE THAT'S MORE
16:12:38   18   PERMANENT IN NATURE.      AND I DID MY BEST TO DESCRIBE
16:12:40   19   WHAT THAT MIGHT LOOK LIKE.
16:13:21   20              Q.    IS YOUR DAMAGES ANALYSIS ABLE TO BREAK
16:13:23   21   OUT THE HARM TO GOLDEN BOY FROM ITS INABILITY TO
16:13:33   22   OBTAIN NETWORK TIMESLOT AVAILABILITY --
16:13:33   23                    DEPOSITION OFFICER:       ONE MORE TIME.      I
16:13:33   24   COULDN'T HEAR YOU.
16:13:33   25   / / /
                                                                                 315
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                                   DEPOSITION OF GENE DEETZ

16:13:33    1   BY MR. WOLFSON:
16:13:33    2              Q.    IS YOUR DAMAGES ANALYSIS ABLE TO BREAK
16:13:36    3   OUT THE HARM GOLDEN BOY SUFFERED FROM ITS INABILITY
16:13:39    4   TO GET NETWORK TIMESLOT AVAILABILITY VERSUS ITS
16:13:43    5   INABILITY TO PROMOTE CHAMPIONSHIP-CALIBER BOXERS?
16:13:48    6                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
16:13:49    7   AND AMBIGUOUS.     IT'S INCOMPLETE HYPOTHETICAL.
16:13:54    8                    THE DEPONENT:      THE -- THE DAMAGE
16:13:55    9   ANALYSIS LOOKS AT THE TOTAL SOURCES OF REVENUE AND
16:13:58   10   EXPENSE IN THE -- IN THE '14 BASE YEAR COMPARED TO
16:14:02   11   '15 AND '16.
16:14:03   12                    SO THAT WOULD BE A COMPONENT PART OF
16:14:06   13   ALL OF THE ACTUAL INCOME AND EXPENSES IN '14 MEASURED
16:14:10   14   AGAINST '15 AND '16.
16:14:12   15   BY MR. WOLFSON:
16:14:12   16              Q.    SO THE ANSWER'S "NO"?
16:14:13   17                    MR. CESTERO:      OBJECTION; MISSTATES THE
16:14:15   18   WITNESS'S TESTIMONY, AND IT'S ARGUMENTATIVE.
16:14:26   19                    THE DEPONENT:      IT -- IT INCORPORATES
16:14:27   20   EVERYTHING.     SO TO -- IN THAT -- THAT EXTENT, IF
16:14:29   21   IT'S -- IF IT'S AN ITEM OF REVENUE OR EXPENSE, I'VE
16:14:32   22   CAPTURED IT.
16:14:33   23                    BUT I HAVEN'T LISTED OR ATTEMPTED TO
16:14:35   24   LIST ANY PARTICULAR INDIVIDUAL ITEM AND COMPARE IT TO
16:14:38   25   ANY OTHER INDIVIDUAL ITEM.
                                                                               316
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                                   DEPOSITION OF GENE DEETZ

16:14:40    1   BY MR. WOLFSON:
16:14:40    2              Q.    SO MY QUESTION IS:       IF THE -- SO, FOR
16:14:43    3   EXAMPLE, IF THERE HAS BEEN NO EXCLUSIVITY ON NETWORKS
16:14:51    4   FOR BOXING PROGRAMMING SINCE MAY 2016, IS YOUR
16:14:59    5   DAMAGES ANALYSIS ABLE TO ACCOUNT FOR THAT FACT?
16:15:02    6                    MR. CESTERO:      OBJECTION.    INCOMPLETE
16:15:04    7   HYPOTHETICAL, ASSUMES FACTS.
16:15:07    8                    THE DEPONENT:      IT -- IT -- IT WOULD
16:15:09    9   TAKE YOU -- TWO THINGS.
16:15:12   10                    THIS DAMAGES ANALYSIS FOCUSES ON
16:15:13   11   KNEUPER'S DAMAGE THEORY, WHICH HAS ALL OF THE
16:15:16   12   COMPONENTS OF THE ANTICOMPETITIVE BEHAVIOR IN IT.
16:15:20   13                    AND THAT -- THAT HYPOTHETICAL WOULD
16:15:21   14   REQUIRE ALL OF THE ELEMENTS OF INCOME AND EXPENSE,
16:15:25   15   AND ALL OF THE DYNAMICS THAT MIGHT GO INTO HOW IT
16:15:28   16   WOULD IMPACT OTHER AREAS OF BOXING OPERATIONS.
16:15:31   17                    SO I WOULDN'T HAVE AN OPINION ON
16:15:32   18   THAT.
16:15:32   19   BY MR. WOLFSON:
16:15:32   20              Q.    OKAY.    SO -- BUT MY QUESTION IS, SIR,
16:15:35   21   THAT YOUR DAMAGES ANALYSIS IS NOT ABLE TO ACCOUNT FOR
16:15:40   22   THE WORLD AS IT IS IF THE FACTS ARE THAT THERE WAS NO
16:15:44   23   NETWORK EXCLUSIVITY AS OF MAY 2016?
16:15:53   24                    MR. CESTERO:      OBJECTION; VAGUE AND
16:15:53   25   AMBIGUOUS, MISSTATES THE FACTS.
                                                                               317
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                                   DEPOSITION OF GENE DEETZ

16:15:55    1                    THE DEPONENT:      AND I APOLOGIZE.
16:15:56    2                    COULD YOU READ IT BACK REAL QUICK.
16:15:32    3               (THE RECORD WAS READ AS FOLLOWS:
16:15:32    4               Q.   OKAY.    SO -- BUT MY QUESTION
16:15:34    5               IS, SIR, THAT YOUR DAMAGES
16:15:36    6               ANALYSIS IS NOT ABLE TO ACCOUNT
16:15:38    7               FOR THE WORLD AS IT IS IF THE FACTS
16:15:42    8               ARE THAT THERE WAS NO NETWORK
16:15:44    9               EXCLUSIVITY AS OF MAY 2016?)
16:16:27   10                    THE DEPONENT:      ONE MORE TIME.
16:15:32   11               (THE RECORD WAS READ AS FOLLOWS:
16:15:32   12               Q.   OKAY.    SO -- BUT MY QUESTION
16:15:34   13               IS, SIR, THAT YOUR DAMAGES
16:15:36   14               ANALYSIS IS NOT ABLE TO ACCOUNT
16:15:38   15               FOR THE WORLD AS IT IS IF THE FACTS
16:15:42   16               ARE THAT THERE WAS NO NETWORK
16:15:44   17               EXCLUSIVITY AS OF MAY 2016?)
16:16:28   18                    THE DEPONENT:      I'M SORRY.     THE WORLD
16:16:29   19   AS IT IS?   THAT'S WHAT I WAS STRUGGLING WITH.
16:16:32   20                    I APOLOGIZE.
16:16:32   21                    I HAVE THE ACTUAL RESULTS FOR '14,
16:16:33   22   '15, '16.
16:16:34   23   BY MR. WOLFSON:
16:16:34   24               Q.   UH-HUH.
16:16:34   25               A.   SO THE WORLD -- THAT'S THE WORLD AS IT
                                                                               318
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                                   DEPOSITION OF GENE DEETZ

16:16:37    1   IS.
16:16:37    2              Q.    AND IF -- BUT IN UNDERPINNING YOUR
16:16:41    3   OPINING THAT GOLDEN BOY HAS BEEN DAMAGED IS THAT
16:16:45    4   THERE WERE EXCLUSIVE NETWORK CONTRACTS THAT PREVENTED
16:16:48    5   IT FROM OBTAINING NETWORK TIMESLOT AVAILABILITY?
16:16:56    6                    MR. CESTERO:      OBJECTION; MISSTATES THE
16:16:56    7   WITNESS'S TESTIMONY, ASKED AND ANSWERED.
16:16:57    8                    THE DEPONENT:      IT -- IT -- IT'S DRIVEN
16:16:58    9   BY KNEUPER'S OPINION ON LIABILITY.
16:17:00   10   BY MR. WOLFSON:
16:17:00   11              Q.    AND IF KNEUPER'S OPINION IS THAT THE
16:17:03   12   EXCLUSIVE NETWORK CONTRACTS CAUSED GOLDEN BOY DAMAGE
16:17:08   13   AND THE FACT IS INCORRECT, THEN YOUR DAMAGES ANALYSIS
16:17:13   14   CANNOT ACCOUNT FOR THAT INCORRECTNESS?
16:17:22   15                    MR. CESTERO:      ARE YOU GOING TO
16:17:23   16   WITHDRAW THAT ONE OR ARE YOU --
16:17:24   17                    MR. WOLFSON:      LET ME -- LET ME PULL
16:17:24   18   THAT BACK.
16:17:24   19                    MR. CESTERO:      I WISH WE HAD YOU ON
16:17:25   20   CAMERA ON THAT ONE.
16:17:27   21                    MR. WOLFSON:      WEBSTER'S MIGHT -- MIGHT
16:17:29   22   BLUSH AT THAT ONE.
16:17:31   23   BY MR. WOLFSON:
16:17:31   24              Q.    THE -- IF DR. KNEUPER'S WRONG THAT
16:17:36   25   THERE WAS DAMAGE TO GOLDEN BOY DUE TO EXCLUSIVE
                                                                               319
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                                   DEPOSITION OF GENE DEETZ

16:17:39    1   CONTRACTS BECAUSE THERE WERE NO EXCLUSIVE CONTRACTS
16:17:41    2   AFTER MAY 2016, IS IT ALSO CORRECT THAT YOUR DAMAGE
16:17:49    3   ANALYSIS CANNOT ACCOUNT FOR THE LACK OF
16:17:53    4   EXCLUSIVITY?
16:17:54    5                    MR. CESTERO:      OBJECTION.    THAT'S AN
16:17:54    6   INCOMPLETE HYPOTHETICAL, AND IT'S VAGUE AND
16:17:56    7   AMBIGUOUS.
16:18:02    8                    THE DEPONENT:      THE -- THE -- AGAIN,
16:18:03    9   THE DAMAGE -- THE DAMAGE MODEL THAT I'VE DONE, AND I
16:18:04   10   HAVE AN OPINION ON, ASSUMES KNEUPER'S THEORY OF
16:18:09   11   LIABILITY.
16:18:10   12                    AND I WOULD HAVE TO UNDERSTAND THE
16:18:11   13   FULL CIRCUMSTANCES OF ANY CHANGE IN HIS OPINION
16:18:13   14   BEFORE I COULD RESPOND TO THAT.
16:18:14   15   BY MR. WOLFSON:
16:18:14   16              Q.    AND IF THE -- HIS OPINION HAD TO
16:18:15   17   CHANGE BECAUSE THERE WAS NO EXCLUSIVITY IN HAYMON'S
16:18:20   18   NETWORK CONTRACTS AS OF MAY 2016, YOU WE HAVE TO
16:18:25   19   REVISE YOUR DAMAGES ESTIMATES; ISN'T THAT RIGHT?
16:18:27   20                    MR. CESTERO:      OBJECTION; MISSTATES THE
16:18:28   21   WITNESS'S TESTIMONY.      IT'S AN INCOMPLETE
16:18:31   22   HYPOTHETICAL.
16:18:31   23                    THE DEPONENT:      YEAH.   I WOULD HAVE TO
16:18:32   24   SEE WHAT THAT LOOKED LIKE IN -- IN A COMPREHENSIVE
16:18:34   25   SENSE.
                                                                               320
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                                   DEPOSITION OF GENE DEETZ

16:18:35    1                    AND AS I SIT HERE TODAY, I WOULDN'T
16:18:37    2   HAVE AN OPINIONS ONE WAY OR THE OTHER.
16:18:40    3   BY MR. WOLFSON:
16:18:40    4              Q.    OKAY.    YOU DON'T KNOW AS OF TODAY?
16:18:42    5              A.    THAT'S RIGHT.
16:19:18    6              Q.    COULD YOU TURN TO PAGE -- PARAGRAPH
16:19:19    7   20.   YOU SEE HERE, YOU SAY:
16:19:22    8                    "IN 2015 AND 2016, GOLDEN
16:19:26    9              BOY EXPERIENCED A DECLINE IN
16:19:27   10              THE NUMBER OF GOLDEN
16:19:29   11              BOY-PROMOTED
16:19:29   12              CHAMPIONSHIP-CALIBER- BOXER
16:19:31   13              BROADCAST TELEVISION EVENTS AND
16:19:33   14              ASSOCIATED REVENUES, AND A
16:19:38   15              DECLINE IN THE NUMBER OF
16:19:40   16              CHAMPIONSHIP-CALIBER BOXERS ON
16:19:41   17              TELEVISED EVENTS."
16:19:43   18                    DO YOU SEE THAT?
16:19:43   19              A.    YES.
16:19:44   20              Q.    AND IS THE BASIS FOR THIS -- THIS
16:19:49   21   OPINION EXHIBIT 1, WHICH YOU UPDATED TODAY?
16:19:52   22              A.    I BELIEVE IT IS IN PART.        IT CERTAINLY
16:19:54   23   IN PART IS.
16:19:55   24                    MR. WOLFSON:      OKAY.   I'LL NOTE FOR THE
16:19:56   25   RECORD THAT WE RECEIVED THE UPDATE OF EXHIBIT 1
                                                                               321
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                                   DEPOSITION OF GENE DEETZ

16:19:58    1   DURING THE DEPOSITION.
16:20:05    2   BY MR. WOLFSON:
16:20:05    3              Q.    IN -- IN THIS PARAGRAPH, YOU ONLY
16:20:07    4   REFER TO GOLDEN BOY'S PERFORMANCE IN 2015 AND 2016
16:20:10    5   WITH RESPECT TO PROMOTION OF, QUOTE,
16:20:11    6   "CHAMPIONSHIP-CALIBER BOXERS."
16:20:13    7                    DO YOU SEE THAT?
16:20:14    8              A.    CHAMPIONSHIP-CALIBER BOXER --
16:20:16    9   BROADCAST TELEVISION EVENTS AND CHAMPIONSHIP-CALIBER
16:20:18   10   BOXERS.   YES, I DO.
16:20:19   11                    THANK YOU.
16:20:21   12              Q.    WHY DO YOU MENTION ONLY PROMOTION OF
16:20:24   13   CHAMPIONSHIP-CALIBER BOXERS HERE?
16:20:33   14              A.    JUST -- JUST TO PUT THE -- JUST TO
16:20:33   15   DEMONSTRATE THE DECLINE IN THE T.V. REVENUE, AND THE
16:20:38   16   DECLINE IN THE NUMBER OF EVENTS ON T.V., AND THE
16:20:40   17   DECLINE IN THE CHAMPIONSHIP-CALIBER BOXERS.
16:20:43   18              Q.    WELL, DID YOU BELIEVE AT THE TIME YOU
16:20:44   19   WROTE YOUR REPORT THAT THE PROPER ANALYSIS FOR
16:20:46   20   DETECTING THE IMPACT ON GOLDEN BOY FROM THE ALLEGED
16:20:50   21   ANTICOMPETITIVE CONDUCT WAS GOLDEN BOY'S FINANCIAL
16:20:54   22   PERFORMANCE WITH RESPECT TO PROMOTING
16:20:57   23   CHAMPIONSHIP-CALIBER BOXERS?
16:20:59   24                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
16:21:03   25   AND AMBIGUOUS.
                                                                               322
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                                   DEPOSITION OF GENE DEETZ

16:21:03    1                    THE DEPONENT:      AS I -- AS I TESTIFIED
16:21:03    2   THIS MORNING, I THINK THE PROPER DAMAGE CALCULATION
16:21:07    3   ENCOMPASSES BOTH CHAMPIONSHIP-CALIBER AND
16:21:09    4   NON-CHAMPIONSHIP-CALIBER BOXERS COMPARING '14 TO '15
16:21:12    5   AND '15 TO '16.
16:21:13    6   BY MR. WOLFSON:
16:21:13    7               Q.   OKAY.    AND -- AND WHY DO YOU BELIEVE
16:21:14    8   THAT'S THE PROPER ANALYSIS?
16:21:16    9                    MR. CESTERO:      OBJECTION; ASKED AND
16:21:17   10   ANSWERED.
16:21:19   11                    THE DEPONENT:      BECAUSE THE -- BECAUSE
16:21:22   12   KNEUPER OPINES THE IMPACT OF THE TYING OF THE
16:21:28   13   PROMOTION AND THE MANAGEMENT AND THE LOCKUP OF THE
16:21:32   14   T.V.'S HARMS GOLDEN BOY AND ITS ABILITY TO GET YOUNG
16:21:37   15   PROSPECTS THROUGH THE PROCESS OF DEVELOPING THEM INTO
16:21:41   16   CHAMPIONSHIP-CALIBER BOXERS.
16:21:43   17   BY MR. WOLFSON:
16:21:43   18               Q.   UH-HUH.
16:21:43   19               A.   AND SO I'VE CONSIDERED AND -- AND IN
16:21:48   20   ADDITION, WE'VE TOUCHED ON THIS AS WELL.           THAT'S PART
16:21:50   21   OF IT, ATTRACTING CHAMPIONSHIP-CALIBER BOXERS, AND
16:21:52   22   THE IMPORTANCE OF OPPONENTS ALL GO INTO THOSE FOUR
16:21:56   23   CATEGORIES THAT I'VE BROKEN OUT IN EXHIBIT 3.
16:22:03   24               Q.   BUT YOU'RE NOT OPINING THAT GOLDEN BOY
16:22:05   25   ACTUALLY WAS UNABLE TO ATTRACT YOUNG PROSPECTS THAT
                                                                               323
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                                   DEPOSITION OF GENE DEETZ

16:22:07    1   IT COULD THEN DEVELOP INTO CHAMPIONSHIP-CALIBER
16:22:10    2   BOXERS?
16:22:11    3                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
16:22:12    4   AND AMBIGUOUS.
16:22:13    5                    THE DEPONENT:      LITERALLY UNABLE, I'M
16:22:14    6   NOT OPINING ON THAT.
16:22:16    7                    WHAT I'M OPINING ON IS THEY'VE BEEN
16:22:18    8   DAMAGED IN THEIR ABILITY TO ATTRACT THOSE, AND I --
16:22:23    9   I -- I SEE THAT IN THE DECLINE IN THE NUMBER OF
16:22:25   10   BOXERS FROM '14 TO '15 AND '15 TO '16.
16:22:27   11   BY MR. WOLFSON:
16:22:27   12              Q.    YOU ARE OPINING ON THE ASSUMPTION THAT
16:22:31   13   THEY WERE UNABLE TO; RIGHT?        OR ARE YOU OPINING THAT
16:22:33   14   THEY ACTUALLY WERE UNABLE TO ATTRACT THESE YOUNG
16:22:37   15   BOXERS?
16:22:37   16              A.    NO.   I'M -- I'M RELYING ON KNEUPER'S
16:22:42   17   OPINION FOR THE DAMAGES.
16:22:42   18              Q.    AND NOT ONLY DAMAGES, BUT FOR THE
16:22:44   19   THEORY OF LIABILITY FOR YOUR DAMAGES ANALYSIS?
16:22:47   20              A.    THAT'S CORRECT.
16:22:57   21              Q.    PARAGRAPH 22?
16:22:58   22              A.    YOU SAY YOU EVALUATED GOLDEN BOY'S
16:23:00   23   DAMAGES BASED ON THE HYPOTHETICAL BUT-FOR ANALYSIS
16:23:03   24   WHERE HAYMON ONLY ACTS AS A MANAGER.
16:23:12   25                    IF THE FACTS SHOW THAT HAYMON DID ONLY
                                                                               324
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                                   DEPOSITION OF GENE DEETZ

16:24:03    1   SOME PORTION OF HIS OPINION, THEN I WOULDN'T -- I
16:24:05    2   WOULDN'T HAVE AN OPINION ON WHAT THE IMPACT OF THAT
16:24:05    3   WOULD BE ON MY DAMAGES.
16:24:09    4                    MY DAMAGES CONSIDERS HIS OPINION IN
16:24:10    5   TOTAL, AND IT DRIVES THE DAMAGES IN TOTAL.
16:24:13    6              Q.    YOUR DAMAGES OPINION -- THE BUT-FOR
16:24:16    7   WORLD, THE WORLD AS IT SHOULD HAVE BEEN -- IS ONE IN
16:24:19    8   WHICH HAYMON ACTED ONLY AS A MANAGER; RIGHT?
16:24:25    9              A.    YES.
16:24:26   10              Q.    AND IF IT'S PROVEN THAT HAYMON ACTED
16:24:27   11   ONLY AS A MANGER IN THE WORLD AS IT IS, IS IT CORRECT
16:24:31   12   THAT YOU -- YOU WOULD HAVE TO CONCLUDE THERE ARE NO
16:24:33   13   DAMAGES TO GOLDEN BOY?
16:24:35   14                    MR. CESTERO:      OBJECTION.    IT'S AN
16:24:36   15   INCOMPLETE HYPOTHETICAL.
16:24:37   16                    THE DEPONENT:      NO.
16:24:38   17                    THERE'S SEVERAL FACTORS HERE I
16:24:40   18   WOULDN'T HAVE AN OPINION ON, BECAUSE THERE'S A TYING
16:24:46   19   OF THE PROMOTION AND MANAGEMENT AND LOCKOUT ON
16:24:48   20   TELEVISION, AND POSSIBLY OTHER STUFF THAT KNEUPER
16:24:51   21   BUILDS INTO HIS -- HIS LIABILITY THEORY.
16:24:54   22   BY MR. WOLFSON:
16:24:54   23              Q.    UH-HUH.
16:24:54   24              A.    AND SO TO THE EXTENT THAT ONE OF
16:25:03   25   THOSE -- IN A HYPOTHETICAL -- ONE OF THOSE IS FOUND
                                                                               326
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                                   DEPOSITION OF GENE DEETZ

16:35:56    1                    GO AHEAD.
16:35:56    2                    THE DEPONENT:      THAT -- THAT ROSTER DID
16:35:57    3   CHANGE.   AND THE -- THE -- I THINK THAT THE NET
16:36:01    4   CHANGE IS ALLEGED TO BE HARM FROM THE ANTICOMPETITIVE
16:36:02    5   BEHAVIOR.
16:36:02    6   BY MR. WOLFSON:
16:36:02    7               Q.   YOU'RE NOT AWARE OF THE FACTS OF
16:36:09    8   SPECIFIC BOXERS THAT GOLDEN BOY WAS PRECLUDED FROM
16:36:10    9   PROMOTING IN 2015?
16:36:12   10                    MR. CESTERO:      OBJECTION; VAGUE AND
16:36:13   11   AMBIGUOUS.
16:36:13   12                    THE DEPONENT:      I'M NOT AWARE OF
16:36:18   13   ANYTHING IN A LITERAL, SPECIFIC-BOXER SENSE THAT --
16:36:21   14   THAT -- THAT SAYS THAT.
16:36:22   15   BY MR. WOLFSON:
16:36:22   16               Q.   IN DR. KNEUPER'S REPORT, ARE YOU AWARE
16:36:23   17   OF ANY SPECIFIC BOXERS THAT HE CLAIMS GOLDEN BOY WAS
16:36:27   18   PRECLUDED FROM PROMOTING IN 2015 OR 2016?
16:36:36   19                    MR. CESTERO:      OBJECTION; VAGUE AND
16:36:36   20   AMBIGUOUS.
16:36:36   21                    THE DEPONENT:      YEAH.   I -- I AM NOT.
16:36:38   22   IT'S 60 PAGES.     BUT AS I SIT HERE, I DON'T RECALL A
16:36:45   23   SPECIFIC BOXER.
16:36:46   24   BY MR. WOLFSON:
16:36:46   25               Q.   IN DR. KNEUPER'S REPORT, ARE YOU AWARE
                                                                               338
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                                   DEPOSITION OF GENE DEETZ

16:36:48    1   OF ANY SPECIFIC BOUTS OR FIGHTS THAT HE CLAIMS WERE
16:36:51    2   PRECLUDED DUE TO THE HAYMON ENTITIES' ANTICOMPETITIVE
16:36:59    3   ACTIVITIES?
16:37:00    4                    MR. CESTERO:      OBJECTION.    IT'S VAGUE
16:37:01    5   AND AMBIGUOUS.
16:37:01    6                    THE DEPONENT:      YEAH.   AS I SIT HERE
16:37:02    7   TODAY, I DON'T RECALL ANY.
16:37:04    8   BY MR. WOLFSON:
16:37:04    9              Q.    IS THERE ANYTHING IN DR. SMITH'S
16:37:07   10   REBUTTAL REPORT THAT YOU DISAGREE WITH?
16:37:13   11                    MR. CESTERO:      OBJECTION; VAGUE AND
16:37:14   12   AMBIGUOUS.
16:37:14   13                    THE DEPONENT:      I'M JUST HESITATING
16:37:14   14   BECAUSE I WAS TRYING -- FOR SOME REASON I HAVE GARY
16:37:14   15   SHAW STUCK IN MY HEAD.
16:37:19   16                    SO YOU MEAN THE DR. SMITH -- DR. SMITH
16:37:19   17   THAT WROTE THE REBUTTAL REPORT TO MY OPINION?
16:37:49   18   BY MR. WOLFSON:
16:37:49   19              Q.    YES.
16:37:50   20              A.    SORRY ABOUT THAT.
16:37:51   21              Q.    THAT'S OKAY.
16:37:51   22              A.    YEAH.    I DISAGREE WITH SEVERAL THINGS
16:38:07   23   IN HIS REPORT.
16:38:08   24              Q.    OKAY.    WHAT DO YOU DISAGREE WITH IN
16:38:10   25   HIS REPORT?
                                                                               339
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                                   DEPOSITION OF GENE DEETZ

16:39:54    1   ANY OPINIONS THAT I -- THAT I HELD WHEN I ORIGINALLY
16:39:57    2   DID THIS REPORT.
16:40:01    3                    AND THEN I CAN GO PARAGRAPH BY
16:40:02    4   PARAGRAPH IF YOU'D LIKE, OR WE CAN DO IT BY MAJOR
16:40:05    5   TOPIC.
16:40:06    6                    I DON'T WANT TO -- I -- I'M NOT
16:40:06    7   SURE THAT I CAN START AT PARAGRAPH 5 AND GO THROUGH
16:40:08    8   THE ENTIRE REPORT OR --
16:40:10    9   BY MR. WOLFSON:
16:40:10   10              Q.    I GUESS I'D BE CURIOUS ABOUT MAJOR
16:40:12   11   TOPICS THAT YOU -- THAT YOU DISAGREE WITH.
16:40:16   12              A.    OKAY.    AND IF I MISS ANYTHING, THEN I
16:40:19   13   WANT TO SAY THERE WAS NOTHING IN HERE THE CAUSED ME
16:40:21   14   TO CHANGE OPINIONS --
16:40:22   15              Q.    CHANGE YOUR OPINION?
16:40:24   16              A.    -- CHANGE MY OPINIONS.        OKAY?
16:40:25   17              Q.    UH-HUH.
16:40:26   18              A.    SO METHODOLOGICALLY, I -- I THINK I
16:40:27   19   DID PROPERLY APPLY THE BUT-FOR METHODOLOGY.
16:40:30   20                    I DO THINK THAT THERE'S -- AND LET ME
16:40:31   21   SLOW DOWN SO I CAN DO THIS AND GET IT ON THE RECORD
16:40:33   22   CLEARLY.
16:40:37   23                    I DO THINK THAT THERE'S A PROPER
16:40:38   24   CAUSAL LINK IN -- EXPRESSED IN DR. KNEUPER'S REPORT
16:40:42   25   THAT I'M RELYING ON FOR MY DAMAGES.
                                                                               341
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                                   DEPOSITION OF GENE DEETZ

16:40:46    1                    AND I -- I CONSIDER Y-'14 AS A PROPER
16:40:48    2   BASE YEAR --
16:40:48    3              Q.    UH-HUH.
16:40:49    4              A.    -- AND I THINK IT'S -- FOR THE REASONS
16:40:50    5   WE'VE DISCUSSED.
16:40:56    6                    I DON'T THINK THAT THERE'S A TREND
16:40:56    7   THAT IN ANY OF THE PRE-EXISTING YEARS THAT WOULD
16:41:00    8   CAUSE ME -- IT DOESN'T CAUSE ME TO WANT TO CHANGE MY
16:41:09    9   OPINION.
16:41:10   10                    I THINK THAT '14 IS THE APPROPRIATE
16:41:11   11   BASE YEAR.
16:41:12   12                    I THINK THAT THE -- THE DIFFERENCE OF
16:41:18   13   OPINIONS WE HAVE IS ALSO IN HIS CRITICISM OF ME FOR
16:41:21   14   NOT REMOVING MR. MAYWEATHER -- AND I'M -- I'M GOING
16:41:24   15   TO GENERALIZE HIS DISCUSSION OF IT.         BUT I THINK I
16:41:27   16   HAVE A FAIR HANDLE ON IT -- FOR NOT REMOVING
16:41:33   17   MR. MAYWEATHER FROM 2014 BASE YEAR.
16:41:38   18                    AND WE'VE DISCUSS WHY -- I THINK IN A
16:41:39   19   FAIRLY DETAILED WAY -- WHY I THINK THAT THAT SHOULD
16:41:43   20   STAY IN.
16:41:44   21                    WE DISCUSSED MY REASONING ON
16:41:45   22   MR. SCHAEFER AND THE EXECUTIVES LEAVING.
16:41:49   23                    AND WE'VE DISCUSSED THE DIFFERENT
16:41:50   24   VIEWS THAT HE AND I HAVE ON WHETHER OR NOT THE 14
16:41:53   25   MILLION DOLLARS THAT WAS PAID AS PART OF THE
                                                                               342
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                                  DEPOSITION OF GENE DEETZ

16:41:54    1   SETTLEMENT, IN MY OPINION, SHOULD NOT BE CONSIDERED
16:42:00    2   AND OFFSET TO DAMAGES.
16:42:05    3                    AND SO I THINK FROM A -- AND I ALSO
16:42:10    4   DON'T THINK THAT DAMAGES SHOULD BE LIMITED TO
16:42:12    5   CHAMPIONSHIP-CALIBER BOXERS, AND WE'VE DISCUSSED
16:42:16    6   THAT.
16:42:17    7                    AND THAT MY MODEL -- DAMAGE MODEL,
16:42:18    8   WHICH I THINK IS PROPER METHODOLOGY, ADDRESSES ALL OF
16:42:25    9   THE KNEUPER LIABILITY THEORY.
16:42:30   10                    AND -- AND HE CRITICIZES ME FOR NOT
16:42:32   11   PROVIDING A MODEL THAT WOULD ALLOW -- AND YOU HAD
16:42:45   12   SOME QUESTIONS ALONG THOSE LINES WITH ME TODAY
16:42:48   13   THAT -- NOT ALLOWING ME TO BE ABLE TO LOOK AT
16:42:51   14   DIFFERENT COMPONENTS OF THAT.
16:42:53   15                    AND MY RESPONSE, I WOULD STATE, IS
16:42:54   16   I -- I -- I ADOPTED KNEUPER IN TOTAL, AND I'D HAVE TO
16:42:58   17   SEE ALL THE FACTS AND CIRCUMSTANCES IN A DIFFERENT
16:43:02   18   REPORT BY DR. KNEUPER, OR SOME OTHER INSTRUCTION,
16:43:04   19   THAT GAVE ME ALL THE FACTS AND CIRCUMSTANCES TO
16:43:07   20   CONSIDER CHANGING THAT.
16:43:10   21                    I DID SAY TODAY ALSO ON THAT POINT,
16:43:14   22   THOUGH, THAT WHAT WE DO HAVE IS A COMPREHENSIVE
16:43:16   23   FIGHTER-BY-FIGHTER, EVENT-BY-EVENT MODEL.
16:43:21   24                    AND SO TO THAT EXTENT, AS AN EXAMPLE,
16:43:26   25   WE LOOKED AT THE NUMBERS ON -- ON MR. MAYWEATHER THIS
                                                                              343
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                                  DEPOSITION OF GENE DEETZ

16:43:28    1   MORNING, AND WE WENT THROUGH SOME -- SOME -- SOME
16:43:28    2   CALCULATION ON THE 2.2. MILLION THAT MAYWEATHER --
16:43:32    3   BOTH FIGHTS FOR MAYWEATHER WERE IN THE 2014 P & L.
16:43:36    4                    AND WE TALKED ABOUT THE ABILITY TO
16:43:41    5   MAYBE CRITICIZE THE -- THE METRIC FOR THE
16:43:44    6   CHAMPIONSHIP-CALIBER BOXER.       AND THE MODEL IS --
16:43:49    7   IS -- IT CAN HANDLE THAT, AND IT CAN HANDLE IT VERY
16:43:53    8   EFFICIENTLY.
16:43:56    9                    BUT -- BUT THE -- BUT MY POINT IS IS
16:43:57   10   THAT THAT MODEL, WHICH I THINK'S APPROPRIATE, ADOPTS
16:44:03   11   KNEUPER'S LIABILITY THEORY IN TOTAL, BUT IT ALSO HAS
16:44:06   12   A TREMENDOUS AMOUNT OF FUNCTIONALITY AND GAVE ME A
16:44:09   13   TREMENDOUS AMOUNT OF INSIGHT INTO THE DETAILED
16:44:12   14   FINANCIAL OPERATIONS OF THE COMPANY.
16:44:13   15                    WE'VE TALKED ABOUT THE FACT THAT I
16:44:15   16   DON'T IDENTIFY A SPECIFIC EVENT -- AND WHY I DON'T
16:44:19   17   IDENTIFY A SPECIFIC EVENT -- TODAY.         AND I DISAGREE
16:44:21   18   THAT YOU DON'T HAVE TO DO THAT OR SHOULD BE ABLE TO
16:44:24   19   DO THAT.
16:44:26   20                    YOU CAN'T DO WHAT I'VE DONE, IN TERMS
16:44:37   21   OF -- OF -- OF THE ASSUMPTIONS.
16:44:39   22                    AND WHILE -- I'VE GIVEN YOU THE
16:44:41   23   ASSUMPTIONS I'M USING IN THE MODEL BASED ON KNEUPER'S
16:44:44   24   LIABILITY THEORY.
16:44:45   25                    WE'VE TALKED ABOUT THE -- I DON'T KNOW
                                                                              344
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                                  DEPOSITION OF GENE DEETZ

16:44:47    1   IF YOU ASKED ABOUT THE YARDSTICK.        WE TALKED ABOUT
16:44:49    2   THE YARDSTICK, THE BUT-FOR.
16:44:53    3                    AND I DO THINK I HAVE AN ACCEPTED
16:44:54    4   METHODOLOGY, AM VERY EXPERIENCED IN THIS, AND I THINK
16:44:56    5   IT'S THE RIGHT METHOD AND THE RIGHT APPROACH.
16:45:02    6                    MY BUT-FOR PERIOD IS A RELIABLE
16:45:03    7   PREDICTOR.    WE'VE TALKED ABOUT THAT.
16:45:08    8                    WE'VE TALKED Y-'14 IS A REASONABLE
16:45:11    9   BASE YEAR.
16:45:11   10                    TALKED ABOUT WHY I DON'T BELIEVE
16:45:13   11   THERE'S A TREND THAT'S -- THAT -- THAT WOULD CAUSE
16:45:18   12   ANY ADJUSTMENT.
16:45:20   13                    AND I THINK WHEN WE GET IN -- I'M BACK
16:45:21   14   NOW ON PAGE 11, AS AN EXAMPLE.        AND WE GET INTO:
16:45:29   15   I'VE FAILED TO CONTROL FOR FACTORS.
16:45:35   16                    WE'VE TALKED ABOUT MR. SCHAEFER.          AND
16:45:36   17   I THINK THE ONE HE POINTS -- BUT HE -- HE POINTS MORE
16:45:42   18   STATISTICALLY TO, WHEN HE COMPUTES, IN HIS VIEW WHAT
16:45:45   19   WOULD MAKE MY DAMAGES ZERO IS THE -- THE -- THE 2.2
16:45:49   20   MILLION FOR MAYWEATHER AND THE 14 MILLION -- MR.
16:45:54   21   MAYWEATHER -- AND AT THE 14 MILLION FOR THE
16:45:57   22   SETTLEMENT.
16:46:01   23                    AND -- AND WITHOUT -- I GUESS I
16:46:03   24   COULD -- I THINK THE -- JUST PAUSE THERE.
16:46:04   25                    AND TO THE BEST OF MY ABILITY, THAT'S
                                                                              345
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                               DEPOSITION OF GENE DEETZ


      1    STATE OF CALIFORNIA            )
                                          )   .SS
      2    COUNTY OF LOS ANGELES          )
      3
      4              I, TRACY M. FOX, CERTIFIED SHORTHAND
      5    REPORTER, CERTIFICATE NUMBER 10449, FOR THE STATE
      6    OF CALIFORNIA, HEREBY CERTIFY:
      7              THE FOREGOING PROCEEDINGS WERE TAKEN
      8    BEFORE ME AT THE TIME AND PLACE THEREIN SET FORTH,
      9    AT WHICH TIME THE DEPONENT WAS PLACED UNDER OATH
     10    BY ME;
     11              THE TESTIMONY OF THE DEPONENT AND ALL
     12    OBJECTIONS MADE AT THE TIME OF THE EXAMINATION
     13    WERE RECORDED STENOGRAPHICALLY BY ME AND WERE
     14    THEREAFTER TRANSCRIBED;
     15              THE FOREGOING TRANSCRIPT IS A TRUE AND
     16    CORRECT TRANSCRIPT OF MY SHORTHAND NOTES SO TAKEN;
     17              I FURTHER CERTIFY THAT I AM NEITHER
     18    COUNSEL FOR NOR RELATED TO ANY PARTY TO SAID
     19    ACTION, NOR IN ANY WAY INTERESTED IN THE OUTCOME
     20    THEREOF.
     21              IN WITNESS WHEREOF, I HAVE HEREUNTO
     22    SUBSCRIBED MY NAME THIS 24TH DAY OF OCTOBER, 2016.
     23
     24
     25                           ________________________________
                                                                           350
